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                 EXHIBIT A
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                               LOAN AGREEMENT
                                       by and among


                              Capital Funding, LLC,
                           a Maryland limited liability company

                                         (as Agent)

                             The lenders that arc party thereto

                                            and

                 22 Maple Street, LLC, a Delaware limited liability company
                                            and
                  25 Oriol Drive, LLC, a Delaware limited liability company
                                            and
                59 Coolidge Road, LLC, a Delaware limited liability company
                                            and
               20 Kinmonth Road, LLC, a Delaware limited liability company

                                (collectively, as Borrower)

                                dated as of March 4, 2014




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                                  LIST OF EXHIBITS


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Exhibit B              Compliance Certificate
Exhibit C              Loan Commitment
Exhibit D              [Intentionally Deleted]
Exhibit E              Repairs and Replacements
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Exhibit I              Post-Closing Obligations



                                LIST OF SCHEDULES


Schedule 3.2 l        Pre-Transfer and Post-Transfor Organizational Chart of Borrower




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                                       LOAN AGREEMENT

         THIS LOAN AGREEMENT (this "Agreement") is made as of March 4, 2014, by and
among 22 MAPLE STREET, LLC, a Delaware limited liability company having its principal
office at 260 Chambers Bridge Road, Suite 2A, Brick, New Jersey 08723 (together with its
successors and assigns, the "Amesbury Borrower"), 25 ORIOL DRIVE, LLC, a Delaware limited
liability company having its principal office at 260 Chambers Bridge Road, Suite 2A, Brick, New
Jersey 08723 (together with its successors and assigns, the "Autumn Borrower"), 59 COOLIDGE
ROAD, LLC, a Delaware limited liability company (together with its successors and assigns, the
"Emerson Village Borrower"), 20 KINMONTH ROAD, LLC, a Delaware limited liability
company having its principal office at 260 Chambers Bridge Road, Suite 2A, Brick, New Jersey
08723 (together with its successors and assigns, the "Waban Health Center Borrower"; and the
Amesbury Borrower, Autumn Borrower, Emerson Village Borrower and Waban Health Center
Borrower each individually and collectively, the ''Bonower"), and CAPITAL FUNDING, LLC, a
Maryland limited liability company, individually as a Lender, and as Agent, CONGRESSIONAL
BANK, a Maryland chartered bank, MVB BANK, INC., a West Virginia banking corporation
and AP MA FUNDING LLC, a Delaware limited liability company, each as additional Lenders,
and the financial institutions or other entities from time to time parties hereto, each as a Lender.

       Borrower has requested that the Lenders make a loan to Borrower in the aggregate
principal sum of Thirty-Six Million Eight Hundred Fifty-Six Thousand Six Hundred Twenty-
Seven and No/100 Dollars ($36,856,627.00) (the "Loaq") for the purpose of acquiring the
Property (hereinafter defined).

      Lenders are willing to make the Loan on the terms and conditions set forth in this
Agreement and the other Loan Doc.uments.

         NOW, THEREFORE, Borrower and Lenders hereby agree as follows:

                                   ARTICLE I
                 DEFINITIONS, ACCOUNTING PRINCIPLES, UCC TERMS.

        1.1   Definitions. As used in this Agreement, the following terms shall have the
following meanings unless the context hereof shall otherwise indicate:

               "Accounts" with respect to a Facility, means any rights of Borrower arising from
the operation of the Facility to payment for goods sold or leased or for services rendered, not
evidenced by an Instrument, including, without limitation: (a) all accounts arising from the Lease
and/or operation of the Facility; (b) all moneys and accounts held by Agent on behalf of the
Lenders pursuant to this Agreement; and (c) all rights to payment from Medicare or Medicaid
programs, or similar state or federal programs, boards bureaus or agencies and rights to payment
from patients, residents, private insurers, and others arising from the operation of the Facility,
including rights to payment pursuant to Reimbursement Contracts. Accounts shall include the
proceeds thereof (whether cash or non-cash, moveable or immoveable, tangible or intangible)
received from the sale, exchange, transfer, collection or other disposition or substitution thereof.



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               "Affiliate" means, with respect to any Person: (a) each Person that controls, is
controlled by or is under common control with such Person; (b) each Person that, directly or
indirectly, owns or controls, whether beneficially or as a trustee, guardian or other fiduciary, any
of the Stock of such Person; and (c) each of such Person's officers, directors, members, joint
venturers and partners.

                "Agent" mean Capital Funding, LLC, a Maryland limited liability company, in its
capacity as administrative agent for itself and for the Lenders hereunder, as such capacity is
established in, and subject to the provisions of ARTICLE XI, and the successors and assigns of
Capital Lending and Mortgage Group, LLC in such capacity.

               "Agreement" is defined in this preface to this Agreement.

               "Amesbury BoJTQYYY-r" is defined in the preface to this Agreement.

              "Amesbury Facility" means the 130 bed skilled nursing facility known as
Amesbury Village located on the Amesbury Prope11y, as it may now or hereafter exist, together
with any other general or specialized care facilities. if any, including any Alzheimer's care unit,
subacute, and any. assisted care living facility, now or hereafter operated on the Amesbury
Prope11y.

              "Am_ysQ.µ1y Facility License" means the license(s) issues to the Amesbury
Operator to operate the Amesbury Facility.

               ~'Amesbury Lease Agreement" means that certain Lease made as of the date
hereof by and between the Amesbury B01Tower, as Landlord and the Amesbury Operator, as
Tenant, with respect to the Amesbury Facility, as the same may be amended, restated, replaced,
subleased or modified from time to time.

                 "Am.eshµry Operator" means Merrimack Valley Health Center, LLC, a Delaware
limited liability company, its successors and assigns.

              "Amesbury Property" means the real estate located at 22 Maple Street, Amesbury,
Massachusetts 01913, which is more particularly described in E~hlhiLA.::1 hereto, upon which
the Amesbury Facility is located, and which, concurrent with the Closing Date, will be owned by
Amesbury Borrower and leased to the Amesbury Operator pursuant to the Amesbury Lease
Agreement.

                "AR Intercreditor Agree1pent" means that certain Intercreditor Agreement to be
entered into by and between Capital Finance; LLC, as working capital lender and Lender as
mortgage lender, which agreement pem1its an Operator loan from working capital lender to
Operator in an an1ount not to exceed $7,500,000 until six (6) months following the closing date
of such loan, at which time such loan shall be reduced to $6,000,000 and nine (9) months
following such closing date, such loan shall be reduced to $4,000,000, and which agreement shall
be similar to the standard HUD form intercreditor agreement.

                "Assignment of Rents and Leases" means (a) with respect to the Amesbury
Property, that certain Assignment of Rents and Leases executed by the Amesbury Borrower and
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Lender of even date herewith, as the same may be amended, restated, replaced, subleased or
modified from time to time, (b) with respect to the Autumn Property, that certain Assignment of
Rents and Leases executed by the Autumn Borrower and Lender of even date herewith, as the
smne may be amended, restated, replaced, subleased or modified from time to time, (c) with
respect to the Emerson Village Property, that certain Assignment of Rents and Leases executed
by the Emerson Village Bo1TOwer and Lender of even date herewith, as the same may be
amended, restated, replaced, subleased or modified from time to time, and (d) with respect to the
Waban Health Center Property, that certain Assignment of Rents and Leases executed by the
Waban Health Center Borrower and Lender of even date herewith, as the same may be amended,
restated, replaced, subleased or modified from time to time.

               "Autumn Borrower" is defined in the preface to this Agreement.

               "Autum_n Facility" means the 160 bed skilled nursing facility known as Autumn
Village located on the Autumn Property, as it may now or hereafter exist, together with any other
general or specialized care facilities, if any, including any Alzheimer's care unit, subacute, and
any assisted care living facility, now or hereafter operated on the Autumn Property.

              " 1\utumn Facility License" means the license(s) issues to the Autumn Operator to
operate the Autumn Facility.

               "Autumn Lease Agreement" means that certain Lease made as of the date hereof
by and between the Autumn Borrower, as Landlord and the Autumn Operator, as Tenant, with
respect to the Autumn Facility, as the same may be amended, restated, replaced, subleased or
modified from time to time.

               "Autumn Operator" means Worcester Health Center, LLC, a Delaware limited
liability company, its successors and assigns.

              "Autumn Property" means the real estate located at 25 Oriol Drive, Worcester,
Massachusetts 01605, which is more particularly described in Exhibit A-2 hereto, upon which
the Autumn Facility is located, and which, concunent with the Closing Date, will be owned by
Autumn Borrower leased to the Autumn Operator pursuant to the Autumn Lease Agreement.

               "Borrower" is defined in the preface to this Agreement. Each reference to
Borrower shall refer collectively and individually to each such entity constituting Borrower.

              "Borrower's knowledge" means (i) the actual knowledge of Borrower, or (ii) the
knowledge a Borrower would have had if a Borrower had made due inquiry regarding the fact or
other matter in question as a prudent business person would be expected to make in the
management of the Borrower's business affairs.

               "Business Day" means any day on which banks, savings and loan associations,
savings banks, or other financial institutions are generally open for regular banking business in
the State of Maryland.

              "C!!§h Colla~ral Deposif' is defined in Sectifm 7.8(aJ

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                "Cash Collateral Resery~" is defined in Sectioq.],~fa).

                "(':e11ificate of Need" means with respect to each Facility, the Certificate of Need,
.if any, now or hereafter required and issued by any Governmental Authority for the Facility.

              "qosing Qate" means the date on which all or any part of the Loan is disbursed
by the Lenders to or for the benefit of Borrower, including to any loan escrow funding agent.

                ".Collateral" means, collectively, all of Borrower's and Guarantor's right, title and
interest in and to the Property, Improvements, Equipment, Rents, Accounts, General Intangibles,
Instruments, Inventory, Money, Deposit Accounts, Permits (to the full extent assignable),
Reimbursement Contracts, Imposition Deposits, Payment Reserves, and all Proceeds, all whether
now owned or hereafter acquired, and including replacements, additions, accessions,
substitutions, and products thereof and thereto, all other assets of the Borrower, wherever
located, whether now owned or existing or hereafter acquired or arising, together with all
proceeds thereof: and all other property of Borrower, Operator or Person which is or hereafter
may become subject to a Lien in favor of Agent on behalf of the Lenders as security for any of
the Loan Obligations.

               "Control Agreement" is defined in Section 4.22.

               "Debt" means the outstanding principal amount set forth in, and evidenced by,
this Agreement and the Note together with all interest accrued and unpaid thereon and all other
sums owing to Lenders in respect of the Loan under the Note, this Agreement, the Security
Instrument or any other Loan Document.

               "Pel?_t Service" is defined in Sectioi:i ~.12.

               ''Debt Sery_ice Coverage Ratio" is defined in Section 4.12.

               "Default" means the occurrence or existence of any event which, but for the
giving of notice or expiration of time or both, would constitute an Event of Default.

                "Dyfault Rate" means a per annum rate of interest equal to the lesser of (a) seven
hundred and fifty (750) basis points (i.e., 7.50 percentage points) in excess of Effective LIBOR
Rate, or (ii) the maximum rate of interest which may be collected from Borrower under
applicable law.

               "D~posit
                     A9..9om1!" means, individually and collectively, as applicable, each of the
Borrower Deposit Accounts and the Operator Deposit Accounts as such terms are defined in
Section 4.22.

               "Deposit. .J.).ccount Control . . Am:~ment" means, individually and collectively, as
applicable, each of the Borrower Operating Account Control Agreement, and Operator Account
Control Agreements as such te1ms are defined in Section 4.22.

                "Disburs~ment Date" is the first date on which a Lender disburses any proceeds of
the Loan to or for the account of Borrower or to any loan escrow or funding agent.
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                "EBJTDAR" is defined in Section 4.12.

               "f:ffectiveJ.-:.IBOR Rate" means the per annum rate equal to the LIBOR Rate plus
the Margin. Notwithstanding the foregoing, the Effective LJBOR Rate shall in no event be less
than six and 40/100 percent (6.40%) per annum. Agent's determination of the Effective LIBOR
Rate as of each Determination Date shall be conclusive and binding, absent manifest en-or.

                "Emerson VJllage Borrower" is defined in the preface to this Agreement.

                "Emef.§.QJL.Yill~ge
                                 Facility" means the 163 bed skilled nursing facility known as
Emerson Village, located on the Emerson Village Property, as it may now or hereafter exist,
together with any other general or specialized care facilities, if any, including any Alzheimer's
care unit, subacute, and any assisted care living facility, now or hereafter operated on the
Emerson Village Property.

              "Emerson Village Facility Lic~ns~" means the license(s) issues to the Emerson
Village Operator to operate the Emerson Village Facility.

                "Emerson Yjll!!g~ Lease Agreement" means that certain Lease made as of the date
hereof by and between the Emerson Village Borrower, as Landlord and the Emerson Village
Operator, as Tenant, with respect to the Emerson Village Facility, as the same may be amended,
restated, replaced, subleased or modified from time to time.

                 "Emerson Village Operator" means Watertown Health Center, LLC, a Delaware
limited liability company, its successors and assigns.

              "Emerson Village J~xg12er!l' means the real estate located at 59 Coolidge Hill
Road, Watertown, Massachusetts 02472, which is more particularly described in Exhibit A-3
hereto, upon which the Emerson Village Facility is located, and which, concmTent with the
Closing Date, will be owned by Emerson Village Borrower leased to the Emerson Village
Operator pursuant to the Emerson Village Lease Agreement.

             "Environmental Indemnity Agreement" means that certain Environmental
Indemnity Agreement dated as of the date hereof by and among Borrower, Operator and Agent.

                 ".Bnvironmental Permit" means any pem1it, license, or other authorization issued
under any Hazardous Materials Law with respect to any activities or businesses conducted on or
in relation to the Property and/or the Improvements.

                "EquiP.me:Qf' means, with respect to each Property and Facility, all beds, linen,
televisions, carpeting, telephones, cash registers, computers, lamps, glassware, rehabilitation
equipment, restaurant and kitchen equipment, and other fixtures and equipment of Borrower
located on, attached to or used or useful in connection with any of the Property or the Facility and
all renewals and replacements thereof and substitutions therefore; provided, however, that with
respect to any items which are leased for the benefit of the Facility and not owned by Borrower,
the Equipment shall include the leasehold interest only of Borrower together with any options to
purchase any of said items and any additional or greater rights with respect to such items which

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 Borrower may hereafter acquire, but the foregoing shall not be construed to mean that such
 leasing shall be permitted hereunder and under the other Loan Documents.

                "Event of Default" means any "Event of Default" as defined in Article VII hereof

                  "Exhibit" means an Exhibit to this Agreement, unless the context refers to another
 document, and each such Exhibit shall be deemed a part of this Agreement to the same extent as
 if it were set forth in its entirety wherever reference is made thereto.

                "Exit Fe~" is defined in Section 9 .1 (a).

                 "Extension Notice" is defined in Section 2.1 (b).

                "Extensi9_11. Qp!ion" is defined in Section 2.1 (b )Ci).

             "Facility" or "E~ilities" means the Amesbury Facility, the Autumn Facility, the
Emerson Village Facility, and the Waban Health Center Facility, individually and collectively.

               "Facility License" or "Facility_Licenses" means the Amesbury Facility License,
the Autumn Facility License, the Emerson Village Facility License, and the Waban Health Center
Facility License, individually and collectively.

                "Facility Operating Expenses" is defined in Section 4.12.

                "Finanfif!l Covenants" is defined in Section4.12.

              "GAAP" means, as in effect from time to time, generally accepted accounting
principles consistently applied as promulgated by the American Institute of Certified Public
Accountants.

               ''Qeneral lntal)~" means, with respect to each Property and Facility all
intangible personal property of Borrower arising out of or connected with the Property or the
Facility and all renewals and replacements thereof and substitutions therefore (other than
Accounts, Rents, Instruments, Inventory, Money, Permits, and Reimbursement Contracts),
including, without limitation, chooses in action, contract rights and other rights to payment of
money.

              "Governmental Authority" means any board, commission, carrier, intermediary,
department or body of any municipal, county, state or federal governmental. unit, or any
subdivision of any of them, that has or acquires jurisdiction over the Borrower, Operator,
Manager, Facility, the Property and/or the Improvements or the use, operation or improvement of
the Property.

                "Gross Income from Openyjgns" is defined in Section 4.12.

            "Guarantor" means individually and collectively, Avi "Zisha" Lipschutz, Dov
Newmark and Larry Lipschutz.


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               "Quaranty_Agrcement" means that certain Guaranty of Payment and Performance
of even date herewith from Guarantor to Lender.

                "Hazardous Materials" means petroleum and petroleum products and compounds
containing them, including gasoline, diesel fuel and oil; explosives; flammable materials;
radioactive materials; polychlorinated biphenyls ("PCBs") and compounds containing them; lead
and lead-based paint; asbestos or asbestos-containing materials in any form that is or could
become friable; underground storage tanks, whether empty or containing any substance; any
substance the presence of which on the Property is prohibited by any federal, state or local
authority; any substance that requires special handling; and any other material or substance now
or in the future defined as a "hazardous substance," "hazardous material," "hazardous waste,"
"toxic substance," "toxic pollutant," "contaminant," or "pollutant" within the meaning of any
Hazardous Materials Law or regulated under any Hazardous Materials Law.

                "Hazardous Materials Laws" means all federal, state,, and local laws (including
common law), ordinances and regulations and standards, rules, policies and other governmental
requirements, administrative rulings and comt judgments and decrees in effect now or in the
future and including all amendments, that relate to the protection or pollution of the environment
or human health and safety or to Hazardous Materials. Hazardous Materials Laws include, but
are not limited to, the Comprehensive Environmental Response, Compensation and Liability Act,
42 U.S.C. Section 9601, et seq., the Resource Conservation and Recovery Act, 42 U.S.C. Section
6901, et seq., the Toxic Substance Control Act, 15 U.S.C. Section 2601, et seq., the Clean Water
Act, 33 U.S.C. Section 1251, et seq., and the Hazardous Materials Transportation Act, 49 U.S.C.
Section 1801, and their state analogs.

               "HUD" means the United States Department of Housing and Urban Development
or any agency thereof.

             "HUD CONTRACT" means that certain contract regarding HUD Financing
between Agent and Borrower dated March 3, 2014.

               "HUD Expenses" is defined in Section 7.7.



               "J~IUDFinancing" means, with respect to the Property, financing granted through
a program insured by HUD which financing is secured by a first mortgage lien on the Property in
favor of the HUD Lender and consistent with any commitment letter or as otherwise provided in
this Agreement.

               '~liVD   Financin_g_(;ost Reserve" is defined in .Section 7.6.

              "HUD Lender" means Capital Funding, LLC, a Maryland limited liability
company, or any Affiliate of Agent.

               "Impositions" and "Imposition Deposits" mean the Impositions and Imposition
Deposits defined in the Security Instrument.

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                ''Improvements" means, with respect to a Property, all buildings, structures and
improvements of every nature whatsoever now or hereafter situated on the Property, including,
but not limited to, all gas and electric fixtures, radiators, heaters, engines and machinery, boilers,
nmges, elevators and motors, plumbing and heating fixtures, carpeting and other floor coverings,
water heaters, avvnings and storm sashes, and cleaning apparatus which are or shall be attached to
~he Property or said buildings, structures or improvements.


                 "Indebtedness" means any (a) obligations for borrowed money, (b) obligations,
payment for which is being defen-ed by more than thirty (30) days, representing the deferred
purchase price of property other than accounts payable arising in connection with the purchase of
inventory customary in the trade and in the ordinary course of the business of Borrower or
Operator, (c) obligations, whether or not assumed, secured by Liens or payable out of the
proceeds or production from the Accounts and/or real or personal property now or hereafter
owned or acqufred by Borrower or Operator, and (d) the amount of any other obligation of
Borrower or Operator (including obligations under financing leases) which would be shown as a
liability on a balance sheet prepared in accordance with GAAP.

               ".IDstrumeaj~" means, with respect to the Property and Facility, all instruments,
chattel paper, documents or other writings obtained from or in connection with the operation of
the Property or the construction and operation of the Facility (including, without limitation, all
ledger sheets, computer records and printouts, data bases, programs, books of account,
trademarks or trade names, utility contracts, maintenance and service contracts, and files relating
thereto).

               "Inv~µtqr.y" means, with respect to the Property and Facility, all inventories of
food, beverages and other comestibles held by Borrower, if any, for sale or use at or from the
Property or the Facility, and soap, paper supplies, medical supplies, drugs and all other such
goods, wares and merchandise held by Borrower for sale to or for consumption by guests,
patients or residents of the Property or the Facility and all such other goods returned to or
repossessed by Bon·ower.

               "Late Charge" is defined in Section 2.l(e)(vii).

              "Lease Agreement" means, individually and collectively, the Amesbury Lease
Agreement, the Autumn Lease Agreement, the Emerson Village Lease Agreement and the
Waban Health Center Lease Agreement, as the same may be amended, restated, replaced,
subleased or modified from time to time.

               "Lease.§" means the Amesbury Lease Agreement, the Autumn Lease Agreement,
the Emerson Village Lease Agreement and the Waban Health Center Lease Agreement, together
with any other oral or written leases, subleases, licenses, concessions, residency agreements,
occupancy agreement and other agreements for the use or occupancy made or agreed to by, any
person or entity and any and all amendments, extensions, renewals, modifications and
replacements thereof pertaining to all or any part of the Property, or any possessory interest
therein, whether such leases or other agreements have been heretofore or are hereafter made or
agreed to.


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                "Lender.§" means each of (a) Capital Funding, LLC, in its capacity as a lender
hereunder, (b) Congressional Bank, a Maryland chartered bank, (c) AP MA Funding LLC, a
Delaware limited liability company, (d) MVB Bank, Inc., a West Virginia banking corporation,
(e) each other Person that becomes a party hereto as Lender as provided for herein, and (f) the
respective successors of all of the foregoing, and "Lenders" means all of the foregoing is defined
in the preface to this Agreement.

               "Lien" means any voluntary or involuntary mortgage, security deed, deed of trust,
lien, pledge, assignment, security interest, title retention agreement, financing lease, levy,
execution, seizure, judgment, attachment, garnishment, charge, lien or other encumbrance of any
kind, including those contemplated by or permitted in this Agreement and the other Loan
Documents.

              "LIBOR BusinessJ)E." means any day other than a Saturday, Sunday or any other
day on which commercial banks in London, England are open for business.

                "LIBOR Rate" means for each month (or any portion thereof), a rate of interest
determined by Agent, (expressed as a percentage per annum and rounded upward, if necessary, to
the next nearest l/8 of 1%) equal to the rate of interest that under current practice is listed as the
one month rate announced by Bloomberg L.P. as the London Interbank Offered Rate or
equivalent as of the last LIBOR Business Day of the immediately preceding month (or in the
event that Bloomberg L.P. or its successor shall cease to quote such rate, such rate will be equal
to the London Interbank Offered Rate as of the last LIBOR Business Day of the immediately
preceding month under the heading "Mo.ney Rates" in the Eastern Edition of The Wall Street
Journal and should such practice change, such other indication of the prevailing LIBOR rate or
its equivalent as may reasonably be determined by Agent) (the "Determination Date").

              "Loan" is defined in the preface of this Agreement and is evidenced by this
Agreement, the Note and other Loan Documents.

                 "Loan ~ommitmenf' means the sum of each Lender's Loan Commitment Amount
as set forth in Exhibit C to this Agreement.

               "Loan Commitment Percentage" means, as to any Lender, (a) on the Closing Date,
the percentage set forth opposite such Lender's name on Exhibit C to this Agreement under the
column "L.oaQ.. Commitment Percent~'', and (b) on any date following the Closing Date, the
percentage equal to the principal amount of the Loan held by such Lender on such date divided
by the aggregate principal amount of the Loan on such date.

                "Loan Document~" means, collectively, this Agreement, the Assignment of Rents
and Leases, the Note, the Security Instrument, the SDA, the Guaranty Agreement, the
Environmental Indemnity Agreement and the Management Subordination Agreement, together
with any and all other documents executed by Borrower or others evidencing, securing or
otherwise relating to the Loan.

              "Loan Obligations" means the aggregate of all principal and interest owing from
time to time under the Note and the other Loan Documents and all expenses, charges and other
amounts from time to time owing under the Note, this Agreement, or the other Loan Documents
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and all covenants, agreements and other obligations from time to time owing to, or for the benefit
of~Agent and Lenders pursuant to the Loan Docwnents.

               "Loan Party" means the Borrower, Guarantor and Operator.

               "Management Agreement" means, with respect to any Facility, the management
agreement or administrative services agreement entered into by and between Operator and the
Manager, pursuant to which the Manager is to provide management, administrative and other
services with respect to such Facility.

              "Management Subordi!lli.tion Agr£.9JJJ._~J)j" means .that certain Subordination and
Collateral Assignment of Management Agreement dated as of the date hereof among Agent,
Operator and Manager, as the same may be amended, restated, replaced, supplemented or
otherwise modified froi.11 time to time.

               "Ma.nag~" means any other entity engaged by Borrower or Operator to manage
the Property as pe1mitted hereunder.

               "Margin" means four hundred fifty (440) basis points (i.e. 4.40 percentage points).

               "M1l11lli1Y-.J2ate" means February 29, 2016, or such other date on which the final
payment ofprincipal of the Note becomes due and payable as therein or herein provided, whether
at such stated maturity date, by declaration of acceleration, or otherwise, subject to the Extension
Options.

              "Medicaid" means that certain program of medical assistance, funded jointly by
the federal government and the states of the United States of America, for impoverished
individuals who are aged, blind and/or disabled, and/or members of families with dependent
children, which program is more fully described in Title XIX of the Social Security Act (42
U.S.C. §§ 1396 et seq.) and the regulations promulgated thereunder.

                "Medicare" means that certain federal program providing health insurance for
eligible elderly and other individuals, under which physicians, hospitals, skilled nursing homes,
home health care and other providers are reimbursed for certain covered services they provide to
the beneficiaries of such program, which program is more fully described in Title XVIII of the
Social Security Act (42 U.S.C. §§ 1395 et seq.) and the regulations promulgated thereunder.

               "Minimum Debt Service Coverage Ratio" is defined in .Section 4.12.

               "MiniJUUllJ...EJ11IQAR" is defined in Section 4. 12.

                "Money" means all monies, cash, rights to deposit or savings accounts or other
items of legal tender obtained from or for use in connection with the operation of the Property.

              "Mortgaged Property" means the Amesbury Property, the Autumn Property, the
Emerson Village Property, the Waban Health Center Property, and the Improvements thereon
and all real or personal property owned by the Borrower and encumbered by a Security
Instrument, together with all tangible or intangible rights pertaining to the Property and
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 Improvements, as more particularly defined m the Security Instrument as the "Mortgaged
 Property".

                ''Net ..Operating Income" is defined in Section 4 .12.

                 "Not~"  means one or more promissory notes (including all schedules, riders,
 allonges, endorsements, addenda or amendments together with any renewals, replacements,
 substitutions or extensions thereof) executed by Borrowers of even date herewith in an original
 principal amount (or, if more than one Note is issued to a Lender, in an aggregate original
 principal amount) equal to such Lender's Pro Rata Share of the Loan Commitment.

             "O&M Program" means a written program of operations and maintenance
approved by Agent relating to any Hazardous Materials in, on or under the Property.

              ".9perator" means the Amesbury Operator, the Autumn Operator, the Emerson
Village Operator and the Waban Health Center Operator, individually and collectively.

                 ;>Payoff.fee" is defined in Sectiol}. 2.1 (c).

                "Priit\!ipals" means any Person owning            twenty~five   percent (25%) or more of
direct or indirect ownership interests in the Borrower.

                 "Patriot Act" is defined in Section 10.14.

              ".Payment Reserves" means the Required Repair Reserve, the Replacement
Reserve, the HUD Fee Reserve, the HUD Financing Cost Reserve, the Cash Collateral Reserve,
the Imposition Deposits, and any other escrow or reserve fund established pursuant to the Loan
Documents.

               "Per_mit§." means all licenses, pennits and c.ertificates used or necessary in
connection with the ownership, operation, use or occupancy of the Property and/or the Facility
thereon, including, without limitation, Facility Licenses, business licenses, state health
department licenses, food service licenses, licenses to conduct business, Certificates of Need (if
required) and all such other permits, licenses and rights, obtained from any governmental, quasi-
governmental or private person or entity whatsoever concerning ownership, operation, use or
occupancy.

                "Permitted Encumbrances" is defined in Section 5.2 hereof.

                "J:erss.m" means any natural person, finn, trust, corporation, partnership, limited
liability company, trust and any other form of legal entity.

                "Physi£fil...Plant ~.tanda.r9~" means a "Physical Plant Standard" as defined m
Section 3.12.

               "PrQceeds" means all awards, payments, earnings, royalties, issues, profits,
liquidated claims, and proceeds (including proceeds of insurance and condemnation or any
conveyance in lieu thereof) from the sale, conversion (whether voluntary or involuntary),

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 exchange, transfer, collection, loss, damage, condemnation, disposition, substitution or
 replacement of any of the Collateral.

               "Propefil" "Property" or "Properties" means the Amesbury Property, the Autumn
Property, the Emerson Village Property and the Waban Health Center Property, individually and
collectively.

               "P.ro Rata ~bare" means (a) with respect to a Lender's right to receive payments
of principal and interest with respect to the Loan, the Loan Commitment Percentage of such
Lender, and (b) for all other purposes (including, without limitation, the indemnification
obligations set forth in this Agreement) with respect to any Lender, the percentage obtained by
dividing (i) such Lender's then outstanding principal amount of the Loan, by (ii) the then
outstanding principal amount of the Loan of all Lenders.

               "Reimbqr~~ment    Cgn.tracts" means, with respect to the Facility, all contracts and
rights pursuant to reimbursement or Third-Party Payor Programs and contracts for the Facility
which are now or hereafter in effect with respect to residents qualifying for coverage under the
same, including, but not limited to, Medicare, Medicaid, any successor program or other similar
reimbursement program (whether operated by a Governmental Authority or quasi-governmental
agency or by a private Person) and private insurance agreements.

                 "Rents" means all rent and other payments of whatever nature from time to time
payable pursuant to the Leases (including, without limitation, rights to payment earned under
leases for space in the Improvements for the operation of ongoing retail businesses such as
newsstands, concession stands, barbershops, beauty shops, gift shops, cafeterias, dining rooms,
restaurants, low1ges, vending machines, physicians' offices, pharmacies, laboratories,
gymnasiums, swimming pools, tennis courts, golf courses, recreational centers and specialty
shops), deposits (whether for security or otherwise but excluding any resident trust accounts),
issues, profits, revenues, royalties, rights, benefits, and income of every nature of and from the
Property and the operations conducted or to be conducted thereon.

               "Replacement Reserve" is defined in Section 7..3.

               "Replacement Reserve Monthly Deposit" is defined in Sec!ion 7.3.

               "Required Lendern" means, subject to the provisions of Article ARTICLE XI, at
any time Lenders holding sixtywsix and two thirds percent (66 2/3%) or more of the outstanding
principal balance of the Loan.

               "Reqyired Renairs" is defined in Section 7.2.

              "Requirgd Repair Reserve" is defined in Section 7.2.

              "Restricted   P~rno11"   means a Person that is a Borrower.

             "Security Instrument" means with respect to each Prope1ty that certain Deed of
Trust and Security Agreement of even date herewith from Borrower in favor of and for the

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 benefit of Agent and Lenders and covering the Mo1tgaged Prope11y described herein as the same
 may be amended, restated, replaced, subleased or modified from time to time.

                "Single Purpose Entity" means a Person which owns no interest or property other
 than the Property and the Improvements.

              "SDA" means that certain Subordination and Attornment Agreement of even date
herewith by and among Borrower, Operator and Agent.

               "StQ.£.ls:" means all shares, options, warrants, general or limited partnership
interests, membership interests, participations or other equivalents (regardless of how designated)
in a corporation, limited liability company, partnership or any equivalent entity, whether voting
or nonvoting, including, without limitation, common stock, preferred stock, or any other "equity
security" (as such term is defined in Rule 3al 1-1 of the General Rules and Regulations
promulgated by the Securities and Exchange Commission under the Securities Exchange Act of
1934, as amended).

               "ferrnitted Sul;>orc.llmt.t.!:!d Debt" means the loan by the members of Borrower to
Borrower to finance Borrower's equity obligations under the Loan at closing pursuant to the
terms of the Subordinated Debt Documents.                         ·

               "Subordinat~g_P.ebt   Documents" means the promissory note securing the
Permitted Subordinated Debt, governed by a Subordination Agreement, which note must be in
form and substance acceptable to the Agent in its sole discretion.

               "Subordinat!gn._Agreement" means the agreement between Agent and another
creditor of Bo1TOwers, as the same may be amended, supplemented, restated or otherwise
modified from time to time in accordance with the terms thereof: pursuant to which the Permitted
Subordinated Debt owing from Borrower to such creditor are subordinated in any way to the
Obligations and the Liens created under the Security Documents, the terms and provisions of
such Subordination Agreement to have been agreed to by and be acceptable to Agent in its sole
discretion.

               "Taxes" means all taxes, assessments, vault rentals and other charges, if any,
general, special or otherwise; including all assessments for schools, public betterments and
general or local improvements, which are levied, assessed or imposed by any public authority or
quasi-public authority, and which, if not paid, will become a lien, on the Land or the
Improvements.

               "Term" means the date hereof through the Maturity Date, as the same may be
extended, or earlier termination of the Loan.

               "JhirQ:f_arty Payor Programs" is defined in Section 3J_Q.

                "Traney.fer" means the conveyance, assignment, sale, transfer, mortgaging,
collateral assignment, encumbrance, pledging, alienation, hypothecation, granting of a security
interest in, granting of options with respect to, or other disposition of (directly or indirectly,
voluntarily or involuntarily, by operation of law or otherwise, and whether or not for
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 consideration or of record) all or any portion of any legal or beneficial interest (i) in all or any
 portion of the Mortgaged Property or any other real or personal property of the Borrower; (ii) in
 the Stock of any corporation which is a Restricted Person, a member of a Restricted Person (if
 the Restricted Person is a limited liability company), a partner of a Restricted Person or, if
 applicable, a partner of a general partner of a Restricted Person; or (iii) in a Restricted Person (or
 any trust of which the Restricted Person is a trustee), or, (iv) if a Restricted Person is a limited or
 general partnership, limited liability company, joint venture, trust, nominee trust, tenancy in
 common or other unincorporated form of business association or form of ownership interest, in
 any Person having a direct or indirect legal or beneficial ownership in the Restricted Person,
 including any legal or beneficial interest in any constituent limited partner or member of the
 Restricted Person whether directly or through multiple tiers of ownership. The term "Transfer"
 shall also include, without limitation, the following: an installment sales agreement wherein a
Restricted Person agrees to sell the Mortgaged Property or any other real or personal property of
B01rnwer, or any part thereof or any interest therein, for a price to be paid in installments; an
agreement by a Restricted Person leasing all or a substantial part of the Mortgaged Property or
any other real or personal property of Borrower to one or more Persons pursuant to a single
transaction or related transactions, or a sale, assignment or other transfer 01: or the grant of a
security interest in, a Restricted Person's right, title and interest in and to any Leases or any Rent;
any instrument su~jecting the Mortgaged Property to a condominium regime or transferring
ownership to a cooperative corporation or other form of multiple ownership or governance; the
dissolution or termination of a Restricted Person, any general paiiner of a Restricted Person, any
general partner of any general partner of a Restricted Person, if applicable, or, if the Restricted
Person is a limited liability company, any corporate member of a Restricted Person; the issuance
of new Stock in any corporation which is a Restricted Person, a member of a Restricted Person
(if the Restricted Person is a limited liability company), a partner of a Restricted Person or, if
applicable, a partner of a general partner of a Restricted Person; or the merger or consolidation
with any other Person of a Restricted Person, any general paitner of a Restricted Person, any
general partner of any general pruiner of a Restricted Person, if applicable, or, if a Restricted
Person is a limited liability company, any corporate or member of a limited liability company that
is a Restricted Person.

               "Wabai1 Health Center Borrower." is defined in the preface to this Agreement.

                ".Waban Health Center Facility" means the 88 bed skilled nursing facility known
as Waban Health Center located on the Waban Health Center Property, as it may now or
hereafter exist, together with any other general or specialized care facilities, if any, including any
Alzheimer's care unit, subacute, and any assisted care living facility, now or hereafter operated
on the Waban Health Center Property.

              "Waban Ijealth Genter Facility License" means the licensc(s) issues to the Waban
Health Center Operator to operate the Waban Health Center.Facility.

              "Wa..Pan H.x.£!:lth Center Lease Agreemenf' means that certain Lease made as of the
date hereof by and between the Waban Health Center Borrower, as Landlord and the Waban
Health Center Operator, as Tenant, with respect to the Waban lfoalth Center Facility, as the same
may be amended, restated, replaced, subleased or modified from time to time.

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                  "Waban Health C..~J1ter Operator" means Waban Health Center, LLC, a Delaware
 limited liability company, its successors and assigns.

              "Waban Health Center Property" means the real estate located at 20 Kinmonth
Road, Newton, Massachusetts 02468, which is more particularly described in Exhibit A-4 hereto,
upon which the Waban Health Center Facility is located, and which, concurrent with the Closing
Date, will be owned by Waban Health Center Borrower leased to the Waban Health Center
Operator pursuant to the Waban Health Center Lease Agreement.

        1.2     Singular and Plural Forms. Singular terms shall include the plural forms and vice
versa, as applicable, of the terms defined. Unless otherwise specified, all meanings attributed to
defined terms herein shall be equally applicable to both the singular and plural forms of the terms
so defined. For example, all references to a defined term that includes more than one Person (for
example Borrower or Operator) shall mean, refer to and include each of the Persons included
within the defined term. All reforences to a defined term that includes more than one written
instrument, document, agreement or thing means and includes each document, agreement or
thing encompassed within the defined term.

       1.3     .UCC DefinitiQ!!§. Terms contained in this Agreement shall, unless otherwise
defined herein or unless the context otherwise indicates, have the meanings, if any, assigned to
them by the Uniform. Commercial Code in effect in the State of Massachusetts.

        1.4    Acfounting I§rms. All accounting tenns used in this Agreement shall be
construed in accordance with GAAP, except as otherwise specified.

       1.5    Amendments, Etc. All references to other documents or instrnments shall be
deemed to refer to such documents or instruments as they may hereafter be extended, renewed,
modified, or amended and all replacements and substitutions therefore.

      1.6     Successor Programs. All references herein to "Medicaid" and "Medicare'; shall be
deemed to include any successor program thereto.

       I. 7    J,.,avy:~_, Etc. Any reference to a code, act, statute or regulation means that law,
code, act, statute or regulation as amended or supplemented from time to time and any
corresponding provisions of successor laws, codes, acts, statutes or regulations and any reference
to any law, code, act or statute shall be deemed also to refer to all rules and regulations
promulgated thereunder, unless the context requires otherwise.

                                        ARTICLE II
                                    TERMS OF THE LOAN

       2.1     The Loan. Borrower has agreed to borrow the Loan from Lenders, and Lenders
have agreed to make the Loan to Borrower, subject to Bonower's compliance with and
observance of the terms, conditions, covenants, and provisions of this Agreement and the other
Loan Documents, and Bo1TOwer has made the covenants, representations, and warranties herein
and therein as a material inducement to Lenders to make the Loan.

               (a)    Loan. On the Closing Date, Lenders shall make a Loan to Borrower in the
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 amount of Thirty-Six Million Eight Hundred Fifty-Six Thousand Six Hundred Twenty-Seven and
 No/100 Dollars ($36,856,627.00). The' proceeds of the Loan shall be used to acquire the
 Property, to fund the Payment Reserves and to pay closing costs and fees.

                (b)    Extension Options. Borrower may extend the Maturity Date two (2)
 consecutive times for a period of six (6) months each (each, an "Extension Option") upon
 Borrower's satisfaction of the following conditions:

                        (i)    Borrower shall have delivered to Agent written notice of such
 election (an ".Extension Notice") no earlier than ninety (90) days and no later than forty-five
 (45) days prior to the Maturity Date or the expiration of the first Extension Option, as the case
 may be;

                        (ii)   no Default or Event of Default shall have occurred and is
continuing; and

                        (iii) Agent shall have received BoITower's current financial statements,
certified as correct by Borrower.

               (c)     Payoff Fee. Simultaneously with the repayment of the Loan by Borrower,
Borrower shall in addition pay Agent, for the benefit of Agent, a fee equal to 1.0% of the original
principal balance of the Loan (the "Payoff Fee").



                         (i)  Except as otherwise provided in this Agreement, the unpaid
principal amount of the Loan and any interest not paid when due, shall bear interest with respect
to so much of the principal amount of the Loan outstanding for a calendar month, at the Effective
LIBOR Rate. Notwithstanding the foregoing, Agent agrees that the Payment Reserves shall bear
interest at the Effective LIBOR Rate.

                        (ii)    Interest on the unpaid principal amount of the Loan shall be
(i) payable in advance on the Disbursement Date for the partial month in which the Disbursement
Date occurs; (ii) payable monthly in arrears commencing on the first day of the second full
calendar month following the calendar mo.nth in which the Disbursement Date occurs, and on the
first day of each month thereafter until the principal, together with all interest and other charges
payable with respect to the Loan, shall be fully paid; and (iii) calculated on the basis of a 360 day
year and the actual number of days elapsed. Interest not paid when due (without giving effect to
any grace or notice period or cure right contained herein or in any other Loan Document) shall
accrue like interest as principal and shall be immediately payable.

                       (iii)  All agreements among Borrower, Agent and Lender are expressly
limited, so that in no event or contingency, whether because of the advancement of the Loan,
acceleration of maturity of the unpaid principal balance, or otherwise, shall the amount paid or
agreed to be paid to Agent or any Lender for the use, forbearance, or retention of the money to be
advanced under this Agreement or any Loan Document exceed the highest lawful rate
permissible under applicable usury laws. If~ under any circumstances, fulfillment of any
provision of the Loan, the Loan Agreement, the other Loan Documents or any other agreement
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pertaining to the Loan, after timely performance of such provision is due, shall involve exceeding
the limit of interest validity prescribed by law that a court of competent jurisdiction deems
applicable, then, ipso facto, the obligations to be fulfilled shall be reduced to the limit of such
validity. If, under any circumstances, Agent or any Lender shall ever receive as interest an
amount that exceeds the highest lawful rate, the amount that would be excessive interest shall be
applied to reduce the unpaid principal balance of the Loan and not to pay interest, or, if such
excessive interest exceeds the unpaid principal balance of the Loan, such excess shall be
refunded to Borrower. This provision shall control every other provision of all agreements
among Borrower, Agent and Lender.

                (e)     Principal.

                .       (i)    The entire unpaid principal balance of the Loan and all accrued but
unpaid interest and all other charges payable with respect to the Loan shall be due and payable on
the Maturity Date.

                        (ii)    Borrower may repay all or any portion of the Loan without
premium or penalty at any time, subject to payment of the Payoff Fee and any Exit Fee, provided
that (a) not less than thirty (30) days prior to any prepayment of principal, Borrower shall notify
Agent in writing that Borrower is making a prepayment in the an1mmt specified in such written
notice, and (b) if such prepayment of principal occurs on any day other than the first day of a
calendar month, Borrower shall indemnify Agent and each Lender and hold Agent and each
Lender harmless from any losses, costs and/or expenses which Agent and each Lender sustains or
incurs arising from the reemployment of fonds obtained by Agent and each Lender hereunder or
from fees payable to or on account of any warehouse lending or repurchase arrangement from
which funds loaned hereby were obtained, in each case for the remainder of the applicable
calendar month ("Breakage,Q_osUi"). Agent shall deliver to Borrower a statement setting forth the
amount and basis of determination of any Breakage Costs in such detail as determined in good
faith by the Agent to be adequate, it being agreed that such statement and the method of its
calculation shall be adequate and shall be conclusive and binding upon the Borrower, absent
manifest error.

                        (iii)    All payments of interest, principal and fees shall be made in lawful
money of the United States in immediately available funds, without counterclaim or setoff and
free and clear of, and without any deduction or withholding for, any taxes or other payments by
wire transfer to Agent on behalf of the Lenders to such account as Agent shall from time to time
designate. Payments shall be credited on the Business Day on which immediately available
funds are received prior to 3:00 P.M. Eastern Standard Time; payments received after 3:00 P.M.
Eastern Standard Time shall be credited to the Loan on the next Business Day. Payments which
are by check, which Agent may at its option accept or reject, or which are not in the form of
immediately available funds shall not be credited to the Loan until such funds become
immediately available to Agent, and, with respect to payments by check, such credit shall be
provisional until the item is finally paid by the payor bank.

                      (iv)   Except to the extent otherwise required by law or by the express
terms of any other .Loan Document, Agent shall apply and credit funds received by Agent
pursuant to this Agreement or any other Loan Document in such manner and order of priority as
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Agent shall determine in Agent's sole discretion; provided, however, that in the absence of any
contrary determination by Agent, such funds shall be applied and credited (a) first, to pay, or
reimburse Agent and each Lender for amounts advanced by Agent and each Lender (other than
principal of the Loan) pursuant to any provision of the Loan Documents (including without
limitation those fees, charges, costs and expenses described in subsections (vi) and (vii) below,
(b) second, to fund any deposits that Borrower may be required by the terms of any Loan
Document to make with Lender, including any such deposits to be used to pay the cost of
repairing or constructing any improvements, insurance premiums, Taxes, Payment Reserves, and
utility charges, (c) third, to pay any Late Charges due under this Agreement or any other Loan
Document, (d) fourth, to pay any other sums due under the Loan Documents, excluding interest
earned or accrued and principal, (e) fifth, to pay any interest earned or accrued, and (f) sixth, to
pay principal outstanding.

                        (v)    Agent may submit monthly billings reflecting payments due;
provided, however, that any changes in the interest rate which occur between the date of billing
and the due date may be reflected in adjustments in the billing for a subsequent month. Neither
the failure of Agent to submit a bill, nor any error in any such bill shall excu~e Borrower from the
obligation to make full payment of all Borrower's payment obligations when due.

                       (vi)    From and after and during the continuance of any Event of Default,
any unpaid principal, accrued interest, Late Charges and other amounts payable under this
Agreement or any other Loan Document shall bear interest, compounded monthly, at the Default
Rate; proyided, how~yer, that if collection from Borrower of interest at such rate would be
contrary to applicable law, then such amounts shall bear interest at the highest rate which may be
collected from Borrower under applicable law.

                        (vii) If any payment (whether of fees, interest or principal and including
the payment due on the Maturity Date or upon any acceleration of the Loan) is not paid within
ten (10) days of the date on which the payment is due, Borrower shall pay to Agent in addition to
the delinquent payment and without any requirement of notice or demand by Lender except as
may be imposed by law, a "Late Charge" equal to five percent (5%) of the amount of the
delinquent payment. Late Charges are (a) payable in addition to, and not in limitation of, the
Default Rate; (b) intended to compensate Agent and Lenders for administrative and processing
costs incident to late payments; (c) not interest; and (d) not subject to refund or rebate or credit
against any other amount due. Borrower expressly acknowledges and agrees that this Late
Charges provision is reasonable under the circumstances existing on the date of this Agreement,
that it would be extremely difficult and impractical to fix Agent's and each Lender's actual
damages arising out of any late payment and that the Late Charge shall be presumed to be the
actual amount of such damages incuned by Lender. In addition, in the everit that any loan
payment check tendered by Borrower to Agent is not honored upon presentment for demand,
Borrower shall pay to Agent upon demand an amount equal to Two Hundred Fifty Dollars
($250.00). No provision in this Agreement (including the provisions for Late Charges and for
additional interest on any amounts remaining unpaid after the Maturity Date) shall be construed
as in any way excusing Borrower from its obligation to make each payment promptly when due.

              (f)    Acceleration upon Certain Transfers. The unpaid principal balance of the
Loan and interest thereon and all other Loan Obligations shall become immediately due and
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 payable, and Borrower shall immediately pre-pay the Loan and all unpaid Loan Obligations in
 the event of any Transfer not expressly permitted by the Loan Agreement, the Security
 Instrument or any of the other Loan Documents.

       2.2   .S.ecurity for the Loan. The Loan will be evidenced, secured and guaranteed by the
 Loan Documents.

        2.3     Origination Fee; Transaction Costs. On or before the Closing Date, Bon-ower
shall have paid to Agent, f:or the benefit of the Lenders, in accordance with their respective Pro
Rata Shares, an origination fee in an amount equal to one percent (1.00%) of the Loan; and
Borrower shall have paid or reimbursed Agent for all title insurance premiums, recording and
filing fees, costs of environmental reports, physical condition reports, appraisals and other
reports, the reasonable fees and costs of Agent's and each Lender's counsel and all other third
party out of pocket expenses incurred in connection with the origination of the Loan. The
origination fee shall be deemed to be fully earned upon the earlier to occur of (a) issuance of any
commitment letter, or (b) the Closing Date, and shall be non-refundable upon payment. The
origination fee shall be due and payable on the Closing Date or on the earlier termination or
expiration of any commitment letter.

        2.4    ~onditions Prece_dent to Closing. The obligation of Lenders to make the Loan
hereunder is subject to the fulfillment by Borrower or waiver by Lenders of the following
conditions precedent no later than the Closing Date:

                (a)    Representations· and Warranties; Compliance with Condition§. The
representations and waiTanties of Borrower contained in this Agreement and the other Loan
Documents shall be true and conect in all material respects on and as of the Closing Date with
the same effect as if made on and as of such date, and no Default or an Event of Default shall
have occurred and be continuing; and Borrower shall be in compliance in all material respects
with all terms and conditions set forth in this Agreement and in each other Loan Document on its
part to be observed or performed.

             (b)    Lom1-Agr.~.~ment and Note. Agent shall have received a copy of this
Agreement and the Note, in each case, duly executed and delivered on behalf of Borrower.

               (c)     Delivery ofLQ£.1.n Document$._;_ Title Insuranc~_Reports; Lef!ses.

                       (i)    Security Instrument, Assignment of Leases. Agent shall have
received from Borrower fully executed and acknowledged counterparts of the Security
Instrument, the SDA and the Assignment of Leases and evidence that counterparts of the Security
Instrument, the SDA and Assignment of Leases have been delivered to the title company for
recording, in the reasonable judgment of Agent, so as to effectively create upon such recording
valid and enforceable Liens upon the Property, of the requisite priority, in favor of Lenders (or
such other trustee as may be required or desired under local Jaw), subject only to the Permitted
Encumbrances and such other Liens as are permitted pursuant to the Loan Documents. Agent
shall have also received from Borrower fully executed counterparts of the other Loan
Documents.

                      .(ii)   Jitle Insurance. Agent shall have received title insurance policies
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issued by a title company acceptable to Agent and dated as of the Closing Date, or a commitment
to issue a policy with title insurance (either in the form of a commitment or pro forma policy).
Such title insurance policies shall (i) provide coverage in amounts satisfactory to Agent, (ii)
insure Lenders that the Security Instrument creates a valid lien on the Property encumbered
thereby of the requisite priority, free and clear of all exceptions from coverage other than
Permitted Encumbrances and standard exceptions and exclusions from coverage (as modified by
the terms of any endorsements), (iii) contain such endorsements and affirmative coverages as
Agent may reasonably request, and (iv) name Lenders as the insureds. The title insurance
policies shall be assignable. Agent also shall have received evidence that all premiums in respect
of such title insurance policies have been paid.

                       (Hi)      Survey. Agent shall have received a current land survey for the
Property, certified to the title company, Agent, and Lenders and their successors and assigns, in
form and content satisfactory to Agent and prepared by a professional and properly licensed land
surveyor satisfactory to Agent in accordance with the Accuracy Standards for ALTAlACSM
Land Title Surveys as adopted by ALTA, American Congress on Surveying & Mapping and
National Society of Professional Surveyors in 2011 or such other standard as Agent may approve
in its sole discretion. Each such survey shall reflect the same legal description contained in the
title insurance policies relating to the Property and shall include, among other things, a metes and
bounds description of the real property comprising part of the Property reasonably satisfactory to
Agent. The surveyor's seal shall be affixed to each survey and the surveyor shall provide a
certification for each survey in form and substance acceptable to Agent.

                     (iv)    Insurance. Agent shall have received valid certificates of insurance
and the endorsements related thereto for the policies required pursuant to Section.....4.5 hereunder,
satisfactory to Agent in its sole discretion, and evidence of the payment ·of all insurance
premiums payable for the existing policy period.

                      (v)    Environtnental Renorts. Agent shall have received a Phase I
environmental report (and, if recommended by the Phase I environmental report, a Phase II
environmental report) in respect of the Property, in each case satisfactory in form and substance
to Agent.

                      (vi)    Zoning. With respect to the Property, Agent shall have received, at
Agent's option, letters or other evidence with respect to the Property from the appropriate
municipal authorities (or other Persons) concerning applicable zoning and building laws, in
substance reasonably satisfactory to Agent.

                       (vii) Encumbrances. Borrower shall have taken or caused to be taken
such actions in such a manner so that Agent and Lenders have a valid and perfected first priority
Lien as of the Closing Date with respect to the Security Instrument on the Property, subject only
to applicable Permitted Encumbrances and such other Liens as are permitted pursuant to the Loan
Documents, and Agent shall have received satisfactory evidence thereof.

               (d)     Relateg_Documents. Each additional document not specifically referenced
herein, but relating to the transactions contemplated herein, shall be in form and substance
reasonably satisfactory to Agent, and shall have been duly authorized, executed and delivered by
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 all parties thereto and Agent shall have received and approved certified copies thereof.

                (e)    Delivery of Organizational Documents. Borrower shall deliver or cause to
be delivered to Agent copies certified by Borrower of all organizational documentation related to
Borrower and/or the formation, structure, existence, good standing and/or qualification to do
business, as Agent may request in its sole discretion, including good standing certificates,
qualifications to do business in the appropriate jurisdictions, resolutions authorizing the entering
into of the Loan and incumbency certificates as may be requested by Agent.

               (f)     Opinions of Borro.wer's Counsel. Agent shall have received opinions
from Borrower's counsel with respect to the due execution, authority, enforceability of the Loan
Documents and such other matters as Agent may require, all such opinions in form, scope and
substance satisfactory to Agent and Agent's counsel in their reasonable discretion.

                 (g)     Basic Carrying Costs. Borrower (or other Persons) shall have paid all
basic carrying costs relating to the Property which are in arrears, if any, including without
limitation, (i) accrued but unpaid insurance premiums, (ii) currently due Taxes (including any in
arrears) and (iii) currently due other charges, which amounts shall be funded with proceeds of the
Loan.

               (h)    Completion of Proceedings. All corporate and other proceedings taken or
to be taken in connection with the transactions contemplated by this Agreement and other Loan
Documents and all documents incidental thereto shall be satisfactory in form and substance to
Agent, and Agent shall have received all such counterpart originals or certified copies of such
documents as Agent may reasonably request.

             (i)     P1;:J.yments. All Payment Reserves, payments, deposits or escrows required
to be made or established by Borrower under this Agreement, the Note and the other Loan
Documents on or before the Closing Date shall have been paid.

                 U)    Originatism Fe~; Trarg>Jwtion ~gsts. Borrower shall have paid to Agent the
origination foe pursuant to Secti0!1 2.3 and shall have paid or reimbursed Agent and Lenders for
all title insurance premiums, recording and filing fees, costs of environmental reports, physical
condition reports, appraisals and other reports, the reasonable fees and costs of Agent's and
Lenders' counsel and all other third party out of pocket expenses incurred in connection with the
origination of the Loan.

                (k)     jyfaterial Adve_rse Change. There shall have been no material adverse
change in the financial condition or business condition of Borrower or the Prope11y since the date
of the most recent financial statements delivered to Agent. The income and expenses of the
Property, the occupancy thereof, and all other features of the transaction shall be as represented
to Agent without material adverse change. Neither BotTower nor any of its constituent Persons
shall be the subject of any bankruptcy, reorganization, or insolvency proceeding.

              (1)     Le,Jl.ses. Agent shall have received a fully executed copy of the Leases, all
of which shall be satisfactory in form and substance to Agent, together with copies of all
necessary approvals in accordance with all applicable health care requirements.

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              (m)    Tenant Estoppel1i. Agent shall have received an executed estoppel letter,
which shall be in form and substance satisfactory to Agent, from Operator under the Lease
Agreement.

                (n)    Subordination and AttornJ!1eQ1. Agent shall have received appropriate
instruments acceptable to Agent subordinating all of the Leases designated by Agent to the
Security Instrument. Agent shall have received an agreement to attorn to Agent and Lenders
satisfactory to Agent from any tenant under a Lease that does not provide for such attormnent by
its terms.

              (o)    Tax Lot. Agent shall have received evidence that the Property constitutes
one (1) or more separate tax lots, which evidence shall be reasonably satisfactory in form and
substance to Agent.

               (p)     Physical Condition R_9J2orts. Agent shall have received physical condition
reports with respect to the Property, which reports shall be reasonably satisfactory in fonn and
substance to Agent.

                ( q)   Mana~rrient Agrl',!ement.     Agent shall have received copies of the
Management Agreement, which shall be satisfactory in form and substance to Agent, and copies
of all necessary approvals in accordance with all legal requirements.

                (r)     Apgwjj)al. Agent shall have received an appraisal of the Property, which
shall be satisfactory in form and substance to Agent.

                (s)    Medicare/Medicaid Agreements, Facility Licensees. Agent shall have
received, in forn1 and substance reasonably acceptable to Agent, copies of Operator's current and
valid Medicare and Medicaid provider numbers and agreements if issued as of the Closing Date,
copies of the most recent state surveys, copies of all participation agreements relating to health
plans, and information pertaining to the patient census for the Property, copies of the Facility
License of the Operator or other evidence satisfactory to Agent that the Facility Licenses will be
issued upon the Closing.

                (t)   Further Documents. Agent or its counsel shall have received such other
and fmther approvals, opinions, documents and information as Agent or its counsel may have
reasonably requested including the Loan Documents in fonn and substance satisfactory to Agent
and its counsel.

                                 ARTICLE III
                 BORROWER'S REPRESENTATIONS AND WARRANTIES

      To induce Agent and Lenders to enter into this Agreement, and to make the Loan to
Borrower, Borrower represents and wanants to Agent and Lenders as follows:

         3.1   Exist~nce,  Power and QualiJication. Each Loan Party is a duly organized and
validly existing limited liability company, has the power to own or lease its properties and to
carry on its business as is now being conducted, and is duly qualified to do business and is in

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 good standing in every jurisdiction in which the character of the properties owned or leased by it
 or in which the transaction of its business makes its qualification necessary.

        3.2    Power and Authoritv. Borrower has full power and authority to borrow the
Indebtedness evidenced by the Note and to incur the Loan Obligations provided for herein, all of
which have been authorized by all proper and necessary action. All consents, approvals
authorizations, orders or filings of or with any court or Governmental Authority, if any, required
for the execution, delivery and performance of the Loan Documents by the Borrower have been
obtained or made. Operator has the full power and authority to incur liabilities and obligations
provided for in the respective Loan Documents to which it is a party, all of which have been
authorized by all proper and necessary action. All consents, approvals authorizations, orders or
filings of or with any court or Governmental Authority, if any, required for the execution,
delivery and performance of the Loan Documents by the Operator have been obtained or made.

         3.3    Due Execution and Enforcement. Each of the Loan Documents to which a Loan
Party is a party constitutes a valid and legally binding obligation of the Loan Party, enforceable in
accordance with its respective tenns (except as such enforcement may be limited by bankruptcy,
insolvency, reorganization, receivership, moratorium, or other laws relating to the rights of
creditors generally and by general principles of equity) and does not violate, conflict with, or
constitute any default under any law, government regulation, decree, judgment, the Loan Party's
articles of organization or incorporation, partnership agreement/operating agreement or by-laws,
as applicable, or any other agreement or instrument binding upon the Loan Party.

          3.4   Single Purpose Entity. Each of Borrower and Operator is a Single Purpose Entity.

         3.5    Pending Matters.

                (A)   Operations; Financial Condition. No action or investigation is pending or,
to the best of Borrower's knowledge, threatened before or by any court or administrative agency
which might result in any material adverse change in the financial condition, operations or
prospects of a Loan Party or any reduction of the reimbursement rate under the Reimbursement
Contracts. Neither Loan Party is in violation of any agreement, the violation of which might
reasonably be expected to have a material adverse effect on its business or assets. Neither Loan
Party is in violation of any order, judgment, or decree of any court, or any statute or
govemmental regulation to which it is subject.

                (B)    Propeljy Improvements. There are no proceedings pending or, to the best
of Borrower's knowledge, threatened, to acquire through the exercise of any power of
condemnation, eminent domain or similar proceedings any part of the Property, the
Improvements or any interest therein, or to enjoin or similarly prevent or restrict the use of the
Property or the operation of any of the Facility in any manner. None of the Improvements is
subject to any unrepaired casualty or other damage.

       3.6     Fintp}g_ial Statem~11ts Accurate. All financial statements heretofore or hereafter
provided by or on behalf of Borrower or Operator are and will be true and complete in all
material respects as of their respective dates and fairly present the respective financial condition
of Borrower or Operator, and there are no material liabilities, direct or indirect, fixed or

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contingent, as of the respective dates of such statements which are not reflected therein or in the
notes thereto or in a written ce11ificate delivered with such statements. The financial statements
of the Bonower or Operator have been and will be prepared in accordance with GAAP. There
has been no material adverse change in the financial condition, operations, or prospects of
Bonower or Operator since the dates of such statements except as fully disclosed in writing with
the delivery of such statements. All financial statements of the operations of the Facility
hereafter provided to Agent will be true and complete in all material respects as of their
respective dates, and to the best of Borrower's knowledge, all such financial statements provided
to Agent are true and correct in all material respects.

           3. 7   .QQmpJi~nc~}Yjth   Facility Laws.

                (a)     Bonower, Operator and Manager, as applicable, are the lawfol holders of
all Permits for the Facility, including, without limitation, the Certificate of Need (if required) and
Facility License, all of which (i) are in full force and effect; (ii) constitute all of the Permits
required for the use, operation and occupancy thereof; (iii) have not been pledged as collateral for
any other loan or Indebtedness (other than pursuant to the Permitted Working Capital Financing
(as hereinafter defined, with respect to the Operator); (iv) are held free from restrictions or any
encumbrance which would materially adversely affect the use or operation of the Facility; and
(v) are not provisional, probationary or restricted in any way.

                (b)     Borrower, Operator, Manager and the operation of the Facility are in
compliance in all material respects with the applicable provisions of Medicare, Medicaid, long
term care, nursing facility ~md/or assisted living facility laws, rules, regulations, requirements of
Governmental Authorities, and published interpretations to which the Facility is subject. No
waivers of any laws, rules, regulations, or requirements (including, but not limited to, minimum
foot requirements per bed) are required for the Facility to operate at the current licensed bed
capacity or participate in the Medicare and Medicaid programs.

                (c)     All Reimbursement Contracts and requisite certifications (including
without limitation certification to participate in the Medicare and Medicaid programs) (i) are in
full force and effect; (ii) have not been pledged as collateral for any other loan or Indebtedness
(other than pursuant to the Permitted Working Capital Financing and pursuant to the Lease
Agreement); (iii) are held free from restrictions or any encumbrance which would materially
adversely affect the use or operation of the Facility; and (iv) are not provisional, probationary or
restricted in any way.

                 (d)   Each of Borrower, Operator and Manager, as applicable, is in good
standing with all the respective Governmental Authorities governing applicable Permits and
Reimbursement Contracts. The Facility is current in the payment of all so-called provider taxes
or other assessments owed by the Facility with respect to the Permits and/or Reimbursement
Contracts. Borrower will, or will cause Operator to, maintain (without allowing to lapse) the
Certificate of Need (if required), Facility License, other required Permits, certification to
participate in the Medicare and Medicaid programs and other material Reimbursement Contracts.

               (e)      No Certificate of Need is required by any Governmental Authority to
operate the Facility as a skilled nursing care facility. To the best of Bon·ower's knowledge, in the
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event Agent or any Lender acquires the Facility through foreclosure or otherwise, none of Agent,
any Lender, or a subsequent manager, operator, transferee or any subsequent purchaser {through
foreclosure or otherwise) must obtain a Certificate of Neqd prior to applying for and receiving a
license or operating certificate to operate the Facility and certification to receive Medicare and
Medicaid payments for patients having coverage thereunder, provided that no service or bed
complement is changed. Upon foreclosure, work-out, restructuring or other transfer of the
Facility or Property, Borrower shall cooperate, and cause the Operator, Manager or any other
licensee, manager or Person in possession of the Facility to cooperate with Agent, Lenders or any
subsequent operator, manager, transforce or purchaser of the Property, in obtaining a Certificate
of Need (if required), Facility License, Medicare and Medicaid certification, other Permits or
Reimbursement Contracts for the Facility.

        3.8      Maintainj?ed Can..~city. Neither Borrower nor Operator, nor to their knowledge
any other Person, has reduced, or granted to any Person the right to reduce, the number of
licensed beds in the Facility or applied, or granted to any Person the right to apply, for approval
to transfer the right to any and all of the licensed Facility beds to any other location.

        3.9     Medicare and Medicaid Compliance. The Facility is in compliance with all
requirements for participation in the Medicare and Medicaid programs, including without
limitation, the Medicare and Medicaid Patient Protection Act of 1987 (as amended). The Facility
is in conformance in all material respects with all insurance, reimbursement and cost reporting
requirements and has current provider agreements· which are in foll force and effect under
Medicare and Medicaid.

        3 .10 Third-Pai:!J' Payors. There is no threatened or pending revocation, suspension,
termination, probation, restriction, limitation, or nonrenewal affecting Borrower, Operator,
Manager, or the Facility or any Reimbursement Contract or participation or provider agreement
with any third-party payor, including Medicare, Medicaid, Blue Cross and/or Blue Shield, and
any other private commercial insurance managed care and employee assistance program (such
programs, the "Third-Party Payor__P.[9_gram2") to which Borrower, Operator, Manager or the
Facility presently is subject. All Medicare, Medicaid and private insurance cost reports and
financial reports submitted by Borrower, Operator, Manager or the Facility are and will be
materially accurate and complete and have not been and will not be misleading in any material
respects. No cost reports required to be filed by the Facility remain "open" or unsettled, except
as otherwise disclosed.

        3.11 Governmental Proceeding~--~pd Notices. Loan Parties have received no notice of,
and to the best of Borrower's knowledge, neither Borrower, the Operator nor the Facility is
currently the subject of any proceeding by any Governmental Authority and no notice of any
violation has been received from .a Governmental Authority that would, directly or indirectly, or
with the passage of time:

                (A)     Have a material adverse impact on Operator's ability to accept and/or
retain patients or result in the imposition of a fine, a sanction, a lower rate certification or a lower
reimbursement rate for services rendered to eligible patients;



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               (B)    Modify, limit or annul or result in the transfer, suspension, revocation or
imposition of probationary use of any of the Permits; or

                 (C) Affect Operator's continued participation in the Medicare or Medicaid
programs or any other Third-Party Payor Programs, or any successor programs thereto, at current
rate certifications.

        3.12 Physical Plant Stapdards. To the best of BoITower' s knowledge, the Facility and
the use thereof complies in all material respects with all applicable local, state and federal
building codes, fire codes, health care, nursing facility and other similar regulatory requirements
(the "Physical Plant Standards"), and no waivers of Physical Plant Standards exist at the Facility.

        3.13 Pledges of Accounts. Neither Borrower, Guarantor nor Operator has pledged its
Accounts as collateral security for any loan or Indebtedness other than the Loan, except as set
forth in the AR Intercreditor Agreement.

        3.14 Payment of Taxes and Property Impositions. Borrower has filed all federal, state,
and local tax returns which it is required to file and has paid, or made adequate provision for the
payment of~ all taxes which are shown pursuant to such returns or arc required to be shown
thereon or to assessments received by Borrower, including, without limitation, provider taxes.
All such returns are complete and accurate in all respects. Borrower has paid or made adequate
provision for the payment of all applicable water and sewer charges, ground rents (if applicable)
and Taxes with respect to the Property.

        3.15 JI1lLt9 Collateral. Borrower has good and marketable title to the Mortgaged
Property described in the Security Instrument executed by Borrower and all of the other
Collateral, subject to no lien, mortgage, pledge, encroachment, zoning violation, or encumbrance,
except Permitted Encumbrances which do not and will not materially interfere with the security
intended to be provided by the Security Instrument and the Assignment of Rents and Leases or
the current use or operation of the Property and the Improvements thereon or the current ability
of the Facility to generate net operating income sufficient to service the Loan. All Improvements
situated on the Property are situated wholly within the boundaries of the Property.

        3.16 Priority of Mortgage.· The Security Instrument constitutes a valid first lien against
the real and personal property descdbed therein, prior to all other liens or encumbrances,
including those which may hereafter accrue, excepting only Permitted Encumbrances, none of
which materially and adversely affect: (a) the.ability of the Borrower to pay in full the principal
of and interest on the Note when due; (b) the security (and its value) intended to be provided by
the Security Instrument; or (c) the current use of the Property and the Improvements.

       3 .17 !,ocatiQ..,n of Chief Executive Offices. The location of each Loan Party's principal
place of business and chief executive office is c/o Synergy Health Centers LLC, 260 Chambers
Bridge Road, Suite 2A, Brick, New Jersey 08723.

       3.18 Disclosure. All information furnished or to be furnished by a Loan Party to Agent
and Lenders in connection with the Loan or any of the Loan Documents, is, or will be at the time
the same is furnished, accurate and correct in all material respects and complete insofar as

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completeness may be necessary to provide Agent and Lenders with true and accurate knowledge
of the subject matter.

        3.19 Irade Nan~es. No Loan Party has changed its legal name, been known by any
other name or been a party to a merger, reorganization or similar transaction within the last five
(5) years.

      3.20 BRlSA. Borrower is in compliance with all applicable provisions of the
Employee Retirement Income Security Act of 1974, as amended ("ERISA'').

         3 .21   Ownership. The Ownership Interest of each Loan Party is correctly and accurately
set forth in the Pre-Transfer Organizational Chart of the Bon·owcr on Schedule 3.21. Agent
acknowledges and agrees that upon approval of the transfer by the Massachusetts Department of
Public Health and the Centers for Medicare and Medicaid Services and subject to Patriot Act
compliance, Borrower shall be pem1itted to transfer the Ownership Interest of Bonower to the
entities set forth on Schedule 3.12 (the "Investor Transfer.") and pursuant to the structure set forth
in the Post-Transfer Organizational Chart of Bonower on Schedule 3 .21. Borrower agrees to
provide Agent with written notice within two (2) business days of the Investor Transfer and to
provide Agent \vith copies of such updated organizational documents of Bon-ower as Agent shall
request.

        3 .22 Complianc~..JY.ith_A.Pplicable . Law~. The Facility and its operations and the
Property comply in all material respects with all covenants and restrictions of record and
applicable laws, ordinances, rules and regulations, including, without limitation, the Americans
with Disabilities Act and the regulations thereunder, and all laws, ordinances, rules and
regulations relating to zoning, setback requirements and building codes and there are no waivers
of any building codes cuITently in existence for the Facility.

        3.23 Solvency. Borrower is solvent for purposes of 11 U.S.C. §548, and the bon-owing
of the Loan will not render the Borrower insolvent for purposes of 11 U.S.C. §548.

         3.24 I&ase Agreement. The Lease Agreement (a) is in full force and effect and there
are no defaults (either monetary or non~monetary) by the Borrower or Operator thereunder;
(b) has a term extending for not less than five (5) years following the Closing Date; and
( c) provides for a triple net aggregate annual rent payment of at least 1.10 times Debt Service.

        3 .25 QJ.h.er Indebtedness. Borrower has no outstanding Indebtedness, secured or
unsecured, direct or contingent (including any guaranties), other than: (a) the Loan, and
(b) Indebtedness which represents trade payables or accrued expenses incurred in the ordinary
course of business of owning and operating the Property. No other Indebtedness will be secured
(senior, subordinate or pari passu) by the Property.

        3.26 Other Obligations. Borrower has no material financial obligation under any
indenture, mortgage, deed of trust, loan agreement or other agreement or instrument to which the
Borrower is a party or by which Borrower or the Property or other Collateral is otherwise bound,
other than obligations incurred in the ordinary course of the operation of the Property, other than
obligations under the Security Instrument and the other Loan Documents.'

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        3.27 Fraudulent Convey_q_nces. Borrower: (a) has not entered into this Agreement or
any of the other Loan Documents with the actual intent to hinder, delay, or defraud any creditor;
and (b) has received reasonably equivalent value in exchange for its obligations under the Loan
Documents. Giving effect to the transactions contemplated by the Loan Documents, the fair
saleable value of Borrower's assets exceeds and will, immediately following the execution and
delivery of the Loan Documents, be greater than Borrower's probable liabilities, including the
maximum amount of its contingent liabilities or its debts as such debts become absolute and
mature. Borrower's assets do not and, immediately following the execution and delivery of the
Loan Documents will not, constitute unreasonably small capital to carry out its business as
conducted or as proposed to be conducted. Borrower does not intend to, and docs not believe
that it will, incur debts and liabilities (including, without limitation, contingent liabilities and
other commitments) beyond its ability to pay such debts as they mature (taking into account the
timing and amounts to be payable on or in respect of obligations of Borrower). ·

         3 .28 Fi{.(tures, Fyrniture and Egu!m.nenj. Borrower or Operator owns the fixtures,
furniture and Equipment required by all state and federal laws and regulations for (a) the
operation of the Property (b) the maintenance of the Facility License in good standing, and
(c) certification to participate in the Medicare and Medicaid programs.

        3.29 .Sole Purpose. Borrower warrants, represents an,d agrees that each of Borrower
and Operator is a Delaware limited liability company that has not engaged in any business other
than the acquisition and leasing and the operation of the Facility.

       3.30 Use of Loan Proce~.Q.~. The proceeds of the Loan are to be used solely to acquire
the Property and conduct the business of long term nursing care services.

                                    ARTICLE IV
                       AFFIRMATIVE COVENANTS OF BORROWER

       Borrower agrees with and covenants unto Agent and the Lenders that until the Loan
Obligations have been paid in full:

       4.1     Payment of LoanjPerformance of Loan Obligation~. Borrower shall duly and
punctually pay or cause to be paid the principal and interest of the Note in accordance with its
terms and duly and punctually pay and perform or cause to be paid or performed all Loan
Obligations hereunder and under the other Loan Documents.

       4.2     Maintenance .. of Existence. Borrower arid Operator shall each maintain its
existence as a limited liability company, and, in each jurisdiction in which the character of the
property owned by it or in which the transaction of its business makes qualification necessary,
maintain good standing.

       4.3     Mqjntenance of Singl~ PurpQ. §~. Borrower and Operator shall each maintain its
existence as a Single Purpose Entity.

        4.4    Accrual and Pa:xment of Taxes. During each fiscal year, Borrower and Operator
shall each make accmate provision for the payment of all current tax liabilities of all kinds,
including, without limitation, federal and state income taxes, franchise taxes, payroll taxes and
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 Taxes, all required withholding of income taxes of employees, all required old age and
 unemployment contributions, and all required payments to employee benefit plans, and pay the
 same when they become due.

        4.5    lnsuran9~. Borrower shall maintain, or cause Operator to maintain, the following
 insurance coverages with respect to the Property, the Improvements and the Facility thereon:

                 (a)     Insurance against loss or damage by fire, casualty and other hazards as
 now are or subsequently may be covered by a comprehensive "all risk" policy or a policy
covering "special" causes of loss, with such endorsements as Agent may from time to time
reasonably require and which are customarily required by institutional lenders of similar
 properties similarly situated, including, without limitation, building ordinance or law, demolition,
incurred cost of construction, lightning, windstorm, civil commotion, hail, riot, strike, water
damage, sprinkler leakage, collapse, malicious mischie1~ explosion, smoke, aircraft, vehicles,
vandalism, falling objects and weight of snow, ice or sleet, and covering the Facility in an
amount equal to one hundred percent (100%) of the full insurable replacement value of the
Facility (exclusive of footings and foundations .below the lowest basement floor) without
deduction for depreciation. The determination of the replacement cost amount shall be
determined by the ''Insurable Value" or "Cost Approach to Value" as reflected in an appraisal,
with a waiver of depreciation, and shall be adjusted annually to comply with the requirements of
the insurer issuing the coverage, or as may be determined to be reasonably required by Agent,
and, unless the insurance required by this paragraph shall be effected by blanket and/or umbrella
policies in accordance with the requirements of this Agreement, the policy shall include int1ation
guard coverage that ensures that the policy limits will be increased over time to reflect the effect
of inflation. Each policy shall, subject to Agent's approval, contain: (i) a replacement cost
endorsement, without deduction for depreciation; (ii) either an agreed amount endorsement or a
waiver of any cowinsurance provisions; and (iii) an ordinance or law coverage or enforcement
endorsement if the Improvements or the use of the Property constitutes any legal nonconforming
strnctures or uses, and shall provide for deductibles in such amounts as Agent may permit in its
sole discretion.

                 (b)    Commercial general liability insurance under a policy containing
"Comprehensive General Liability Form" of coverage (or a comparably worded form of
coverage) and the "Broad Form CGL" endorse111ent (or a policy which otherwise incorporates the
language of such endorsement), providing coverage on an occurrence (or "claims made") basis,
which policy shall include, without limitation, coverage against claims for personal injury, bodily
if1:jury, death and property damage liability with respect to the Facility and the operations related
thereto, whether on or off the Property, and the following coverages: Product
Liability/Completed Operations; Broad Fo11n Contractual Liability, Independent Contractor,
Personal Injury and Advertising Injury Protection, Medical Payment (with a minimum limit of
$5,000 per person), Broad Form Cross Suits Liability Endorsement, where applicable, hired and
non~owned automobile coverage (including rented and leased vehicles), and, if any alcoholic
beverages shall be sold, manufactured or distributed in the Facility, liquor liability coverage, all
of which shall be in such amounts as Agent may from time to time reasonably require, but not
less than One Million Dollars ($1,000,000) per occurrence, Three Million Dollars ($3,000,000)
in the aggregate. The deductible amount shall not exceed $50,000 per occurrence. Such liability
policy shall delete the contractual exclusion under the personal injury coverage, if possible, and if
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available, shall include the following endorsements:           Notice of Accident, Knowledge of
Occurrence, and Unintentional Error and Omission.

               (c)    Professional liability insurance coverage for the Facility combined in an
amount equal to One Million Dollars ($1,000,000) per occurrence and Three Million Dollars
($3,000,000) in the aggregate, with each deductible not to exceed $100,000 in the aggregate.

                (d)     Loss of rents insurance for the Property: (i) covering the same perils of
loss as are required to be covered by the property insurance required under .~n 4.~fil above;
(ii) in an amount of I 00% of the gross rental income of the Facility for a period of twelve (12)
months as reasonably projected by Agent, containing a 180-day extended period of indemnity
endorsement; (iii) including either an agreed amount endorsement or a waiver of any co~
insurance provisions, so as to prevent Borrower, Agent, any Lender and any other insured
thereunder from being a co-irysurer; and (iv) providing that any covered loss thereunder shall be
payable to Agent and Lenders.

                 (e)    During the period of any new construction on the Property, a so-called
"Builder's All-Risk Completed Value" or "Course of Construction" insurance policy in non-
reporting form for any improvements under construction, including, without limitation, for
demolition and increased cost of construction or renovation, in an amount equal the amount of
the general contract plus the value of any existing trust note for improvements and materials
stored on or off the real property, including "soft cost" coverage, and Workers' Compensation
Insurance covering all persons engaged in such construction, in an amount at least equal to the
minimum required by law. In addition, each contractor and subcontractor shall be required to
provide Agent with a ce1iificate of insurance for (i) workers' compensation insurance covering
all persons engaged by such contractor or subcontractor in such construction in an amount at
least equal to the minimum required by law, and (ii) general liability insurance showing
minimum limits of at least Five Million Dollars ($5,000,000), including coverage for products
and completed operations. Each contractor and subcontractor also shall cover Borrower, Agent
and each Lender as an additional insured under such liability policy and shall indemnify and hold
Borrower, Agent and each Lender harmless from and against any and all claims, damages,
liabilities, costs and expenses arising out of, relating to or otherwise in connection with its
performance of such construction.

               (i)     If the Facility contains steam boilers, steam pipes, steam engines, steam
turbines or other high pressure vessels, insurance covering the major components of the central
heating, air conditioning and ventilating systems, boilers, other pressure vessels, high pressure
piping and machinery, elevators and escalators, if any, and other similar equipment installed in
the Improvements, in an amount equal to one hundred percent ( 100%) of the full replacement
cost thereof, which policies shall insure against physical damage to and loss of occupancy and
use of the Improvements arising out of an accident or breakdown covered thereunder.

                 (g)    Flood Hazard insurance, in the maximum amount allowable by law, if any
portion of the Improvements is located in a federally designated "special flood hazard area" and
in which flood insurance is available. In lieu thereof, Agent will accept proof, satisfactory to it in
its sole discretion, that the improvements are not within the boundaries of a designated "special
flood hazard area."
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               (h)    Workers' compensation insurance or other similar insurance which may be
 required by governmental authorities or applicable legal requirements in an amount at least equal
 to the minimum required by law.

               (i)    Such other insurance coverages, in such amounts, and such other forms
and endorsements, as may from time to time be required by Agent in its sole discretion and
which arc customarily required by institutional lenders to similar properties, similarly situated,
including, without limitation, coverages against other insurable hazards (including, by way of
example only, earthquake, sinkhole and mine subsidence), which at the time are commonly
insured against and generally available.

                G)     Addition~LRequirements/Provisions:

                      (i)    Borrower is required to provide Agent with original renewals or
replacements of such insurance policies or certificates during the Term of the Loan.

                       (ii)     If the Facility is located in a seismically active area or an area
prone to geologic instability and mine subsidence, Agent may require an inspection by a qualified
structural or geological engineer satisfactory to Agent, and at Bonower's expense. The Facility
must be structurally and geologically sound and capable of withstandillg normal seismic activity
or geological movement. Agent reserves the right to require earthquake insurance or Maximum
Probable Loss insurance on a case-by-case basis.

                       (iii)    All insurance policies shall have a term of not less than one (1)
year and shall be in the form and amount and with deductibles as, from time to time, shall be
acceptable to Agent in its sole discretion. Except for the insurance coverage pursuant to SectiQn
4.5(c) above, all insurance coverages apply to the Property and Facility separately. All such
policies shall be primary, provide for loss payable solely to Agent and Lenders and shall contain
a standard "non-contributory mortgagee" endorsement or its equivalent relating, inter alia, to
recovery by Agent and Lenders notwithstanding the negligent or willful acts or omissions of
Borrower and notwithstanding: (i) occupancy or use of the Facility for purposes more hazardous
than those permitted by the terms of such policy; (ii) any foreclosure or other action taken by
Agent or any Lender pursuant to the Security Instrument upon the occurrence of an Event of
Default thereunder; or (iii) any change in title or ownership of the Facility..

                        (iv)   All insurance policies must be written by a licensed insurance
carrier in the State in which the Facility is located and that has a long~term senior debt rating of
at least "AA" by Standard & Poor's Rating Service.

                        (v)      All liability insurance policies must name "Capital Funding, LLC,
a Maryland limited liability company, and its successors and/or assigns as their interests may
appear" as additional insureds, and all property insurance policies (including those provided for
in .S~ctions_4.5(a), (g_}, .(£}, ill, {g) and ill as applicable) must name "Capital Lending and
Mortgage Group, LLC, a Maryland limited liability company, and its successors and/or assigns as
their interests may appear" as the named mortgage holder entitled to all insurance proceeds as
loss payee. Agent shall have the right, without Borrower's consent, by notice to the insurance


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company and to Borrower, to change the additional insured and named mortgagee endorsements
in connection with any sale, assignment or other transfer of the Loan.

                        (vi)   All insurance policies for the above required insurance must
provide for thirty (30) days prior written notice of cancellation to Agent.

                        (vii) Policies or binders, together with the evidence of the above
required insurance on ACORD Form 27 or its equivalent, must be submitted to Agent prior to
setting the interest rate on the Loan. Borrower shall not carry separate insurance, concurrent in
kind or fom1 or contributing in the event of loss, with any insurance required under this Section
4.5. If the limits of any policy required hereunder are reduced or eliminated due to a covered
loss, Bonower shall pay the additional premium, if any, in order to have the original limits of
insurance reinstated, or Borrower shall purchase new insunmce in the same type and amount that
existed immediately prior to the Joss.

                         (viii) If Borrower fails to maintain and deliver to Agent the original
policies or certificates of insurance required by this Agreement, Agent may, at its option, procure
such insurance and Borrower shall pay or, as the case may be, reimburse Agent and Lenders for,
all premiums thereon promptly, upon demand by Agent, with interest thereon at the Default Rate
from the date paid by Agent or any Lender to the date of repayment and such sum shall constitute
a part of the Loan Obligations.

                       (ix)    The insurance required by this Agreement may, at the option of
Borrower, be effected by blanket and/or umbrella policies issued to Borrower or to an Affiliate of
Borrower covering the Facility and the properties of such Affiliate; provided that, in each case,
the policies otherwise comply with the provisions of this Agreement and allocate to the Facility,
from time to time, the coverage specified by this Agreement, without possibility of reduction or
coinsurance by reason ot: or damage to, any other property (real or personal) named therein. If
the insurance required by this Agreement shall be effected by any such blanket or umbrella
policies, Borrower shall furnish to Agent original policies or certified copies thereof, with
schedules attached thereto showing the amount of the insurance provided under such policies
which is applicable to the Facility.

                       (x)    None of Agent, Lender or its respective agents or employees shall
be liable for any loss or damage insured by the insurance policies required to be maintained
under this Agreement; it being understood that: (i) Borrower shall look solely to its insurance
company for the recovery of such loss or dan1age; (ii) such insurance company shall have no
rights of subrogation against Agent, Lender, or any of its respective agents or employees; and
(iii) Borrower shall use its best efforts to procure from such insurance company a waiver of
subrogation rights against Agent and each Lender. If, however, such insurance policies do not
provide for a waiver of subrogation rights against Agent and each Lender (whether bccaus_e such
a waiver is unavailable or otherwise), then Borrower hereby agrees, to the extent permitted by
law and to the extent not prohibited by such insurance policies, to waive its rights of recovery, if
any, against Agent, Lender, and each of its respective agents and employees, whether resulting
from any damage to the Facility, any liability claim in connectio·n with the Facility or otherwise.
If any such insurance policy shall prohibit Borro,ver from waiving such claims, then Borrower

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must obtain from such insurance company a waiver of subrogation rights against Agent and each
Lender.

              (k)     At its option, Agent agrees that Agent shall make the net proceeds of
insurance or condemnation (after payment of Agent's and Lender's reasonable costs and
expenses) available to Borrower for BotTower's repair, restoration and replacement of the
Improvements, Equipment and Inventory damaged or taken on the following terms and subject to
Borrower's satisfaction of the following conditions:

                      (i)    The aggregate amount of all such proceeds shall not exceed the
aggregate amount of all such Loan Obligations;

                    (ii)   At the time of such Joss or damage and at all times thereafter while
Agent or any Lender is holding any portion of such proceeds, there shall exist no Default or
Event of Default;

                       (iii)   The Improvements, Equipment, and Inventory for which loss or
damage has resulted shall be capable of being restored to its preexisting condition and utility in
all material respects with a value equal to or greater than that which existed prior to such loss or
damage and such restoration shall be capable of being completed prior to the earlier to occur of
(A) the expiration of loss of rents insurance as determh1ed by an independent inspector or (B) the
original Maturity Date of the Loan;

                     (iv)   Within thirty (30) days from the date of such loss or damage
Borrower shall have given Agent a written notice electing to have the proceeds applied for such
purpose;

                       (v)    Within sixty (60) days following the date of notice under the
preceding subparagraph (iv) and prior to any proceeds being disbursed to BolTower, Borrower
shall have provided to Agent all of the following:

                      (A)    complete plans and specifications for restoration, repair and
replacement of the Improvements, Equipment and Inventory damaged to the condition, utility
and value required by Section 4.5(k..lCi.ill above;

                     (B)     if loss or damage exceeds $50,000, fixed-price or guaranteed
maximum cost bonded construction contracts for completion of the repair and restoration work in
accordance with such plans and specifications;

                     (C)    builder's risk insurance for the full cost of construction with Agent
named under a standard mortgagee loss-payable clause;

                      (D)    such additional funds as in Agent's reasonable opinion are
necessary to complete such repair, restoration and replacement; and

                     (E)     copies of all permits and licenses, if any, necessary to complete the
work in accordance with the plans and specifications;

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                      (vi)   Agent may, at Bonower's expense, retain an independent inspector
to review and approve plans and specifications and completed construction and to approve all
requests for disbursement, which approvals shall be conditions precedent to release of proceeds
as work progresses;

                        (vii) No portion of such proceeds shall be made available by Agent for
architectural reviews or for any other purposes which are not directly attributable to the cost of
repairing, restoring or replacing the Improvements, Equipment and Inventory for which a loss or
damage has occurred unless the same are covered by such insurance;

                      (viii) Borrower shall diligently pursue such work and shall complete
such work prior to the earlier to occur of the expiration of business interruption insurance or the
Maturity Date;

                      (ix)    Borrower, Operator and Facility each continues to achieve the
requirements of the Financial Covenants set forth in Section 4.12.(Q} below;

                      (x)    Each disbursement by Agent of such proceeds and deposits shall be
fonded subject to conditions and in accordance with disbursement procedures which a
commercial construction lender would typically establish in ·the exercise of sound banking
practices and shall be made only upon receipt of disbursement requests on an AIA 0702/703
form (or similar form approved by Agent) signed and certified by Borrower and, if required by
the Agent, its architect and general contractor with appropriate invoices and lien waivers as
required by Agent; and

                        (xi)    Agent, for the benefit of the Lenders, shall have a first lien and
security interest in all building materials and completed repair and restoration work and in all
fixtures and equipment acquired with such proceeds, and Borrower shall execute and deliver
such mortgages, deeds of trust, security agreements, financing statements and other instruments
as Agent shall request to create, evidence, or perfect such lien and security interest.

                       (xii) In the event and to the extent such insurance proceeds are not
required or used for the repair, restoration and replacement of the Improvements, Equipment and
Inventory for which a loss or damage has occurred, or in the event Agent does not permit
Borrower to have the insurance proceeds applied to the restoration of the Improvements,
Equipment, or Inventory, or, if the conditions set forth herein for such application are otherwise
not satisfied, then Agent shall be entitled without notice to or consent from Borrower to apply
such proceeds, or the balance thereof, at Agent's option either (A) to the full or partial payment
or prepayment of the Loan Obligations (without premium) in the manner aforesaid, or (B) to     the
repair, restoration and/or replacement of all or any pa11 of such Improvements, Equipment and
Inventory for which a loss or damage has occurred.

               (l)    Bonower appoints Agent as Borrower's attorney-in-fact to cause the
issuance of or an endorsement of any insurance policy to bring Borrower into compliance
herewith and, as limited above, at Agent's sole option, to make any claim for, receive payment
for, and execute and endorse any documents, checks or other instruments in payment for loss,


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 theft, or damage covered under any such insurance policy; however, in no event will Agent or
 any Lender be liable for failure to collect any amounts payable under any insurance policy.

       4.6    ,Financial_and Other Information. Borrower shall provide to Agent, and cause the
Operator to provide to Agent, at its address set forth in Section 10.7, the following financial
statements and infonnation on a continuing basis during the Term of the Loan:

                (a)    Periodic from Borrower. Within (i) thirty (30) days after the end of each
 calendar month and (ii) sixty (60) days after the end of each calendar year, and (iii) fourteen (14)
days after written request submitted to Borrower by Agent, Borrower shall deliver to Agent, true,
complete and correct financial statements for Bonower for such calendar month, year or other
period requested by Agent. Such financial statements shall include for each such period a
(A) balance sheet, (B) an statement of income and expenses, (C) a statement of changes in
financial position, (D) a detailed statement showing the computation of Debt Service Coverage
Ratio of Borrower and each ratio and requirement that is the subject of a Financial Covenant, and
such further detailed information with respect to the Property and the financial affairs of
Bonower as may be reasonably requested by Agent. Within twenty (20) days after the end of
each calendar month, Borrower shall deliver to Agent financial statements prepared internally for
Borrower for such calendar month accurately reflecting income, expenses, and such other
information required. to determine Debt Service Coverage Ratio as provided in Sectio11... 4.12 and
such other information as Agent may reasonably request. All such financial statements shall be
manually signed and certified as true and conect by each manager of Bonower as to quarterly
and annual statements and by the chief financial officer of Borrower as to monthly statements.
The financial statements required to be submitted under this subsection need not be audited
financial statements provided the submitted financial statements shall otherwise be in a form
satisfactory to Agent.

                (b)     Periodic from Operator. Within: (i) thirty (30) days after the end of each
calendar month and (ii) ninety (90) days after the end of each calendar year, and (iii) fourteen
(14) days after written request submitted to Borrower by Lender, Borrower shall deliver to Agent,
true, complete and correct financial statements, prepared in accordance with GAAP, for Operator
and Facility (or any other party operating the Facility) for such calendar month, year or other
period requested by Agent, including but not limited to: (i) operating statements for the Facility,
including without limitation, (A) a written profit and loss statement for the Facility setting forth,
among other things, each item of Gross Income from Operations, Facility Operating Expenses,
depreciation, Debt Service, and capital expense for the Facility during the immediately preceding
month, (B) a cash flow statement, (C) census, (D) a statement of the number of bed days
available and the actual patient days incurred for the year, together with yearly census
information of the Facility as of the end of such year in sufficient detail to show patient-mix (i.e.,
private, Medicare, Medicaid, and V.A.) on a daily average basis for such, (E) a detailed statement
showing the computation of each ratio and requirement that is the subject of a Financial
Covenant, (f) each item defined in Section 4.12 with respect to the operation of the Property; (ii)
financial statements of the Operator including (X) a balance sheet and a statement of income and
expenses for the period, (Y) (Z) a statement of changes in financial position; and (iv) such further
detailed information with respect to the operation of the Facility and the financial affairs of the
Operator of other operator of the Facility as may be reasonably requested by Agent. Within thirty
(30) days after the end of each calendar month, Bonower shall deliver to Agent operating
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 statements prepared internally for Operator and Facility (or any other party operating the Facility)
for such calendar month accurately reflecting income, expenses, and such other information
required to determine EDITDAR, as provided in Section _4.12 and such other information as
Agent may reasonably request. All such financial statements shall be manually signed and
certified as true and correct by Borrower and the chief financial officer of Operator as to the
quarterly and annual statements and by the chief financial officer of Operator as to the monthly
statements. The financial statements required to be submitted under this subsection need not be ·
audited financial statements provided the submitted financial statements shall otherwise be in a
:fom1 satisfactory to the Agent. In addition, within thirty (30) days of Agent's request, Borrower
shall deliver to Agent Medicare and Medicaid cost reports and/or a rent roll for the Property.

               (c)    T8;.x Returns. Within ten ( 10) days after the filing deadline, as may be
extended from time to time, copies of all federal tax returns of Borrower and Operator, together
with all supporting documentation and required schedules.

               (d)     Cost Reports. Within ten (10) days of filing or receipt, all Medicaid
and/or Medicare cost reports and any amendments thereto filed with respect to the Facility and all
responses, audit reports, or inquiries with respect to such cost reports.

               (e)     Sm:veys. Within the timeframes required by Section 4.11, copies of all
Facility License and/or Medicare and/or Medicaid certification survey reports and statements of
deficiencies with respect to the Facility (with plans of conection attached, thereto).

                (f)    Medicaid Rate Calculation Worksheet. Within twenty (20) days of
receipt, a copy of the "Medicaid Rate Calculation Worksheet" (or the equivalent thereof) from
the applicable agency.

                (g)     Licensing Noticys. Within the timeframes required by Sectj9Jl_±Jl, any
and all notices (regardless of form) from any and all Governmental Authorities that the Facility
License and/or the Medicare and/or Medicaid certification is being downgraded to a substandard
category, revoked, or suspended, or that action is pending or being considered to downgrade to a
substandard category, revoke, or suspend the Facility License or certification, and within ten (10)
days after receipt of any renewal of the Facility License.

                (h)     Medicare Default R<!_~. Within ten (10) days of receipt, a statement of the
munber of patient days for which the Facility has received the Medicare default rate for any
applicable period. For purposes herein, "default rate;' shall have the meaning ascribed to it in
that certain applicable Medicare rate notification letter prepared in connection with any review or
survey of the Facility.

               (i)     Other ReqiJJr~nents.

                      (i)     Agent reserves the right to require that the annual financial
statements of Borrower and Operator be audited and prepared by a nationally recognized
accounting firm or independent certified public accountant acceptable to Agent, at their
respective cost and expense, if: (A) an Event of Default exists; (B) required by HUD, internal
policy, or by any investor in any securities backed in whole or in part by the Loan or any rating
agency rating such securities; or (C) Agent has reasonable grounds to believe that the unaudited
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 financial statements do not accurately represent the financial condition of a Borrower or the
 Operator, as the case may be.

                      (ii)    Agent further reserves the right to require such other financial
information of a Borrower or Operator, in such form and at such other times (including monthly
or more frequently) as Agent shall deem necessary, and Borrower agrees promptly to provide or
to cause to be provided, such information to Agent. All financial statements must be in the form
and detail as Agent may from time to time reasonably request.

        4.7     ,ComQl.iancc Certificate. At the time of furnishing the monthly or quarterly
operating statements required under the foregoing section, Borrower shall furnish to Agent a
compliance certificate in the form attached hereto as Exhibit B executed by the chief financial
officer of the Borrower and the Operator, respectively.

        4.8    Books and Records; Borrower shall keep and maintain, or cause to be kept and
maintained, at all times at the Facility and upon Agent's request shall make available at the
Facility, complete and accurate books of account and records (including copies of supporting
bills and invoices) adequate to reflect correctly the results of the operation of the Facility, and
copies of all written contracts, leases, subleases (if any), and other instrnmcnts which affect the
Prope1ty, which books, records, contracts, leases, subleases (if any) and other instruments shall
be subject to examination and inspection at any reasonable time by Agent (upon reasonable
advance notice, which for such purposes only may be given orally, except in the case of an
emergency or following an Event of Default, in which case no advance notice shall be required);
provided, however, that if an Event of Default has occurred and is continuing, Borrower shall
deliver or cause to be delivered to Agent upon written demand all books, records, contracts,
leases and subleases (if any) and other instruments relating to the Facility or its operation, other
than such documents required by law to be maintained at the Facility and Borrower authorizes
Agent to obtain a credit report on Borrower at any time.

        4.9     .PayV1ent of I11deQted1wss. Borrower shall duly and punctually pay or cause to be
paid all other Indebtedness now owing or hereafter incurred by Borrower in accordance with the
terms of such Indebtedness, except such Indebtedness owing to those Persons other than Agent
and Lenders which is being contested in good faith and with respect to which any execution
against properties of Borrower has been effectively stayed and for which reserves and collateral
for the payment and security thereof have been established as determined by Agent in its sole
discretion.

        4.10 Conduct of Business. Bon·ower shall conduct, or cause Operator to conduct, the
operation of the Facility at all times in a manner consistent with the level of operation of the
Facility as of the date hereof, including without limitation, the following:

               (A)    to maintain the standard of care for the patients of the Facility at all times
at a level necessary to ensure quality care for the patients of the Facility in accordance with
customary and prudent industry standards;

               (B)    to operate the Facility in a prudent manner and in compliance with
applicable laws and regulations relating thereto and cause all Permits, Reimbursement Contracts,

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and any other agreements necessary for the use and operation of the Facility or as may be
necessary for participation in the Medicaid, Medicare, or other applicable reimbursement
programs to remain in effect without reduction in the number of licensed beds authorized for use
in the Medicaid, Medicare, or other applicable reimbursement programs;            ·

                 (C)    to maintain sufficient Inventory and Equipment of types and quantities at
the Facility to enable Operator to adequately perform operations of the Facility;

               (D)    to keep all Improvements and Equipment located on or used or useful in
connection with the Facility in good repair, working order and condition, reasonable wear and
tear excepted, and from time to time make all needed and proper repairs, renewals, replacements,
additions, and improvements thereto to keep the same in good operating condition;

                (E)    to maintain sufi'icient cash in the operating accounts of the Facility in
order to satisfy the working capital needs of the Facility;

               (F)    to keep all required Permits and insurance coverage current and in full
force and effect; and

                (G)    to correct any deficiency by the date required by the applicable Jicensure
and certification agency, if such deficiency could adversely affect either: (i) the right to continue
participation in Medicare and Medicaid for existing patients; or (ii) the right to admit new
Medicare and Medicaid patients; or (iii) the right to continue operating the Facility as a skilled
nursing facility.

        4.11 Periodic Survey§.. Borrower shall furnish or cause Operator to furnish to Agent
within three (3) days of receipt a copy of any Medicare, Medicaid, Facility License or other
Governmental Authority survey or report and any statement of deficiencies, and within three (3)
business days copies of any report or correspondence indicating that any action is pending or
being considered to impose remedies against the Facility_ or downgrade the Facility to a
substandard category, and within the time period required by the particular Governmental
Authority for furnishing a plan of correction also furnish or cause to be furnished to Agent a copy
of the plan of correction generated from such survey or report for the Facility, and correct or
cause to be corrected any deficiency, the curing of which is a condition of continued licensurc or
for full participation in Medicaid, Medicare or other reimbursement program pursuant to any
Reimbursement Contract for existing patients or for new patients to be admitted with Medicaid
or Medicare coverage, by the date required for cure by such agency (plus extensions granted by
such agency). ·

         4.12   Debt Service Coverage Ratio Requirements.

              (a)     As used in this Agreement, the following terms shall have the following
meanings unless the context hereof shall otherwise indicate:

                         (i)    "Debt Service" means, with respect to any particular period of time
and provided there is no Event of Default, scheduled principal and interest payments due under
the Note; ·and if there is an Event of Default, then Debt Service shall include scheduled principal
and interest payments due under the Note and all other outstanding Indebtedness of Bon-ower.
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                      (ii)   "DeQ.t Service Cov~rn~ Ratio" means the ratio for the applicable
period in which: the numerator is the Net Operating Income from the Rents tmder the Leases for
such period; and the denominator is the Debt Service due and payable for such period.

                        (iii)   "EBITDAR" means for any period Gross Income from Operations
for such period less all Facility Operating Expenses for such period.

                       (iv)     "Facility Operating Ex~nses" shall mean the total of .all
expenditures of whatever kind relating to the operation, maintenance and management of the
Property and the Facility that are incurred on a regular monthly or other periodic basis, including
without limitation, utilities, ordinary repairs and maintenance, insurance, license foes, taxes and
assessments, advertising expenses, management fees equal to 5% of Gross Income from
Operations, administrative service fees, professional fees, payroll and related taxes, computer
processing charges, operational, equipment or other lease payments as approved by Agent, and
other similar costs, but excluding depreciation, amortization, and rent paid pursuant to the Lease
Agreement (less any amounts for capital expenditures), all calculated on a monthly basis in
accordance with GAAP consistently applied.

                        (v) "Financial Covenants" means the obligation of Borrower to satisfy
the Minimum Debt Service Coverage Ratio and the Minimum EBITDAR requirements pursuant
to Section .:i. l 2(b).

                      (vi)    "GAAP" means, as in effect from time to time, generally accepted
accounting principles consistently applied as promulgated by the American Institute of Certified
Public Accow1tants.

                       (vii) "Gross Income from Operations" shall mean all income, computed
on an accrual basis in accordance with GAAP consiste11tly applied, derived for each full or partial
month during the term of the Loan from the operation of the Property and Facility in the
aggregate from whatever source, including, but not limited to, all patient or resident room
revenues, revenues for services provided to patients or residents, revenues from charges imposed
on patients or persons acting by or on behalf of patients or residents, or revenues received for
care or services to patients or residents, all food, beverage, and merchandise sales receipts, all
interest income, if any, rent, utility charges, escalations, forfeited security deposits, service foes
or charges, license fees, parking fees, professional fees, rent concessions or credits, and any
business interruption insurance proceeds but excluding sales, use and occupancy or other taxes
on receipts applicable to the Property required to be accounted for by an Operator to any
government or Governmental Authority, refunds and uncollectible accounts, sales of furniture,
fixtures and equipment, proceeds of casualty insurance and condemnation awards, and interest on
credit accounts.                          ·

                      (viii) "Minimum Debt Service Coyerage Ratiq" means a Debt Service
Coverage Ratio of not less than 1.10: 1.00 for the applicable period.

                       (ix) "Minimum EBI1])L\R" means: (1) on a cumulative annualized
trailing 6 month basis commencing on the first day of the ninth (9th) month after the date of this
Agreement, an amount equal to not less than $4,500,000 calculated monthly for the Property, (2)

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  on a cumulative annualized trailing 6 month basis commencing on the first day of the thirteenth
  (13th) month after the date of this Agreement, an amount equal to not less than $5,400,000
  calculated monthly for the Property, and (3) for the period commencing the first day of the
  sixteenth (16th) full calendar month after the date of this Agreement through the Maturity Date,
  an amount equal to not less than $6,300,000 calculated monthly on a trailing 12 month basis for
  the Property.

                        (x)     Intentionally Deleteq.

                        (xi)    "NeL Operating Income" shall mean Rents (less any of the
 following if paid by Borrower: Taxes, insurance premiums, reserves, ground rents, utility
 charges, deposits for taxes, insurance and other charges as provided in the Security Instrument or
 other expenses paid by Borrower).

                (b)     fim.mcial Covena;nts. Borrower covenants and agrees that for so long as
 the Loan or any part thereof is unpaid:

                        (i)    !}_orrower Performance.

                        (A)      Minimmn. Debt Service Coverage Ratio. Borrower shall in the
 aggregate achieve and maintain compliance with the Minimum Debt Service Coverage Ratio,
 tested monthly, as of the last day of each month on a trailing 12 month basis.

                        (B)   No Aqgitional Debt. Except for equipment leases as permitted
 under the Security Instrument, the Permitted Working Capital Financing (defined below) and the
 Permitted Subordinated Debt (defined below), Borrower shall have no outstanding Indebtedness,
 secured or unsecured, direct or contingent (including any guaranties), other than the Loan. No
 Indebtedness other than the Loan will be secUl'ed (senior, subordinate or pari passu) by the
 Property.

                        (C)    No Pledge of Ownership .lnteres1. The Stock or ownership
 interests of Borrower shall not be pledged for the benefit of any Person other than Lender.

                         (D)     Borrower will not, and will not permit any subsidiary to, directly
  or indirectly (i) declare, pay, make or set aside any amount for payment in respect of. the
  Permitted Subordinated Debt, except for payments made in. full compliance with and expressly
  permitted under the Subordination Agreement, (ii) amend or otherwise modify the tetms of any
  Permitted Subordinated Debt, except for amendments or modifications made in full compliance
  with the Subordination Agreement, or (iii) except as otherwise expressly permitted by the
  Subordination Agreement, amend or otherwise modify the terms of the Permitted Subordinated
  Debt if the effoct of such amendment or modification is to (A) increase the interest rate or fees
  on, or change the manner or timing of payment of, such Pennitted Subordinated Debt, (B)
. accelerate or shorten the dates upon which payments of principal or interest are due on, or the
  principal amount of (other than accruals of interest paid in kind), such Permitted Subordinated
  Debt, (C) change in a manner adverse to Agent or Lenders any event of default or add or make
  more restrictive any covenant with respect to such Permitted Subordinated Debt, (D) change the
  prepayment provisions of such Permitted Subordinated Debt or any of the defined terms related
  thereto, (E) change the subordination provisions thereof (or the subordination terms of any
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 guaranty thereof), or (F) change or amend any other term if such change or amendment would
 materially increase the obligations of the obligor or confer additional material rights on the
 holder of the Permitted Subordinated Debt in a manner adverse to Borrower, Agent or Lenders.
 Except as otherwise expressly permitted by the Subordination Agreement, Borrower shall, prior
 to entering into any such amendment or modification, deliver to Agent reasonably in advance of
 the execution thereof, any final or execution form copy thereof.

                       (ii)    h1tentionally Deleted.

                       (iii)   Operator Performance.

                  (A)    EBITDAR. The EBITDAR of the Operator shall not be less than
the Minimum EBITDAR, tested quarterly.




                 (a)   Borrower shall, and shall cause Operator to, (i) timely provide all financial
statements and other information requested by the HUD Lender, (ii) otherwise cooperate \Vith the
HUD Lender with respect to the HUD Financing and the application therefore in all respects, and
(iii) execute, acknowledge, certify and deliver all instruments of any kind or character reasonably
required for the HUD Financing application of the HUD Financing.

               (b)     Borrower shall pay or cause to be paid all fees, costs and expenses,
including Agent's and Lender's reasonable attorneys' foes incident to the HUD Financing
together with such fees payable to HUD Lender pursuant to the HUD Contract.

              (c)     Borrower shall and shall cause Operator to cooperate to accommodate the
requirements of the dosing process for the HUD Financing.

        4.15 1Jpdated Am;rraisals. For so long as the Loan remains outstanding, if any Event of
Default shall occur hereunder, or if, in Agent's reasonable business judgment, a material
depreciation in the value of the Property shall have occurred, or if required or desirable for the
HUD Financing, then in any such event, Agent, may cause the Property to be appraised by an
appraiser selected by Agent, and in accordance with Agent's appraisal guidelines and procedures
then in effect, and Borrower agrees to cooperate, and to cause Operator to cooperate, in all
respects with such appraisals and furnish to the appraisers all requested information regarding the
Property and the Facility. Borrower agrees to pay all reasonable costs incurred by Agent in
connection with such appraisal which costs shall be secured by the Security Instrument and shall
accrue interest at the Default Rate until paid.

        4.16 Com~ith Covenant_s anc.tl,aw~. Borrower shall comply and cause Operator to
comply, in all material respects, with all applicable covenants and restrictions of record and all
laws, ordinances, rules and regulations and keep, or cause to keep, the Facility and Property in
compliance with all applicable laws, ordinances, rules and regulations, including, without
limitation, the Americans with Disabilities Act and regulations promulgated thereunder, and
laws, ordinances, rules and regulations relating to zoning, health, building codes, setback
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requirements, Medicaid and Medicare laws and keep the Permits for the Facility in full force and
effoct.

        4. 17 Taxes anc!.. Other Cha~g~. Subject to Borrower's right to contest the same as set
forth in Section 9(d) of the Security Instrument, B01Tower shall pay or cause to be paid all Taxes,
assessments, charges, claims for labor, supplies, rent, and other obligations which, if unpaid,
might give rise to a Lien against property of Borrower, except Liens to the extent permitted by
this Agreement.

        4.18 ~om:qiitrn.~rrLLetter. Borrower shall provide or cause to be provided all items and
pay all amounts required by any commitment letter. If any term of a commitment letter shall
conflict with the terms of this Agreement, this Agreement shall govern and control. As to any
matter contained in a commitment letter, and as to which no mention is made in this Agreement
or the other Loan Documents, the commitment letter shall continue to be in effect and shall
survive the execution of this Agreement and all other Loan Documents.

        4.19 Certificat~. Within ten (10) days after Agent's written request, Borrower shall
furnish Agent with a certificate stating that Borrower has complied with and is in compliance
with all terms, covenants and conditions of the Loan Documents to which Borrower is a party
and that there exists no Default or Event of Default or, if such is not the case, that one or more
specified events have occurred, and that the representations and warranties contained herein are
true and correct with the same effect as though made on the date of such certificate.

        4.20 Notice of Fees or Peru1lties. Borrower shall immediately notify Agent, upon
Borrower's knowledge thereof, of the assessment by any state or any Medicare, Medicaid, health
or licensing agency of any fines or penalties against Borrower, Operator, or the Facility.

         4.21   Lease Agreement.

                (a)    Borrower shall maintain or cause to be maintained the Lease Agreement,
with terms expiring not earlier than five ( 5) years after the Closing Date, and an annual aggregate
triple net rent of no less than the sum of 1.10 times Debt Service, in full force and effect and
timely perform all of its obligations thereunder and not permit the termination or amendment of
the Lease Agreement unless the prior written consent of Agent is first obtained (which consent
will not be unreasonably withheld or delayed);                                                       ·

               (b)    In the event that proceedings are instituted to terminate the Facility
License or to terminate the Facility's Medicaid or Medicare certification, immediately Borrower
shall engage or cause Operator to engage oversight management services from a management
company reasonably acceptable to the Agent, subject to applicable regulatory approval, if
required; and

               (c)    In the event that bankruptcy or insolvency proceedings are instituted by or
against Operator, Borrower shall (to the extent permitted by the applicable bankruptcy court
having jurisdiction over such proceedings), upon written instruction received from Agent,
terminate the Lease Agreement with the Operator.

         4.22   Control Agreements. All payments due under the Loan shall be made by from an
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a<.:count maintained by the Borrower for such purpose in which the Borrower shall maintain
balances sufficient to pay the monthly payment due to Agent under the Loan Documents, in
addition to deposits for Taxes, insurance premiums, other deposits required pursuant to the
Security Instrument, and the Payment Reserves. Rents and other cash or income received by
Borrower from any source shall be deposited in the demand deposit account at the financial
institution (herein the "DepQsit Account") specified in the control agreement executed by
Borrower in connection with the Loan (the "Control Agreerpent"). Borrower warrants and
represents to Agent and Lenders that the Deposit Account is the only deposit account maintained
by Borrower. Borrower shall not, without Agent's prior written consent, close or sutler or permit
to be closed the Deposit Account or maintain any other deposit accounts. Borrower will grant fo
Agent and each Lender a first lien security interest in such Deposit Accounts as collateral for
repayment of the Loan.

       4.23 1,oan Closing Certifl9Jl.1ion. Immediately notify Agent in writing, in the event any
representation or warranty contained in this Agreement, the other Loan Documents or any
document delivered in connection with the Loan Documents; becomes untrue or there shall have
been any material adverse change in any such representation or warranty.

       4.24 Reguired Repairs. Borrower shall complete in a good and workmanlike manner
all Required Repairs to the Property described on ExhibiL!3._attached hereto on or before the
Completion Date set froth thereon.

         4.25 Management. The management of the Facility shall be by either Manager,
 Borrower or an Affiliate of Borrower approved by Agent, for so long as Manager, Borrower or
 said Affiliate is a professional management company or administrator approved by Agent and is
 not prohibited from providing any services to Borrower by, any Governmental Authority or
 applicable Laws. Such management arrangement shall be pursuant to a written Management
 Agreement approved by Agent. In no event shall any Manager be removed or replaced or any
 Management Agreement modified, amended, extended, tenninated, canceled or replaced without
 the prior written consent of Agent, which consent shall not be unreasonably withheld or delayed,
and without the written consent or approval if required by applicable law, regulation, or policy of
any Governmental Authority that has direct or indirect authority or oversight over the Borrower,
Operator or Facility, or the operations conducted at the Facility. In the event of (a) an Event of
 Default hereunder which results in an acceleration of the Loan and Agent or any Lender takes an
action toward foreclosure or implementation of similar remedies available under the laws of the
state in which the Property is located, or (b) a' change in control of the Manager (other than any
involuntary change in control caused by the death of any partner, shareholder, member, joint
venturer, or beneficial owner of a trust so long as Manager is reconstituted, if required, following
such death, and those persons responsible for the management of the Facility remain unchanged
as a result of such death), or (c) the Manager becomes insolvent or the debtor in any bankruptcy
or insolvency proceeding, Agent shall have the right to terminate, or to direct Borrower to
tenninate or cause Operator to terminate, such Management Agreement upon 30 days' notice and
to retain, or cause Operator to retain, or to direct Borrower to retain, a new Manager approved by
Agent.



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                                       ARTICLE V
                            NEGATIVE COVENANTS OF BORROWER

          Until the Loan Obligations have been paid in full, Borrower shall not:

          5.1    Assignment of Licenses and Permits. Assign or transfer any of its interest in any
Permits (including Facility Licenses), Cc1iiftcatcs of Need (if required) or Reimbursement
Contracts (including rights to payment thereunder) pertaining to the Facility, or assign, transfer,
or remove or permit any other person to assign, transfer, or remove any records pertaining to the
Facility including, without limitation, patient records, medical and clinical records (except for
removal of such patient records as directed by the patients owning such records), without Agent's
prior 'A<Titten consent, which consent may be granted or refused for any reason or for no reason
whatsoever in Agent's sole and absolute discretion.

        5 .2   :N_9_1,ien~~xce:gtio:n_$.. Create, incur, assume or suffer to exist any Lien upon or
with respect to the Property and Improvements or any of its properties, rights, income or other
assets relating thereto, including, without limitation, the Collateral, whether now owned or
hereafter acquired, other than the following permitted Liens ("Permitt~d Encumbran_ces"):

                 (a)    Liens at any time existing in favor of the Agent and Lenders;

                 (b)    Liens which are listed in Exhibit F attached hereto;

                 (c)    Inchoate Liens arising by operation of law for the purchase of labor,
services, materials, equipment or supplies, provided payment shall not be delinquent and, if such
Lien is a lien upon any of the Property or lmp1~ovements, such Lien must be fully disclosed to
Agent and bonded off and removed from the Property and Improvements, within thirty (30) days
of its creation, in a manner satisfactory to Agent;

                (d)    Liens incurred in the ordinary course of business in connection with
workers' compensation, unemployment insurance or other forms of governmental insurance or
benefits, or to secure performance of tenders, statutory obligations, leases and contracts (other
than for money borrowed or for credit received with respect to property acquired) entered into in
the ordinary course of business as presently conducted or to secure obligations for surety or
appeal bonds; and

               (e)   Liens for current year's Taxes, assessments or governmental charges or
levies provided payment thereof shall not be delinquent; and

               (f)     Except as may otherwise be set forth in the AR Intercreditor Agreement,
liens upon the Operator's accounts securing working capital financing approved by Lender which
do not cause Operator to fail to meet the Operator Performance covenants set forth in Section
4.12 above and which are subject to Lender's prior written consent and to the provider thereof
entering into an intercreditor agreement acceptable to Lender (the "Permitted Working Capital
Financing").

       5.3    Merger, Consolidation_,_Etc. Except as otherwise provided in the Security
Instrument, consummate or suffer or permit Operator to consummate any merger, consolidation
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or similar transaction, or sell, assign, lease or otherwise dispose of substantially all of its assets
(whether now or hereafter acquired), without the prior written consent of the Agent, which
consent may be granted or refused in Agent's sole discretion.

          5.4   Maintain Single-Purpose Entity      Statu~.

                (a)     Dissolve or tem1inate or materially amend the terms of its certificate of
incorporation, articles of organization, operating agreement or partnership agreement or by-laws,
as applicable, the terms of which require Borrower and Operator to be a Single-Purpose Entity;

                 (b)    at any time own any encumbered asset other than (i) the Property, and
(ii) incidental personal property necessary for the operation of the Property;

             (c)   at any time be engaged directly or indirectly, in any business other than the
ownership, management and operation of the Property;

               (d)     incur, create or assume any Indebtedness, secured or unsecured, direct or
contingent (including guaranteeing any obligation), other than (i) the Loan, (ii) Permitted
Working Capital Financing, and (iii) Indebtedness which represents trade payables or accrued
expenses incurred in the ordinary course of business of owning and operating the Property; none
of which shall be secured (senior, subordinate or pari passu) by the Property;

                (e)     become insolvent or fail to pay its debts from its assets as the same shall
become due;

               (f)     fail to do all things necessary to preserve its existence as a Single-Purpose
Entity, and will not, nor will any partner, limited or general, member or shareholder thereof,
an1end, modify or otherwise change its partnership certificate, partnership agreement, articles of
organization, operating agreement, articles of incorporation or by-laws in a manner which
adversely affects the Borrower's existence as a Single-Purpose Entity;

                 (g)     fail to maintain books and records and bank accounts separate from those
of its A1111iates, including its members, general partners or shtU"eholders, as applicable;

               (h)     fail to at all times hold itself out to the public as a legal entity separate and
distinct from any other entity (including any Affiliate thereof, including the general partner or
any member or shareholder of the Borrower or any Affiliate of the general partner or any member
or shareholder of the Borrower, as applicable);

                (i)     fail to file its own tax returns; or

               (j)     fail to maintain its assets in such a manner that it is not costly or difficult
to segregate, ascertain or identify its individual assets from those of any Affiliate or any other
Person.

        5.5   Change of Business. Make any material change in the nature of its business as it
is being conducted as of the date hereof.


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       5.6    Change_[.llL~9.@Untj.ng. Change its methods of accounting, unless such change is
permitted by GAAP, and provided such chtmge does not have the effect of curing or preventing
what would otherwise be an Event of Default or Default had such change not taken place.

        5. 7   ERISA Funding and T~rmina.!lon. In the event that Borrower becomes the
licensed operator of the Facility, permit (a) the funding requirements of ERISA with respect to
any employee plan to be less than the minimum required by ERISA at any time, or (b) any
employee plan to be subject to involuntary termination proceedings at any time.

        5.8    Transactions with Affiliate~. Enter into any transaction with a Person which is an
Affiliate of Bmwwer other than in the ordinary course of its business and on fair and reasonable
terms no less favorable to Borrower, than those they could obtain in a comparable arms-length
transaction with a· Person not an Affiliate, provided that the Management Agreement is permitted
hereunder.

        5.9     Ti:.ansfer of Property or ~-zy._Qwnership Interests. Borrower shall not: (a) permit
or suffer the Transfer of any of the Stock or ownership interests of an Operator or Borrower or
(b) permit or suffer any other Transfer. Notwithstanding any other provision of this Section 5. 9
to the contrary and subject to Patriot Act· compliance, Transfers of partnership interests,
membership interests or corporate shares in Borrower, Operator or any Person holding an interest
in Borrower or Operator between or among pai1ners, members or shareholders existing as such
on the date hereot~ or Transfers of such interests to immediate family members of existing
partners, members or shareholders or to trusts fbr estate planning purposes for the benefit of
existing partners, members or shareholders or members of the transferor's immediate family shall
be permitted with Lender's consent, which will not be unreasonably withheld and without an
assumption fee or review fee, provided that (i) no Event of Default shall have occurred and be
continuing, (ii) in no event shall Borrowe·r, Operator and any Person holding an interest in
Borrower or Operator who is a Single-Purpose Entity cease to be a Single-Purpose Entity, (iii) no
such Transfer results in a change of control of Borrower or Operator, and (iv) shall pay on
demand all expenses (including, without limitation, reasonable attorney's fees and
disbursements, title search costs and title insmance endorsement premiums) incurred by Lender
in connec.tion with the review, approval and documentation.

        5.10 ~hange of Use. Alter or change the use of the Facility or permit the termination
or amendment of any management agreement for the Facility or enter into any Lease for the
Facility, unless Borrower first notifies Agent and provides Agent a copy of the proposed lease
agreement or management agreement, obtains Agent's written consent thereto, which consent
may be withheld for any reason or for no reason whatsoever in Agent's sole and absolute
discretion, and obtains and provides Agent with a subordination agreement in form satisfactory
to Agent, as determined by Agent in its sole discretion, from such Manager or Operator
subordinating to all rights of Agent.

        5.11 Place of Business. Change its chief executive office or its principal place of
business without first giving Agent at least thirty (30) days prior written notice thereof and
promptly providing Agent such information and amendatory financing statements as Agent may
request in connection therewith.

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       5.12 Ag,ill!isitions. Directly or indirectly, purchase, lease, manage, own, operate, or
otherwise acquire any property or other assets (or any interest therein) which are not used in
connection with the operation of the Property and Improvements.

        5.13 J)ividends, Distributions and Redemption~. As long as any Event of Default
exists, or if any Event of Default would result from a distribution, Borrower shall not, nor shall
Borrower suffer or permit an Operator to, declare or pay any distributions to its shareholders,
members or partners, as applicable, or purchase, redeem, retire, or otherwise acquire for value,
any Stock or O\Vnership interests in Borrower or Operator now or hereafter outstanding, return
any capital to its shareholders, members or partners as applicable, or make any distribution of
assets to its shareholders, members or partners, as applicable.

                                      ARTICLE VI
                                ENVIRONMENTAL HAZARDS

        6.1    Prghibited Activities and Conditions. Borrower shall not cause or permit, or
suffer or permit an Operator to cause, permit or suffer, any of the following:

               (a)     The presence, use, generation, release, treatment, processing, storage
(including storage in above ground and underground storage tanks), handling, or disposal of any
Hazardous Materials in, on, under, at or from the Property or any Improvements;

               (b)     The transportation of any Hazardous Materials to, from, or across the
Property,

               (c)     Any occurrence or condition on the Property or in the Improvements or
any other property of Borrower that is adjacent to the.Property, which occurrence or condition is
or may be in violation of Hazardous Materials Laws; or

                (d)    Any violation of or noncompliance with the terms of any Environmental
Permit with respect to the Property, the Improvements or any property of Bonower that is
adjacent to the Property.

                The matters described in clauses (a) through (d) above are reforred to collectively
in this Article VI as "Prohibited Activities and Conditions" and individually as a ".Prohibited
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        6.2    Exclusion.§.. Notwithstanding any other provlSlon of this Article VI to the
contrary, "Prohibited Activities and Conditions" shall not include the safe and lawful use and
storage of quantities of: (a) pre-packaged supplies, medical· waste, cleaning materials and
petroleum products customarily used in the operation and maintenance of comparable facilities;
(b) cleaning materials, personal grooming items and other items sold in pre~packagcd containers
for consumer use and used by occupants of the Facility; and ( c) petroleum products used in the
operation and maintenance of motor vehicles from time to time located on the Property's parking
areas or used to maintain or repair the Property or Improvements, so long as all of the foregoing
are used, stored, handled, transported and disposed of in compliance ·with Hazardous Materials
Laws.

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        6.3     Preventive Actipn. Borrower shall take all appropriate steps (including the
inclusion of appropriate provisions in any Leases approved by Agent which are executed after the
date of this Agreement) to prevent its employees, agents, contractors, tenants and occupants of
the Facility from causing or permitting any Prohibited Activities and Conditions.

     . 6.4     O&M P..rogram CQ!npliance. Borrower shall implement and comply with the
O&M Program, as applicable, in a timely manner, and cause all employees, agents, and
contractors of Borrower and any other persons present on the Property to comply with the O&M
Program. All costs of performance of Borrower's obligations under any O&M Program shall be
paid by Borrower, and Agent and Lenders' out-of-pocket costs incurred in connection with the
monitoring and review of the O&M Program and Borrower's performance shall be paid by
Bonower upon demand by Agent. Any such out-of-pocket costs of Agent and Lenders which
Borrower fails to pay promptly shall become an additional part of the Loan Obligations.

      6.5     Borrower's Enviroi:imental Representations     ~nd Wanantie~.    Borrower represents
and wanants to Agent and Lenders that:

              (a)      Borrower has not at any time caused or permitted any Prohibited Activities
and Conditions;

               (b)     To the best of Borrower's knowledge after reasonable and diligent inquiry,
no Prohibited Activities and Conditions exist or have existed;

               (c)      Borrower has complied with all Hazardous Materials Laws, including all
requirements for notification regarding releases of Hazardous Materials. Without limiting the
generality of the foregoing, Borrower has obtained all Environmental Permits required for the
operation of the Facility, Property and the Improvements in accordance with Hazardous Materials
Laws now in effect and all such Environmental Permits are in full force and effect. To the best
of Borrower's knowledge after reasonable and diligent inquiry, no event has occurred or
condition exists with respect to the Facility, Property and/or Improvements that constitutes, or
with the passing of time or the giving of notice would constitute, noncompliance with any
Hazardous Materials Law or the terms of any Environmental Pennit;

                 (d)     There are no actions, suits, claims or proceedings pending, or to
Borrower's knowledge, threatened that involves the Facility, Property and/or the Improvements
or allege, arise out of: or relate to any Prohibited Activity, and Condition;

               (e)     Borrower has not received any complaint, order, notice of violation or
other communication from any Govern.mental Authority with regard to air emissions, water
discharges, noise emissions or Hazardous Materials, or any other environmental, health or safety
matters affecting the Facility, Property, the Improvements or any other property of Borrower that
is adjacent to the Property. The representations and warranties in this Article VI shall be
continuing representations and warranties that shall be deemed to be made by Borrower
throughout the term of the Loan evidenced by the Note, and shall survive until and after the Loan
Obligations have been paid in full.

        6.6     Nq_ti£.e of Cert~jn Event§.. Borrower shall promptly notify Agent in writing of any
and all of the following that may occur:
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                   (a)    Borrower's or Operator's discovery of any Prohibited Activity and
 Condition;

                (b)    Bon·ower's or Operator's receipt of or knowledge of any complaint, order,
 notice of violation or other communication from any Governmental Authority or other person
 with regard to present, or future alleged violations of Hazardous Materials Law, Prohibited
 Activities and Conditions or any other environmental, health or safety matters affecting the
 Property, the Improvements or any other property of Borrower that is adjacent to the Property; or

              (c)    Any representation or warranty in this Article Vl or the Environmental
 Indemnity Agreement which becomes untrue at any time after the date of this Agreement.

                 Any such notice given by Borrower shall not relieve Borrower or any other Person
 of~ or result in a waiver of, any obligation under this Agreement, the Note, or any of the other
 Loan Documents.

        6.7     Cost[i)f InspectiQn. Borrower shall pay promptly the costs of any environmental
inspections, tests or audits required by Agent in connection with any foreclosure or deed in lieu
of foreclosure, or, if required by Agent, as a condition of Agent's consent to any "Transfer", or
required by Agent following a reasonable determination by Agent that Prohibited Activities and
Conditions may exist. Any such costs incurred by Agent and Lenders (including the reasonable
fees and out-of-pocket costs of attorneys and technical consultants whether incurred in
co1mection with any judicial or administrative process or otherwise) which Borrower fails to pay
promptly shall become an additional part of the Loan Obligations.

        6.8    J~.IDed..iaLWork. If any investigation, site monitoring, containment, clean-up,
restoration or other remedial work ("Remedial Work") is necessary to comply with any
Hazardous Materials Law or order of any Governmental Authority that has or acquires
jurisdiction ove.r the Property, the Improvements or the use, operation or improvement of the
Property under any Hazardous Materials Law, Borrower shall, by the earlier of (a) the applicable
deadline required by Hazardous Materials Law or (b) thirty (30) days after notice from Agent
demanding such action, begin performing the Remedial Work, and thereafter diligently prosecute
it to completion, and shall in any event complete such work by the time required by applicable
Hazardous Materials Law. If Borrower fails to begin on a timely basis or diligently prosecute
any required Remedial Work, Agent may, at its option, cause the Remedial Work to be
completed, in which case Borrower shall reimburse Agent and Lenders on demand for the cost of
doing so. Any reimbursement due from Borrower to Agent and Lenders shall become pait of the
Loan Obligations and shall assume interest the Default Rate.

        6.9    Cooperation _with Go\'.:~rnmental Authorities. Borrower shall cooperate with any
inquiry by any Governmental Authority and shall comply with any governmental or judicial order
which arises from any Hazardous Materials Law or any alleged Prohibited Activity and
Condition.

            6.10   Indemnity.

                (a)    Borrower shall hold harmless, defond and indemnify: (i) Agent, (ii)
Lender; (iii) any prior owner or holder of the Note; (iv) the officers, directors, partners, agents,
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shareholders, employees and trustees of any of the foregoing; and (iv) the heirs, legal
representatives, successors and assigns of each of the foregoing (together, the "Indemnitees")
against all proceedings, claims, damages, losses, liabilities, expenses, penalties and costs
(whether initiated or sought by tmy Governmental Authority or private parties), including fees
and expenses of attorneys, expert witnesses and Remedial Work, whether incurred in connection
with any judicial or administrative process or otherwise, arising directly or indirectly from any of
the following:

                       (A)   Any breach of any representation or waITanty of Borrower in this
Article VI or the Environmental Indemnity Agreement;

                        (B)   Any failure by Borrower to perform any of their obligations under
this Article VI or the Environmental Indemnity Agreement;

                       (C)    The existence or alleged existence of any Prohibited Activity and
Condition;

                     (D)     The presence or alleged presence of Hazardous Materials in, on,
around or under the Property, the Improvements or any property of Borrower that is adjacent to
the Prope11y; or

                       (E)    Compliance with or actual or alleged violation of any Hazardous
Materials Law.

                (b)     Counsel selected by Bonower to defend lnd_emnitees shall be subject to
the reasonable approval of those Indcmnitees, which approval shall not be unreasonably
withheld, delayed or conditioned. Notwithstanding anything contained herein, any Indemnitcc
may elect to defend any claim or legal or administrative proceeding at the Borrower's expense if
such Indemnitee has reason to believe that its interests arc not being adequately represented or
diverge from other interests being represented by such counsel (but Borrower shall be obligated
to bear the expense of at most only one such separate counsel). Nothing contained herein shall
prevent an Indemnitee from employing separate counsel in any such action at any time and
participating in the defense thereof at its own expense.

                 (c)   Borrower shall not, without the prior written consent of those Indemnitees
who are named as parties to a claim or legal or administrative proceeding (a "Claim") settle or
compromise the Claim if the settlement (i) results in the entry of any judgment that does not
include as an unconditional term the delivery by the claimant or plaintiff to Agent and each
Lender of a written release of those Indemnitees, satisfactory in form and substance to Agent; or
(ii) may materially and adversely affect any Indemnitee, as determined by such Indemnitee in its
sole discretion.

               (d)     The liability of Borrower to indemnify the Indemnitees shall not be limited
or impaired by any of the following, or by any failure of Borrower to receive notice of or
consideration for any of the following:

                      (i)     Any amendment or modification of any Loan Document;

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                       (ii)    Any extensions of time for performance required by any of the
Loan Documents;

                    (iii)   The accuracy or inaccuracy of any representations and warranties
made by BotTower under this Agreement or any other Loan Document;

                    (iv)   The release of Borrower or any other Person, by Agent or any
Lender or by operation of law, from performance of any obligation under any of the Loan
Documents;

                       (v)     The release or substitution in whole or in part of any security for
the Loan Obligations; and

                        (vi)   Agent's or any Lender's failure to properly perfoct any lien or
security interest given as security for the Loan Obligations.

               (e)     Borrower shall, at its own cost and expense, do all of the following:

                     (i)    Pay or satisfy any judgment or decree that may be entered against
any lndemnitee or Indemnitees in any legal or administrative proceeding incident to any matters
against which Indemnitces are entitled to be indemnified under this Article VI or the
Environmental Indemnity Agreement;

                       (ii)  Reimburse Indemnitees for any expenses paid or incuned in
connection with any matters against which Indemnitees are entitled to be indemnified under this
Article VI or the Environmental Indemnity Agreement; and

                       (iii)  Reimburse lndemnitees for any and all expenses, including
reasonable fees and costs of attorneys and expert witnesses, paid or incurred in connection with
the enforcement by lndemnitees of their rights under this Article VI or the Environmental
Indemnity Agreement, or in monitoring and participating in any legal or administrative
proceeding.

               (f)     In any circumstances in which the indemnity under this Article VI applies,
Agent and each Lender may, if it deems it reasonable necessary, employ its own separate legal
counsel and consultants to prosecute, defond or negotiate any Claim or legal or administrative
proceeding and Agent and each Lender, with the prior written consent of Borrower (which shall
not be unreasonably withheld, delayed or conditioned) may settle or compromise any Claim or
legal or administrative proceeding. Borrower shall reimburse Lender upon demand for all costs
and expenses incurred by Agent and each Lender, including all costs of settlements entered into
in good faith, and the reasonable fees and out of pocket expenses of such attorneys and
consultants.

               (g)     The provisions of this Article VI shall be in addition to any and all other
obligations and liabilities that Borrower may have under the applicable law or under the other
Loan Documents, and each Indemnitee shall be entitled to indemnification under this Article VI
without regard to whether Agent, Lender or that Indemnitee has exercised any rights against the
Property and/or any Improvements or any other security, pursued any rights against any
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lndemnitee, or pursued any other rights available under the Loan Documents or applicable law.
If Borrower consists of more than one person or entity, the obligation of those persons or entities
to indemnify the Indemnitees under this Article VI shall be joint and several. The obligations of
Borrower to indemnify the lndemnitees under this Article VI shall survive any repayment or
discharge of the .Loan Obligations, any foreclosure proceeding, any foreclosure sale, any delivery
of any deed in lieu of foreclosure, and any release of record of the lien of the Security Instrument.

                                        ARTICLE VII
                                     PAYMENT RESERVES

       7. l   Establishm.§.nt of Payme1)t Reserves. Borrower understands and agrees that,
notwithstanding the establishment of the Payment Reserves as herein required, all of the
proceeds of the Loan have been, and shall be considered, fully disbursed and shall bear interest
and be payable on the terms provided in the Loan Documents.

         7 .2   .Requin.~Q_F.epair Reserve . Borrower shall perform or cause Operator to perform
all of the repairs or replacements to the Property as more particularly set forth on Exhibit E (the
"Regl!ired R~airs"). The Required Repairs shall be completed in a good and workmanlike
manner on or before the "completion date" if any, set forth on Exhibit E for the particular item of
the Required Repairs. On the Closing Date, Borrower shall deposit with Agent the amount set
forth on Exhibit E to perform the Required Repairs. Amounts so deposited with Agent are
referred to as the ''Required Rep~jr Reserve". If the Required Repairs are not completed when
and as provided under this Agreement, or upon the occurrence of an Event of Default, Agent at
its option, in addition all other rights and remedies of Agent under this Agreement or other Loan
Documents, may withdraw all funds in the Required Repair Reserve and apply such funds either
to completion of the Required Repairs or towards payment of the Loan Obligations in such order,
propoition and priority as Agent may determine in its sole discretion.

        7.3      Replacement Reser_ve. Borrower shall pay to Agent, for the benefit of the
Lenders, on the first day of each month, one-twelfth of the annual amount per bed set forth on
Exhibit G (the "Replacement Reserve Monthly Deposit"), which is the amount estimated by
Agent in its sole discretion to be due for replacements and repairs required to be made to the
Property. Amounts so deposited are referred to as the "Replacement R~serve". Agent may
reassess its estimate of the amount necessary for the Replacement Reserve from time to time and
increase the monthly amounts required to be deposited into Replacement Reserve upon thirty
(30) days written notice to Borrower if Agent determines in its reasonable discretion that an
increase is necessary to maintain the proper maintenance and operation of the Property.

         7.4   Disbursements from the Required Repair Reserve and the Replacement Reserve.

                (a)    So long as no Default or Event of Default exists and except as may be
otherwise provided in this Agreement or other Loan Documents, Agent shall, to the extent funds
are available in the Required Repair Reserve make disbursements to the Property from the
Required Repair Reserve to or for the benefit of the Borrower to reimburse the Borrower for the
Required Repairs and, make disbursements from the Replacement Reserve upon Borrower's
written request, as provided in Section 7.4(b)(ii2 below.


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              (b)    Agent shall have no obligation to disburse any amount from the Required
 Repair Reserve or the Replacement Reserve unless the following additional conditions are
 satisfied:

                      (i)    Agent receives a written request from Borrower for the applicable
 disbursement from the Required Repair Reserve or the Replacement Reserve and a certification
 by Borrower in a form acceptable to Agent that the applicable item of repair and/or replacement
 has been completed;

                       (ii)  The delivery to Agent by Borrower of invoices, receipts, or other
evidence satisfactory to Agent verifying the cost of performing the repair, the replacement, or
completing the applicable work, or otherwise evidencing the obligation to be paid;

                       (iii)  To the extent applicable, the delivery to Agent of affidavits, lien
waivers, and other evidence reasonably satisfactory to Agent showing that all materialmen,
laborers, subcontractors, and any other parties who might or could claim statutory or common
law liens and are furnishing or have furnished labor, material, or equipment to the Property have
been paid all amounts due for labor, materials or equipment furnished to said Property; and

                    (iv)    Such other terms and conditions as may be provided in this
Agreement or which are reasonably required by Agent.

      7.5     HUD Fee Reserv~. On the Closing Date, Agent shall fund for each Property the
amount of the HUD Fee Reserve set forth on Exhibit G for the cost of the application foe for the
HUD Refinancing (the "HUD Fee Rese1~y~").

       7.6    HUD Financing Cost ReS9IY.S:· On the Closing Date, Agent shall fund for each
Property the amount of the HUD Financing Cost Reserve set forth on Exhibit G for pre-paid
HUD fees to third parties, closing costs, and other fees and expenses of third parties relating to
the HUD Financing (collectively, the "HUD l"inancing Cost Reserve").

          7.7   Disposition of the HUD Fee and the HUD Financing Cost Reserves.

              (a)    Agent will disburse the HUD Fee Reserve and the HUD Financing Cost
Reserves in accordance with the HUD Contract when and as required for the purposes of the
HUD Financing as determined by Agent.

               (b)   Prior to submission of applications with respect to the HUD Financing, a
portion of the HUD Financing Cost Reserve and HUD Fee Reserve (collectively, the "HUD
Expenses") equal to two percent (2%) of the HUD Financing shall be non-refundable to
Borrower, and following submission of applications with respect to the HUD Financing, no part
of the HUD Expenses shall be refi.mdable to Borrower; provided however, in the event that: (A)
the HUD Lender is unable to deliver a commitment for the ·HUD Financing to Borrower
consistent with the HUD Contract or as otherwise provided in this Agreement, (B) there is no
Event of Default under this Agreement nor under any of the Loan Documents, (C) Borrower,
Operator and Manager timely provide all financial statements and other information requested by
the HUD Lender and otherwise cooperate with HUD and the HUD Lender with respect to the
HUD Financing in all respects, (D) there is no material negative or adverse change in the
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financial condition of Borrower, Operator or Manager. and (E) there is no lien, pending or
threatened litigation or other event effecting any Property or the Borrower or the Operator or
Manager, which causes the Property, Borrower, Operator, Manager, or the Facility not to be
eligible for a HUD Financing, then and in that event, the HUD Expenses, to the extent not
disbursed as set forth in Section 7.7(a) above, shall be credited against the outstanding balance of
the Loan.

             7.8   Cash Collateral Reserve.

               (a)     On the Closing Date, if applicable, Borrower shall deposit with Lender for
each Property, for the purpose of establishing a Cash Collateral Reserve for purposes of the
payment of the Debt and satisfaction of the Loan Obligations, the amount set forth on ll;:c]ljbit G
for the Cash Collateral Reserve (the "Cash Collateral Reserve").

               (b)     The Cash Collateral Reserve shall be disbursed by the Lender and applied
to the Debt and other Loan Obligations as determined by Lender during the Term of the Loan.
Upon payment of the Debt and satisfaction of all other Loan Obligations of Borrower under the
Loan Documents, to the extent not disbursed, the Cash Collateral Reserve, including any interest
earned thereon, shall be refunded to Borrower.

            7.9    Security Interest in Payment Reserves.

                 (a)     Agent or its assignee may either hold the Payment Reserves in a separate
account or accounts at CFG Community Bank or another depository institution or trust comptmy
determined by Agent in its sole discretion. Borrower shall not be entitled to interest on any part
of the Payment Reserves. As additional security for the payment ~nd performance by Bmrnwer
of the Loan Obligations, Borrower hereby unconditionally and irrevocably assigns, conveys,
pledges, mortgages, transfers, delivers,· deposits, sets over and confirms unto Agent, and hereby
grants to Agent and Lenders, a security interest in (A) the Payment Reserves, (B) the depository
or other accounts into which the Payment Reserves have been deposited, (C) all insurance on
said accounts, (C) all accounts, contract rights, and general intangibles or other rights and
interests pertaining thereto, (E) all sums now or hereinafter therein or represented thereby, (F) all
replacements, substitutions or proceeds thereof, (G) all instruments and documents, now or
hereafter evidencing the Payment Reserves or such accounts, (H) all powers, options, rights,
privileges, imd immunities pertaining to the Payment Reserves (including the right to make
withdrawals therefrom), and (I) all proceeds of the foregoing. Borrower hereby expressly
authorizes and consents to the accounts into which the Payment Reserves have been deposited
being held in Agent's name or the name of any entity servicing the Note for Agent, and hereby
acknowledges and agrees that Agent, or at Agent's election, such servicing agent, shall have
exclusive control over said accounts. Notice of the assignment and security interest granted to
Agent and Lenders herein may be delivered by Agent at any time to the financial institution
wherein the Payment Reserves have been established, and Agent, or such servicing entity, shall
have possession of all passbooks or other evidences of such accounts. Borrower hereby assumes
all risk of loss with respect to amounts on deposit in the Payment Reserves.

               (b)    Upon an Event of Default, Agent may, but shall not be obligated to, apply
at any time the balance then remaining in the Payment Reserves against the Loan Obligations in
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whatever order Agent shall determine in Agent's sole and absolute discretion. To the extent
Agent withdraws any fonds from the Payment Reserves as a result of Borrower's Default,
Borrower shall replenish the Payment Reserves within fourteen (14) days of Agent's demand.
No such application of the Payment Reserves by Agent shall be deemed to cure any Default or
Event of Default hereunder, and any such application shall not limit Borrower's obligation to
deposit any deficiency of which Agent gives notice. Upon foll payment and perfonnance of the
Loan Obligations and iri accordance with its terms or at such earlier time as Agent may elect, the
balance of the Payment Reserves then in Agent's possession shall be paid over to Borrower and
no other party shall have any right or claim thereto.

                (c)    Borrower hereby knowingly, voluntarily, and intentionally stipulates,
acknowledges and agrees that the advancement of the funds from the Payment Reserves as set
forth herein is at Borrower's direction and is not the exercise by Agent of any right of set off or
other remedy upon an Event of Default. Borrower hereby waives all right to withdraw fonds
from the Payment Reserves, and all rights to receive disbursements from the Payment Reserves
except in compliance with the Loan Documents.

                (d)     Upon an Event of Default, Agent may, without notice or demand (it being
expressly agreed by Borrower that Borrower is waiving any notice of acceleration and intent to
accelerate) on BotTower, at its option (A) withdraw any and all funds (including, without
limitation, interest) then remaining in the Payment Reserves and apply the san1e, after deducting
all reasonable costs and expenses of safekeeping, collection, and delivery (including, but not
limited to, attorneys' fees, costs, and expenses) to the Loan Obligations in such manner as Agent
shall detennine in its sole and absolute discretion, (B) exercise any and all rights and remedies of
a secured party under the applicable Uniform Commercial Code, and/or (C) exercise any other
remedies available at law or in equity.

The exercise of any or all of Agent's right to initiate and complete a judicial or non-judicial
foreclosure under the Security Instrument shall not preclude its.exercise of its rights under this
ARTICLE VU.

                                       ARTICLE VIII
                             EVENTS OF DEFAULT AND REMEDIES

        8.1    Events of Default. The occurrence of any one or more of the following shall
constitute an "Event of Default" hereunder:

              (a)     Borrower's failure to pay the entire amount of the Debt and other Loan
Obligations on or before the Maturity Date; or

                (b)   Borrower's failure to pay on or before the sixth (6111) day of the month, for
credit to the Loan, any regularly scheduled monthly installment of principal or interest (other'
than the amount payable on the Maturity Date) that is payable on the first (1st) day of the month
pursuant to this Agreement or any Loan Document; or

              (c)     The failure to pay when due, any Taxes, insurance premiums or payment
of money (other than as provided in SectiQ..t}_~J.lit.2 or .{_Q)) required by the Note, this Agreement, a

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Security Instrument, or any of the other Loan Documents or owed to the Agent or any Lender by
Bonower; or

                (d)    Dissolution or a change in composition of any Borrower (including
without limitation the sale or transfer of any ownership interest in any Borrower, or any Transfer
not expressly permitted in the this Agreement, the Security Instrument or any of the other Loan
Documents, or any failure to furnish to Agent financial statements and other information required
by Sec_iion 4.6 when due; or

                    (e)     The failure of Borrower to perform or keep or abide by any term, covenant
or term, covenant or condition of any of the Loan Documents (other than as set forth in Section
_8,J..(fil, (hl, {£) or ilD ), which can be cured with the payment of money, within seven (7) days
after notice from Agent; or

                (1)    The failure of Borrower to perform or keep or abide by any term, covenant
or term, covenant or condition of any of the Loan Documents (other than as set forth in Section
U(fil, (q}, .(9} or @), that cannot be cured with the payment of money (but is otherwise
susceptible of curing), within fifteen (15) days after notice from Agent, provided that if such
failure cannot reasonably be cured within such fifteen (15) day period and Borrower shall have
commenced to cure within such fifteen (15) day period and thereafter diligently and
expeditiously proceeds to cure the same, such fifteen (15) day period shall be extended for so
long as it shall require Borrower in the exercise of due diligence to cure such failure, it being
agreed that no such extension shall be for a period in excess of sixty (60) days; or

                (g) ·   the filing of a bankruptcy proceeding, assignment for the benefit of
creditors, issuance of a judgment in excess of $100,000.00 hereafter awarded against any
Borrower by any court of competent jurisdiction that remains unsatisfied or otherwise in force
and effect for a period of thirty (30) days after the date of such award and the enforcement of said
judgment against the assets of any Borrower has not been stayed by an order of a court of
competent jurisdiction, execution, garnishment, or levy against, or the appointment of a
representative of any kind for the commencement of any proceeding for relief from indebtedness
by or against any Borrower; or

              (h)     the happening of any event which, in the reasonable judgment of the
Agent, adversely affects the Borrower's ability to repay the Loan or the value of the Collateral; or

              (i)    if any written representation, covenant or warranty made to the Agent or
any Lender by any Borrower is breached or is untrue in any material respect when made;

                U)     the occmTence of a breach or default under any other document or
instrument given to Agent or any Lender in connection with this Loan after the expiration of all
notice, grace or cure periods setforth in the Loan Documents; or.

                 (k)   inability to manage the affairs of the Borrower or Operator; or

                 (1)    failure to timely provide any financial information on request or to permit
an examination of books and records, after the expiration of all notice, grace or cure periods, if
any, set forth in the Loan Documents; or
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                (m)    the Borrower shall convey, transfer or otherwise divest itself of title to the
 Property; or

               (n)     the Borrower shall encumber the Property or the Property with any
secondary financing, without the prior written approval of Agent which approval may be granted
or withheld for any reason or for no reason whatsoever in Agent's sole and absolute discretion; or

               (o)       if at any time while the Loan remains outstanding, the Borrower shall fail
to comply with the Financial Coven~nts set forth herein; or revocation or suspension of an
Operator's or a Borrower's Certificate of Need (if required), Facility License, the Medicaid or
Medicare provider agreements or any other Permit or Reimbursement Contract necessary to
operate the Facility; or

                (p)   Intentionally Deleted;

                  (q)    if Borrower or any Operator incurs additional Indebtedness without the
prior \<Vritten approval of the Agent; or

              (r)     a default by any Borrower or any Affiliate of Borrower on any other
obligations owed by them to Agent or any Lender; or

              (s)     the occmTcnce of any material adverse change in the financial condition or
prospects of Borrower or the existence of any other condition which, in Agent's reasonable
determination, constitutes a material impaim1cnt of any such Person's ability to op.crate the
Facility or of such Person's ability to perform their respective obligations under the Loan
Documents, which is not remedied within thirty (30) days after written notice; or

              (t)     the occurrence of any "Reportable Event" under ER.ISA which Agent
determines in good faith constitutes grounds for imposition of liability ·against Borrower under
Section V, Subtitle D of ERISA;

                (u)   the failure to satisfy any of the Financial Covenants; or

               (v)    if Borrower or any Operator or Lessee of any of the Property should be
assessed fines or penalties in excess of $50,000 in the aggregate in any calendar year or on more
than two (2) separate occasions by any Governmental Authority with jurisdiction over the
Facility.

Notwithstanding anything in this Section, all requirements of notice shall be deemed eliminated
if Lender is prevented from declaring an Event of Default by bankruptcy or other applicable law.
The cure period, if any, shall then run from the occurrence of the event or condition of Default
rather than from the date of notice.

       8.2    Remedies. Upon the occurrence of any one or more of the foregoing Events of
Default, Agent or any Lender may, at its option:

              (a)    Declare the entire unpaid principal and accrued but unpaid interest of the
Loan Obligations to be, and the same shall thereupon become, immediately due and payable,
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without presentment, protest or further demand or notice of any kind (including, without
limitation, notice of acceleration and notice of intent to accelerate), all of which are hereby
expressly waived; and/or

               (b)    Proceed to protect and enforce its rights by action at law (including,
without limitation, bringing suit to reduce any claim to judgment), suit in equity and other
appropriate proceedings including, without limitation, for specific performance of any covenant
or condition contained in this Agreement; and/or

               (c)     Exercise any and all rights and remedies afforded by the laws of the
United States, the states in which any of the Property or other Collateral is located or any other
appropriate jurisdiction as may be available for the collection of debts and enforcement of
covenants and conditions such as those contained in this Agreement and the Loan Documents;
and/or

               (d)      Exercise the rights and remedies of setoff and/or banker's lien against the
interest of Borrower in and to every account and other property of Borrower which is in the
possession of Agent or any Lender or any person who then owns a participating interest in the
Loan, to the extent of the full amount of the Loan; and/or

               (e)     Exercise its rights and remedies pursuant to any of the Loan Documents.

Any failure of Agent or any Lender to make any election of remedies following an Event of
Default shall not constitute a waiver of Agent's or any Lender's right to make the election in, the
event of any subsequent Event of Default.

        8.3     .Costs of Collection and Enforcement. Borrowers agree, jointly and severally, to
pay (a) all reasonable attorneys' fees and other costs and expenses of any nature incurred by
Agent and each Lender in connection with this Agreement or the enforcement of Agent's or any
Lender's rights and remedies under the Loan Documents, including reasonable attorneys' fees
incmTed by Agent and each Lender for legal advice concerning Agent and each Lender's rights
and remedies (whether or not an Event of Default in fact occurs, and whether or not any remedies
are in fact exercised); (b) all reasonable attorneys' fees, as determined by the court, and all other
costs, expenses and fees incurred by Agent and each Lender in connection with any suit or
proceeding instituted to collect the Loan Obligations or to enforce Agent's and each Lender's
rights and remedies under the Loan Documents, whether or not such suit or proceeding is
prosecuted to judgment or conclusion; (c) all reasonable attorneys' fees and other costs and
expenses incurred by Agent and each Lender in connection with any bankruptcy, insolvency or
reorganization proceeding or receivership involving Borrower or any affiliate of Borrower,
including any guarantor, and including all reasonable attorneys' fees incurred in making any
appearances in any such proceeding or in seeking relieffrom any stay or injunction issued in or
arising out of any such proceeding; and (d) all reasonable attorneys' fees and other costs and
expenses incurred in any appellate proceedings ~md any post-judgment proceedings to collect or
enforce the judgment.

      8.4    Offsets. No indebtedness shall be deemed to have been offset or shall be offset or
compensated by all or part of any claim, cause of action, counterclaim or cross-claim, whether

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 liquidated or unliquidated, which Borrower now or hereafter may have or may claim to have
against Agent or any Lender. Furthermore, in respect to the present indebtedness of, or any
future indebtedness incurred by, Borrower to Agent or any Lender, Borrower waives, to the
fullest extent permitted by law, the benefits of any applicable law, regulation, or procedure which
substantially provides that, where cross~demands for money have existed between persons at any
point in time when neither demand was bruTed by the applicable statute of limitations, and an
action is thereafter commenced by one such person, the other may assert in his answer the
defense of payment in that the two demands are compensated so far as they equal each other,
notwithstanding that an independent action asserting the claim would at the time of filing the
answer be barred by the applicable statute of limitations. The Loan Agreement and the other
Loan Documents are not subject to any right of rescission, set-off: abatement, diminution,
counterclaim or defense as against Agent or any Lender, including, without limitation, any
assignee of Agent or any Lender, including the defense of usury, and the operation of any of the
terms of the Loan, or the exercise of any right thereunder, will not render the Loan
unenforceable, in whole or in part, or subject to any right of rescission, set-off, abatement,
diminution, counterclaim or defense, including the defense of usury and whether or not such
rescission, set-off, abatement, diminution, counterclaim or other defense arises out of or relates
to the Loan Documents or any agreement between Borrower, Agent or any Lender or any affiliate
of Agent or any Lender, and Capital Funding Group, Inc., a Maryland corporation ("CFG") with
respect to ru1y obligation or commitment of or by CFG to make a Loan to Bon-ower insured by
the U.S. Department of Housing and Urban Development Federal Housing Administration
("HUD") under the provisions of Section 232 of the National Housing Act, and the Regulations
thereunder.

                                          ARTICLE IX
                                           EXIT FEE



               (a)     As used in this Agreement, "ExiJ..Fee" means, with respect to the Property,
the amount set forth on g2{.hiQill-L

                (b)    Borrower shall pay the Exit Fee to Agent, solely for the benefit of the
HUD Lender, on demand in any of the following events: (i) Agent delivers a commitment for a
HUD Financing for the Property consistent with the HUD Contract or as otherwise provided in
this Agreement and Borrower does not accept the HUD Financing, or (ii) Borrower has defaulted
in its obligation to cooperate with Agent to obtain the HUD Financing for the Property as
provided in Section 4.14, or (iii) the HUD Lender is unable to obtain a commitment for the HUD
Financing for the Property on account of any matten1ot within the control of the HUD Lender,
including, without limitation, any material negative or adverse change in the financial condition
of Borrower or Operator or any Manager of the Facility, any lien, pending or threatened litigation
or other event effecting the Property or the Borrower or any Operator which causes the Property,
Bol'rower, Operator or the Facility not to be eligible for a HUD Financing, or (iv) in the event
Borrower repays the Loan other than as a result of a HUD Financing, in which event the Exit Fee
shall be payable. Agent and Borrower acknowledge and agree that the Exit Fee shall be paid to
Agent out of the HUD Expenses set forth in Section 7. 7 herein, in accordance with the HUD
Contract.
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                (c)     In the event that Borrower and Operator have completely cooperated with
 Agent and HUD Lender and have complied with the requirements set forth in Section 4.14 and
 HUD Lender is unable to obtain a commitment for the HUD Financing for the Property within
 six (6) months of the Closing Date, then the Exit Fee shall be deemed to be waived by Agent.

                                           ARTICLEX
                                        MISCELLANEOUS

        10.1 Waiver. No remedy conforred upon, or reserved to, Agent or any Lender in this
Agreement or any of the other Loan Documents is intended to be exclusive of any other remedy
or remedies, and each and every remedy shall be cumulative and shall be in addition to every
other remedy given hereunder or now or hereafter existing in law or in equity. Exercise of or
omission to exercise any right of Agent or any Lender shall not affect any subsequent right of
Agent or any Lender to exercise the same. No course of dealing between Borrower and Agent or
any Lender or any delay on Agent's or any Lender's part in exercising any rights shall operate as
a waiver of any of Agent's or any Lender's rights. No waiver of any Default under this
Agreement or any of the other Loan Documents shall extend to or shall affect any subsequent or
other then existing Default or shall impair any rights, remedies or powers of Agent or any
Lender. If Borrower consists of more than one person or entity, each such person or entity shall
be jointly and severally liable for the performance of each of the obligations of Borrower to
Lender heretmder.

         10.2 Costs anQ. Expenses. Borrower will bear all taxes, fees and expenses (including
 actual reasonable attorneys' fees and expenses of counsel for Agent and Lenders) in connection
 with the Loan, the Note, the preparation of this Agreement and the ·other Loan Documents
 (including any amendments hereafter made), and in connection with any modifications thereto
 and the recording of any of the Loan Documents.      u: at any time, an Event of Default occurs or
 Agent or any Lender becomes a party to any suit or proceeding in order to protect its interests or
priority in any collateral for any of the Loan Obligations or its rights under this Agreement or any
of the Loan Documents, or if Agent or any Lender is made a party to any suit or proceeding by
virtue of the Loan, this Agreement or any Collateral and as a result of any of the foregoing, Agent
or any Lender employs counsel to advise or provide other representation with respect to this
Agreement, or to collect the balance of the Loan Obligations, or to take any action in or with
respect to any suit or proceeding relating to this Agreement, any of the other Loan Documents,
any Collateral, Borrower, or to protect, collect, or liquidate any of the security for the Loan
Obligations, or attempt to enforce any security interest or lien granted to Agent or any Lender by
any of the Loan Documents, then in any such events, all of the actual reasonable attorney's foes
arising from such services, including attorneys' fees for preparation of litigation and in any
appellate or bankruptcy proceedings, and any expenses, costs and charges relating thereto shall
constitute additional obligations of Borrower to Agent or any Lende1· payable on demand of
Agent or any Lender. Without limiting the foregoing, Borrower has undertaken the obligation
for payment of, ~md shall pay, all recording and filing foes, revenue or documentary stamps or
taxes, intangibles taxes, and other taxes, expenses and charges payable in connection with this
Agreement (excluding any taxes on behalf of Agent which are measured by the income of the
Borrower), any of the Loan Documents, the Loan Obligations, or the filing of any financing
statements or other instruments required to effectuate the purposes of this Agreement, and should
Borrower fail to do so, Borrower agrees to reimburse Agent and each Lender for the amounts
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 paid by Agent and each Lender, together with penalties or interest, if any, incurred by Agent and
 each Lender as a result of underpayment or nonpayment. Such amounts shall constitute a portion
 of the Loan Obligations, shall be secured by the Security Instrument and shall bear interest at the
 Default Rate from the date advanced until repaid.

        10.3 Perfonnance of b.gent and Lenders. At its option, upon Borrower's failure to do
so, Agent or any Lender may make any payment or do any act on Borrower's behalf that
Borrower or others are required to do to remain in compliance with this Agreement or any of the
other Loan Documents, and Borrower agrees to reimburse Agent and each Lender, on demand,
for any payment made or expense incurred by Agent or such Lender pursuant to the foregoing
authorization, including, without limitation, reasonable attorneys' foes, and until so repaid any
sums advanced by Agent or any Lender shall constitute a portion of the Loan Obligations, shall
be secured by the Security Instrument and shall bear interest at the Default Rate from the date
advanced until repaid~

         10.4 Indemnification. Borrower shall, at its sole cost and expense, protect, defend,
 indemnify and hold harmless the Indemnified Parties (as defined below) from and against any
 and all claims, suits, liabilities (including, without limitation, strict liabilities), actions,
 proceedings, obligations, debts, damages, losses, costs, expenses, diminutions in value, fines,
 penalties, charges, fees, expenses, judgments, awards, amounts paid in settlement, punitive
 damages, foreseeable and unforeseeable consequential damages, of whatever kind or nature
 (including but not limited to reasonable attorneys' fees and other costs of defense) (collectively
 "Losses") imposed upon or incurred by or asserted against Lender by reason of: (a) ownership of
the Note, the Security Instrument, the Property, or any interest therein or receipt of any Rents;
 (b) any amendment to, or restructuring of, the Loan Obligations and/or any of the Loan
Documents; (c) any and all lawful action that may be taken by Lender in connection with the
enforcement of the provisions of the Security Instrument, or the Note or any of the other Loan
Documents, whether or not suit is filed in connection with same, or in connection with Borrower,
Operator, or Manager and/or any partner, joint venturer, member or shareholder thereof
becoming a party to a voluntary or involuntary federal or state bankruptcy, insolvency or similar
proceeding; (d) any accident, injury to or death of persons or loss of or damage to property
occwTing in, on or about the Property, the Improvements or any pai1 thereof or on the adjoining
sidewalks, curbs, adjacent property or adjacent parking areas, streets or ways; (e) any use, nonuse
or condition in, on or about the Property, the Improvements or any part thereof or on the
adjoining sidewalks, curbs, adjacent property or adjacent parking areas, streets or ways; (f) any
failure on the part of Borrower, Operator, or Manager to perform or comply with any of the terms
of this Agreement or any of the other Loan Documents; (g) any claims by any broker, person or
entity claiming to have participated in arranging the making of the Loan evidenced by the Note;
(h) any failure of the Property to be in compliance with any applicable laws; (i) any and all
claims and demands whatsoever which may be asserted against Lender by reason of any alleged
obligations or undertakings on its part to perform or discharge any of the terms, covenants, or
agreements contained in a Lease Agreement or any replacement or renewal thereof or
substitution therefore; U) performance of any labor or services or the furnishing of any materials
or other property with respect to the Property, the Improvements or any part thereof; (k) the
failure of any person to file timely with the Internal Revenue Service an accurate Form 1099-b,
statement for recipients of proceeds from real estate, broker and barter exchange transactions,
which may be required in connection with any of the Security Instrument, or to supply a copy
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thereof in a timely fashion to the recipient of the proceeds of the transaction in connection with
 which the Loan is made; (I) any misrepresentation made to Lender in this Agreement or in any of
the other Loan Documents; (m) any tax on the making and/or recording of any of the Security
Instrument, the Note or any of the other Loan Documents; (n) the violation of any requirements
of the Employee Retirement Income Security Act of 1974, as amended; (o) any fines or penalties
assessed or any corrective costs incurred by Lender if the Facility or any part of the Property is
determined to be in violation of any covenants, restrictions of record, or any applicable laws,
ordinances, rules or regulations; or (p) the enforcement by any of the Indemnified Parties of the
provisions of this Section 10.4. Any amounts payable to Lender by reason of the application of
this Section 10.4 shall become immediately due and payable, and shall constitute a portion of the
Loan Obligations, shall be secured by any of the Security Instrument, and shall accrue interest at
the Default Rate. The obligations and liabilities of Bonower under this .Section 10.4 shall
survive any termination, satisfaction, assignment, entry of a judgment of foreclosure or exercise
of a power of sale or delivery of a deed in lieu of foreclosure of the Security Instrument. For
purposes of this Section l 0.4, the tenn "Indemnified Parties" means Lender and any Person who
is or will have been involved in the origination of the Loan, any Person who is or will have been
involved in the servicing of the Loan, any Person in whose name the encumbrance created by any
of the Security Instrument is or will have been recorded, any Person who may hold or acquire or
wiil have held a full or partial interest in the Loan (including, without limitation, any investor in
any securities backed in whole or in part by the Loan) as well as the respective directors, officers,
shareholder, partners, members, employees, agents, servants, representatives, contractors,
subcontractors, affiliates, subsidiaries, participants, successors and assigns of any and all of the
foregoing (including, without limitation, any other Person who holds or acquires or will have
held a participation or other full or partial interest in the Loan or the Property, whether during the
term of the Security Instrument or as a part of or following a foreclosure of the Loan and
including, without limitation, any successors by merger, consolidation or acquisition of all or a
substantial portion of Lender's assets and business). In no event shall Borrower be liable for any
Losses arising on account of the gross negligence or willful misconduct of the Agent.

         10.5 I:leadings. The headings of the Sections of this Agreement are for convenience of
reference only, are not to be considered a part hereo1: and shall not limit or otherwise affect any
of the terms hereo[

       10.6 Survival of.Covenants. All covenants, agreements, representations and warranties
made herein and in certificates or reports delivered pursuant hereto shall be deemed to have been
material and relied on by Lender, notwithstanding any investigation made by or on behalf of
Lender, and shall survive the execution and delivery to Lender of the Note and this Agreement.

        10. 7 tlotices,~1:£,. Any notice or other communication required or perinitted to be
given by this Agreement or the other Loan Documents or by applicable law shall be in writing
~md shall be deemed received: (a) on the date delivered, if sent by hand delivery (to the person or
department if one is specified below) with receipt acknowledged by the recipient thereof;
(b) three (3) Business Days following the date deposited in U.S. mail, postage prepaid, ce1tified
or registered, with return receipt requested; or (c) one (1) Business Day following the date
deposited with Federal Express or other national overnight carrier, and in each case addressed as
follows:

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 lfto Borrower:         c/o Synergy Health Centers LLC
                        260 Chan1bers Bridge Road, Suite 2A
                        Brick, New Jersey 08723
                        Attention: Zisha Lipschultz
                        Email: Zisha@newcnglandhc.com


with a copy to:         GUTNICKI LLP
                        4711 Golf Road, Suite 200
                        Skokie, Illinois 60076
                        Attention: Abraham A. Gutnicki, Esq.
                        Email: agutnicki@gutnicki.com


If to Agent and/or Capital Funding, LLC
Lenders:           1422 Clarkview Road
                   Baltimore, Maryland 21209
                   Attention: Timothy Sanders, Managing Director


with a copy to:         Seyfarth Shaw LLP
                        131 South Dearborn, Suite 2400
                        Chicago, Illinois 60603
                        Attention: Deborah Gordon
                        Phone: 312.460.5620
                        Fax: 312.460.7620


Any party may change its or its attorney address to another single address by notice given as
herein provided, except any change of address notice must be actually received in order to be
effective.

        10.8 Bcn(!fits. All of the terms and provisions of this Agreement shall bind and inure
to the benefit of the parties hereto and their respective successors and assigns. No Person other
than Bonower, Agent or each Lender shall be entitled to rely upon this Agreement or be entitled
to the benefits of this Agreement.

        10.9 Supe_rsedes Prior Agr_eement~Counterparts. This Agreement and the instruments
referred to herein supersede and incorporate all representations, promises, and statements, oral or
written, made by Agent or any Lender in connection with the Loan. This Agreement may not be
varied, altered, or an1ended except by a written instrument executed by an authorized ofiicer of
Agent and the Required Lenders. This Agreement may be executed in any number of
counterparts, each of which, when executed and delivered, shall be an original, but such
counterparts shall together constitute one and the same instrument. This Agreement and the
other Loan Documents represent the final agreement between the parties with respect to the
subject matter hereof and thereof. There are no unwritten oral agreements between the parties.

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        10.10 J:;;pan Agreement Governs. The Loan is governed by terms and provisions set
forth in this Agreement and the other Loan Doctm1ents and in the event of any irreconcilable
conflict between the terms· of the other Loan DoctU11ents and the terms of this Agreement, the
terms of this Agreement shall control; provided, however, in the event there is any apparent
conflict between any particular term or provision which appears in both this Agreement and the
other Loan Documents and it is possible and reasonable for the terms of both this Agreement and
the Loan Documents to be performed or complied with then (except with respect to the Maturity
Date or any extension thereof, in which case this Agreement shall be controlling)
notwithstanding the foregoing both the terms of this Agreement and the other Loan Documents
shall be performed and complied with.

     10.11 CONTROLLING LAW. THE PARTIES HERETO AGREE THAT THE
VALIDITY, INTERPRETATION, ENFORCEMENT ANH EFFECT OF THIS
AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS 011' THE STATE OF MARYLAND AND THE PARTIES HERETO
SUBMIT (ANH WAIVE ALL RIGHTS TO . OBJECT) TO NON~EXCLUSIVE
PERSONAL JURISDICTION IN THE STATE O:F MARYLAND, CITY Ofi'
BALTIMORE· FOR THE ENFORCEMENT OF ANY AND ALL OBLIGATIONS
UNDER THE I~OAN DOCUMENTS EXCEPT THAT IF ANY SUCH ACTION OR
PROCEtnnNG ARISES UNDER THE CONSTITUTION, I.AWS OR TREATIES OF
THE UNITED STATES OF AMERICA, OR IF THERE IS A DIVl~RSITY OF
CITIZENSHIP BETWEEN THE PARTIES THERETO, SO THAT IT IS TO BE
BROUGHT IN A UNITED STATES DISTRICT COURT, IT SHALL llE BROUGHT IN
THE UNITED STATES ,DISTRICT COURT FOR THE EASTERN DISTRICT OF
MARYLAND OR ANY SUCCESSOR FEDERAL COURT HAVING ORIGINAL
JURISDICTION.

       10.12 WAIVER OF ~JURY TRIAL. BORROWER HEREBY. WAIVES ANY
RIGHT THAT IT MAY HA VE TO A TRIAL BY JURY ON ANY CLAIM,
COUNTERCLAIM, SETOFF, Dfi:MAND, ACTION OR CAUSE OF ACTION (A)
ARISING OUT OF OR IN ANY WAY RELA'n:n TO THIS AGREEMENT OR THE
LOAN, OR (B) IN ANY WAY CONNECTED WITH OR PERTAINING OR RELATED
TO OR INCIDENTAL TO ANY DEALINGS OF AGENT, LENDERS AND/OR
BORROWER WITH RESPECT TO THE LOAN DOCUMENTS OR IN CONNECTION
WITH THIS AGREEMENT OR THE EXERCISF3 OF ANY PARTY'S RIGHTS AND
REMEDIES UNDER THIS AGREEMENT OR OTHERWISE, OR THE CONDUCT OR
THE Rll:LATIONSHIP OF THE PARTIES HERETO, IN ALL OF THE FOREGOING
CASJi:S WHETHER NOW F~XISTING OR HEREAFTER ARISING ANH WHETHER
SOUNDING IN CONTRACT, TORT OR OTHERWISE. BORROWER AGREES THAT
AGENT MAY FILE A COPY OF THIS AGREEMENT WITH ANY COURT AS
WRITTEN EVIDENCE OF THE KNOWING, VOLUNTARY, AND BARGAINEI>
AGREEMENT OF BOIUlOWER IRREVOCABLY TO WAIVE ITS RIGHTS TO TRIAL
BY JURY AS AN INDUCEMENT OF AGENT AND LENDERS TO MAKE THE LOAN,
AND THAT, TO THE EXTENT PERMITTED BY APPLICABLE LAW, ANY DISPUTE
OR CONTROVERSY WHATSOEVER (WHETHER OR NOT MODIFIED HEIU:IN)
AMONG BORROWER, AGENT AND I.ENHERS SHALL INSTEAD BE TRIED IN A

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.JURY.

        I 0.13 Management Agreement. Agent shall have the right in its sole and absolute
discretion to approve any management company with respect to the management of the Facility.
The Management Agreement will be assigned to Agent as additional security for repayment of
the Loan and payment of all management fees shall be subordinate to the Loan. Agent shall have
the further right to approve in its sole and absolute discretion any contract entered into by the
Facility with any Affiliate of Borrower for the provisions of any services to the Borrower and/or
the Facility; provided that the Management Agreement shall be permitted hereunder. Any such
ancillary service contract will be assigned to Agent as additional security for repayment of the
Loan.

          10.14 Patriot Act Compliance.

                (a)    Borrower will use its good faith and commercially reasonable efforts to
comply with the Patriot Act (as defined below) and all applicable requirements of governmental
authorities having jurisdiction of the Borrower and the Property, including those relating to
money laundering and terrorism. Agent shall have the right to audit the Borrower's compliance
with the Patriot Act and all applicable requirements of governmental authorities having
jurisdiction of the Borrower and the Property, including those relating to money laundering and
ten·orism. In the event that the Bcmower fails to comply with the Patriot Act or any such
requirements of governmental authorities, then Agent may, at its option, cause the Borrower to
comply therewith and any and all reasonable costs and expenses incurred by Agent and Lenders
in connection therewith shall be secured by the Security Instrument and the other Loan
Documents and shall be immediately due and payable. For purposes hereof, the tenn "Patriot
Act" means the Uniting and Strengthening America by Providing Appropriate Tools Required to
Intercept and Obstruct Terrorism (USA PATRIOT ACT) Act of 2001, as the same may be
amended from time to time, and corresponding provisions of future laws.

                (b)      Neither the Borrower nor any partner, member, shareholder or other
constituent (each a "Constituent of Borrower") or a partner, member or shareholder of a
Constituent of Borrower nor any owner of a direct or indirect interest in the Borrower (i) is listed
on any Government Lists (as defined below), (ii) is a person who has been determined by
competent authority to be subject to the prohibitions contained in Presidential .Executive Order
No. 13224 (Sept. 23, 2001) or any other similar prohibitions contained in the rules and
regulations of OFAC (as defined below) or in any enabling legislation or other Presidential
Executive Orders in respect thereof~ (iii) has been previously indicted for or convicted of any
felony involving a crime or crimes of moral turpitude or for any Patriot Act Offense (as defined
below), or (iv) is not currently under investigation by any governmental authority for alleged
criminal activity. For purposes hereof, the term "Patriot Act Offense" means any violation of the
criminal laws of the United States of America or of any of the several states, or that would be a
criminal violation if committed within the jurisdiction of the United States of America or any of
the several states, relating to terrorism or the laundering of monetary instruments, including any
offense under (i) the criminal laws against terrorism; (ii) the criminal laws against money
laundering, (iii) the Bank Secrecy Act, as amended, (iv) the Money Laundering Control Act of
1986, as amended, or the (v) Patriot Act. "Patriot Act Offense" also includes the crimes of
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conspiracy to commit, or aiding and abetting another to commit, a Patriot Act Offense. For
purposes hereof: the tem1 ''Government Lists" means (i) the Specially Designated Nationals and
Blocked Persons Lists maintained by Office of Foreign Assets Control ("OFAC"), (ii) any other
list of te1Torists, tenorist organizations or narcotics traffickers maintained pursuant to any of the
Rules and Regulations of OF AC that Agent notified Borrower in writing is now included in
"Governmental Lists", or (iii) any similar lists maintained by the United States Department of
State, the United States Department of Commerce or any other government authority or pursuant
to any Executive Order of the President of the United States of America that Agent notified
Borrower in writing is now included in "Governmental Lists".

           10.15 Syndication.

                  (a)     Borrowers hereby acknowledge that Lenders may, with Agent's prior
 written consent (which may be given as to each instance or generally as to all instances), in one
 or more transactions (i) sell, or otherwise transfer the Loan or any portion thereof one or more
 times, (ii) sell participation interests in the Loan one or more times, (iii) further divide or rc-
 di vi de the Loan into two or more separate notes or components which may take the form of
 senior/junior/mezzanine notes or components or senior/subordinate notes or components or
 multiple components of such division, and which may be secured by some or all of the
 Collateral, or (iv) grant, pledge, assign a security interest in or otherwise collaterally transfer all
 or any portion of its rights under this Agreement and the Loan Documents to secure obligations
 of such Lender to any other Person (the transactions referred to in clauses (i) through (iv) above,
 each a "Second_wy Mad<.et Transaction", and collectively "Secondary Market Tran~-;action.it).
 With respect to any Secondary Market Transaction described in clause (iii) above, such notes or
 note components may be assigned difforent interest rates, so long as, at such time the weighted
 average of the relevant interest rates equals the Libor Rate. Borrowers shall cooperate with
 Lenders and use Borrowers' good faith efforts to facilitate the consummation of each Secondary
 Market Transaction including, without limitation, by: (i) amending or causing the amendment of
any Loan Document, and executing such additional documents, instruments and agreements as
may be reasonably required by Lenders in connection with the relevant Secondary Market
Transaction; (ii) promptly and reasonably providing such information (including, without
limitation, financial information) as may be requested in connection with the preparation of a
private placement memorandum, prospectus or a registration statement required to privately
place or publicly distribute the securities in a manner which does not conflict with federal or state
securities laws; (iii) providing in connection with each of (A) a preliminary and a final private
placement memorandum or other ofiering documents or (B) a preliminary and final prospectus,
as applicable (each, a "Pisclosure Document"), a certificate certifying that Borrowers have
carefully examined those sections of such Disclosure Documents, as applicable, pertaining to
Borrowers, their Affiliates, the Loan, the Manager and the Property and that such sections (and
any other sections reasonably requested by a Lender) do not contain any untme statement of a
material fact or omit to state a material fact necessary in order to make the statements made, in
the light of the circumstances under which they were made, not misleading; (iv) causing to be
rendered such opinion letters reasonably requested by the Lender for the relevant Secondary
Market Transaction; (v) making such representations, warranties and covenants, as may be
reasonably requested by a Lender for the Secondary Market Transaction; and (vi) providing any
other information and materials reasonably requir~d in the Secondary Market Transaction.
Borrowers shall be responsible only for their own costs and expenses (including attorneys' fees)
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 and shall not be responsible for any third party costs lmd expenses incurred by Lenders in
 connection with any Secondary Market Transaction.

          I 0. 16 .Q_onstruction. Captions in this Agreement are included solely for convenience and
are not to be referred to in construing or interpreting this Agreement. befined tenns may be used
in the singular or the plural, as the context requires. All references to time of day mean the then
applicable time in Baltimore, Maryland, unless otherwise expressly provided. Each reference in
this Agreement to a particular section is a reforence to a section of this Agreement unless
otherwise expressly indicated. The words "include," "includes" and "including" are deemed to
be followed by the phrase "without limitation''. Unless the context in which it is used otherwise
clearly requires, the word "or" has the inclusive meaning represented by the phrase "and/or".
Unless the context in which it is used otherwise clearly requires, all references to days, weeks
and months mean calendar days, weeks and months. If any portion of this Agreement is declared
invalid, illegal or unenforceable by any court of competent jurisdiction, such portion shall be
deemed severed from this Agreement and the remaining portions shall continue in full force and
effoct. Time is strictly of the essence of each and every provision of this Agreement. This
Agreement shall be governed by and interpreted and enforced under the laws of the United States
and the regulations, rules, orders, requirements and policies of any federal departments, offices,
bureaus, boards and other agencies, instrumentalities and authorities that have jurisdiction over
Agent or Lender or this Agreement to the extent that Agent or Lender or this Agreement is
subject to or governed by such federal laws, regulations, rules, orders, requirements and policies.

        10.17 N.JtJ~g,r.UJ.~rsh!n. Borrower acknowledges and agrees that the provisions of this
Agreement shall not create a partnership, joint venture or any other relationship among the
Borrower, Agent and Lender except the relationship of Borrower and Lender. Accordingly,
nothing contained in this Agreement or in the other Lo'an Documents shall obligate or be deemed
to obligate Agent or any Lender to pay any costs, fees or expenses of the Property, or to
reimburse Borrower for any such costs or otherwise. In addition, nothing in this note or in any of
the other Loan Docmnents shall be deemed to imply that Lender is an owner or operator of the
Property or any business or businesses located thereon or in connection therewith and Lender
shall not be deemed to control or review Borrower's ownership or operation of the Property, or
any business or businesses located thereon or in connection therewith.

         10. 18   Post~Closing Obligations. Borrower undertakes, covenants and agrees, at its sole
cost and expense, to deliver to Lender the items set forth on ExhiQ.it I attached hereto within the
time set forth therein for delivery of the applicable item.

                                            ARTICLE XI
                                              AGENT

        11.1 Armointment_and Authorization. Each Lender hereby irrevocably appoints and
authorizes Agent to enter into each of the Loan Documents to which it is a party (other than this
Agreement) on its behalf and to take such actions as Agent on its behalf and to exercise such
powers under the Loan Documents as are delegated to Agent by the terms thereof~ together with
all such powers as are reasonably incidental thereto. Subject to the terms of Section 11.16 and to
the terms of the other Loan Documents, Agent is authorized and empowered to amend, modify,
or waive any provisions of this Agreement or the other Loan Documents on behalf of Lenders.
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The provisions of this Article XI are solely for the benefit of Agent and Lenders and neither any
Borrower nor any other Loan Party shall have any rights as a third party beneficiary of any of the
provisions hereof. In performing its functions and duties under this Agreement, Agent shall act
solely as agent of Lenders and does not assume and shall not be deemed to have assumed any
obligation toward or relationship of agency or trust with or for any Borrower or any other Loan
Party. Agent may perform any of its duties hereunder, or under the Loan Documents, by or
through its agents or employees.

       11.2 AgentJLf!.~Lb.fflUfi~§. Agent shall have the same rights and powers under the Loan
Documents as any other Lender and may exercise or refrain from exercising the same as though it
were not Agent, and Agent and its Affiliates may lend money to, invest in and generally engage
in any kind of business with each Loan Party or Affiliate of any Loan Party as if it were not
Agent hereunder.

        11.3 f\~tjQ_Q__by_ _ f\_g\;(lJ.t. The duties of Agent shall be mechanical and administrative in
nature. Agent shall not have by reason of this Agreement a fiduciary relationship in respect of
any Lender. Nothing in this Agreement or any of the Loan Documents is intended to or shall be
construed to impose upon Agent any obligations in respect of this Agreement or any of the Loan
Documents except as expressly set forth herein or therein.

        11.4 Consultation with Ex~~· Agent may consult with legal counsel, independent
public accountants and other experts selected by it and shall not be liable for any action taken or
omitted to be taken by it in good faith in accordance with the advice of such counsel, accountants
or experts.

         11.5 Liability of Agent. Neither Agent nor any of its directors, ofiicers, agents or
employees shall be liable to any Lender for any action taken or not taken by it in connection with
 the Loan Documents, except that Agent shall be liable with respect to its specific duties set ·forth
hereunder but only to the extent of its own gross negligence or willful misconduct in the
discharge thereof as determined by a final non-appealable judgment of a court of competent
jurisdiction. Neither Agent nor any of its directors, officers, agents or employees shall be
responsible for or have any duty to ascertain, inquire into or verify (a) any statement, warranty or
representation made in connectiOn with any Loan Document or any borrowing hereunder; (b) the
performance or observance of any of the covenants or agreements specified in any Loan
Document; (c) the satisfaction of any condition specified in any Loan Document; (d) the validity,
effectiveness, sufficiency or genuineness of any Loan Document, any Lien purported to be
created or perfected thereby or any .other instrument or writing furnished in connection therewith;
(e) the existe.nce or non-existence of any Default or Event of Default; or (f) the financial
condition of any Loan Party. Agent shall not incur any liability by acting in reliance upon any
notice, consent, certificate, statement, or other writing (whfoh may be a bank wire, telex,
facsimile or electronic transmission or similar writing)· believed by it to be genuine or to be
signed by the proper party or parties. Agent shall not be liable for any apportionment or
distribution of payments made by it in good faith and if any such apportionment or distribution is
subsequently determined to have been made in error. The sole recourse of any Lender to whom
payment was due but not made, shall be to recover from other Lenders any payment in excess of
the amount to which they are determined to be entitled (and such other Lenders hereby agree to
return to such Lender any such erroneous payments received by them).
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        11.6 !ndemnifi9ation. Each Lender shall, in accordance with its Pro Rata Share,
indemnify Agent (to the extent not reimbursed by Borrowers) upon demand against any cost,
expense (including counsel fees and disbursements), claim, demand, action, loss or liability
(except such as result from Agent's gross negligence or willful misconduct as determined by a
final non~appealable judgment of a court of competent jurisdiction) that Agent may suffer or
incur in connection with the Loan Documents or any action taken or omitted by Agent hereunder
or thereunder. If any indemnity furnished to Agent for any purpose shall, in the opinion of
Agent, be insufficient or become impaired, Agent may call for additional indemnity and cease, or
not commence, to do the acts indemnified against even if so directed by Required Lenders until
such additional indemnity is furnished.

         11. 7 Right to Request and Act on Instruction.~. Agent may at any time request
instructions from Lenders with respect to any actions or approvals which by the terms of this
Agreement or of any of the Loan Documents Agent is permitted or desires to take or to grant, and
if such ins_tructions are promptly requested, Agent shall be absolutely entitled to refrain from
taking any action or to withhold any approval and shall not be under any liability whatsoever to
any Person for refraining from any action or withholding any approval under any of the Loan
Documents until it shall have received such instructions from Required Lenders or all or such
other portion of the Lenders as shall be prescribed by this Agreement. Without limiting the
foregoing, no Lender shall have a11y right of action whatsoever against Agent as a result of Agent
acting or refraining from acting under this Agreement or any of the other Loan Documents in
accordance with the instructions of Required Lenders (or all or such other portion of the Lenders
as .shall be prescribed by this Agreement) and, notwithstanding the instructions of Required
Lenders (or such other applicable portion of the Lenders), Agent shall have no obligation to take
any action if it believes, in good faith, that such action would violate applicable Law or exposes
Agent to any liability for which it has not received satisfactory indemnification in accordance
with the provisions 'of Section 11. 6. ·

        11.8 Credit Decision. Each Lender acknowledges that it has, independently and
without relia11ce upon Agent or any other Lender, and based on such documents and information
as it has deemed appropriate, made its own credit analysis and decision to enter into this
Agreement. Each Lender also acknowledges that it will, independently and without reliance
upon Agent or any other Lender, and based on such documents and information as it shall deem
appropriate at the time, continue to make its own credit decisions in taking or not taking any
action under the Loan Documents.

        11. 9 Collateral Matters. Lenders irrevocably authorize Agent, at its option and in its
discretion, to (a) release any Lien granted to or held by Agent under any Security Document
(i) upon termination of the Loan Commitment and payment in full of a.ll Obligations; or
(ii) constituting property sold or disposed of as part of or in connection with any disposition
permitted under any Loan Document (it being understood and agreed that Agent may
conclusively rely without further inquiry on a certificate of Borrower as to the sale or other
disposition of property being made in full compliance with the provisions of the Loan
Documents); and (b) release or subordinate any Lien granted to or held by Agent under any
Security Document constituting personal property described herein (it being understood and
agreed that Agent may conclusively rely without further inquiry on a certificate of Borrower as to
the identification of any personal property described herein). Upon request by Agent at any time,
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Lenders will confirm Agent's authority to release and/or subordinate particular types or items of
Collateral pursuant to this Section 11.9.

        11.10 Agency for PerJectjoQ. Agent and each Lender hereby appoint each other Lender
as agent for the purpose of perfecting Agent's security interest in assets which, in accordance
with the Uniform Commercial Code in any applicable jurisdiction, can be perfected by
possession or control. Should any Lender (other than Agent) obtain possession or control of any
such assets, such Lender shall notify Agent thereof, and, promptly upon Agent's request therefor,
shall deliver such assets to Agent or in accordance with Agent's instructions or transfer control to
Agent in accordance with Agent's instructions. Each Lender agrees that it will not have any right
individually to enforce or seek to enforce any Security Document or to realize upon any
Collateral for the Loan unless instructed to do so by Agent (or consented to by Agent, as
provided in Section 11.5), it being understood and agreed that such rights and remedies may be
exercised only by Agent.

        11.11 Notice of Default.· Agent shall not be deemed to have knowledge or notice of the
occurrence of any Default or Event of Default except with respect to defaults in the payment of
principal, interest and fees required to be paid to Agent for the account of Lenders, unless Agent
shall have received written notice from a Lender or a Borrower referring to this Agreement,
describing such Default or Event of Default and stating that such notice is a "notice of default".
Agent will notify each Lender of its receipt of any such notice. Agent shall take such action with
respect to such Default or Event of Default as may be requested by Required Lenders (or all or
such other portion of the Lenders as shall be prescribed by thi.s Agreement) in accordance with
the terms hereof. Unless and until Agent has received any such request, Agent may (but shall not
be obligated to) take such action, or refrain from taking such action, with respect to such Default
or Event of Default as it shall deem advisable or in the best interests of Lenders.

           11.12 Assignment by_Agent; Resignation o(t\,gent; Successor Agent.

               (a)     Agent may at any time assign its rights, powers, privileges and duties
hereunder to (i) another Lender or (ii) any Person to whom Agent, in its capacity as a Lender, has
assigned (or will assign, in conjunction with such assignment of agency rights hereimder) 50% or
more of its Loan, in each case without the consent of the Lenders or Borrowers. Following any
such assignment, Agent shall give notice to the Lenders and Borrowers. An assignment by Agent
pursuant to this subsection (a) shall not be deemed a resignation by Agent for purposes of
subsection (b) below.

               (b)    Without limiting the rights of Agent to designate an assignee pursuant to
subsection (a) above, Agent may at any time give notice of its resignation to the Lenders and
Borrowers. Upon receipt of any such notice of resignation, Required Lenders shall have the right
to appoint a successor Agent. If no such successor shall have been so appointed by Required
Lenders and shall have accepted such appointment within ten (l 0) Business Days after the
retiring Agent gives notice of its resignation, then the retiring Agent may on behalf of the
Lenders, appoint a successor Agent; provided that if Agent shall notify Borrowers and the
Lenders that no Person has accepted such appointment, then such resignation shall nonetheless
become effective in accordance with such notice from Agent that no Person has accepted such
appointment and, from and following delivery of such notice, (i) the retiring Agent shall be
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discharged from its duties and obligations hereunder and under the other Loan Documents and
(ii) all payments, communications and determinations provided to be made by, to or through
Agent shall instead be made by or to each Lender directly, until such time as Required Lenders
appoint a successor Agent as provided for above in this paragraph.

                (c)      Upon (i) an assignment permitted by subsection (a) above or (ii) the
acceptance of a successor's appointment as Agent pursuant to subsection (b) above, such
successor shall succeed to and become vested :with all of the rights, powers, privileges and duties
of the retiring (or retired) Agent, and the retiring Agent shall be discharged from all of its duties
and obligations hereunder and under the other Loan Documents (if not already discharged
therefrom as provided above in this paragraph). The fees payable by Borrowers to a successor
Agent shall be the same as those payable to its predecessor unless otherwise agreed between
Borrowers and such successor. After the retiring Agent's resignation hereunder and under the
other Loan Documents, the provisions of this Article shall continue in effect for the benefit of
such retiring Agent and its sub-agents in respect of any actions taken or omitted to be taken by
any of them while the retiring Agent was acting or was continuing to act as Agent.

          11.13 .Payment and Sharing of Pawem.

                (a)    Loan Payments. Payments of principal, interest and fees in respect of the
Loan will be settled on the date of receipt if received by Agent on the last Business Day of a
month or on the Business Day immediately following the date of receipt if received on any day
other than the last Business Day of a month.

                (b)     Retu_r.n of Payments.

                        (i)       If Agent pays an amount to a Lender under this Agreement in
         the belief or expectation that a related payment has been or will be received by Agent
         from a Borrower and such related payment is not received by Agent, then Agent will be
         entitled to recover such amount from such Lender on demand without setoff,
         counterclaim or deduction of any kind, together with interest accruing on a daily basis at
         the Federal Funds Rate.

                         (ii)       If Agent determines at any time that any mnount received by
         Agent under this Agreement must be returned to any Borrower or paid to any other
         Person pursuant to any insolvency law or otherwise, then, notwithstanding any other term
         or condition of this Agreement or any other Loan Document, Agent will not be required
         to distribute any portion thereof to any Lender. In addition, each Lender will repay to
         Agent on demand any portion of such amount that Agent has distributed to such Lender,
         together with interest at such rate, if any, as Agent is required to pay to any Borrower or
         such other Person, without sctoff, counterclaim or deduction of any kind.

               (c)     Defaulted Lenders. 1be failure of any Defaulted Lender to make any
payment required by it hereunder shall not relieve any other Lender of its obligations to make
payment, but neither any other Lender nor Agent shall be responsible for the failure of any
Defaulted Lender to make any payment required hereunder. Notwithstanding anything set forth
herein to the contrary, a Defaulted Lender shall not have any voting or consent rights under or

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 with respect to any Loan Document or constitute a "Lender" (or be included in the calculation of
 "Required Lenders" hereunder) for any voting or consent rights under or with respect to any
 Loan Document.

                (d)      Sharing of Payments. If any Lender shall obtain any payment or other
recovery (whether voluntary, involuntary, by application of setoff or otherwise) on account of
any Loan in excess of its Pro Rata Share of payments entitled pursuant to the other provisions of
this Section, such Lender shall purchase from the other Lenders such participations in extensions
of credit made by such other Lenders (without recourse, representation or warranty) as shall be
necessary to cause such purchasing Lender to share the excess payment or other recovery ratably
with each of them; provided, however, that if all or any portion of the excess payment or other
recovery is thereafter recovered from such purchasing Lender, the purchase shall be rescinded
and each Lender which has sold a participation to the purchasing Lender shall repay to the
purchasing Lender the purchase price to the ratable extent of such recovery, without interest.
Each Borrower agrees that any Lender so purchasing a participation from another Lender
pursuant to this clause (d) may, to the fullest extent permitted by law, exercise all its rights of
payment with respect to such participation as fully as if such Lender _vvere the direct creditor of
Borrowers in the amount of such participation). If under any applicable bankruptcy, insolvency
or other similar law, any Lender receives a secured claim in lieu of a setoff to which this
clause (d) applies, such Lender shall, to the extent practicable, exercise its rights in respect of
such secured claim in a manner consistent with the rights of the Lenders entitled under this
clause (d) to share in the benefits of m1y recovery on such secured claim.

         11.14 Right to Perform, Presezye ang~rotect. If any Loan Party fails to perform any
obligation hereunder or under any other Loan Document (after giving effect to any cure periods
provided for in this Agreement or such other Loan Document), Agent itself may, but shall not be
obligated to, cause such obligation to be performed at Borrowers' expense. Agent is further
authorized by Borrowers and the Lenders to make expenditures from time to time which Agent,
in its reasonable business judgment, deems necessary or desirable to (a) preserve or protect the
business conducted by Borrowers, the Collateral, or any portion thereof: and/or (b) enhance the
likelihood of, or maximize the amount of, repayment of the Loan and other Obligations. Each
Borrower hereby agrees to reimburse Agent on demand for any and all costs, liabilities and
obligations incurred by Agent pursuant to this Section. Each Lender hereby agrees to indemnify
Agent upon demand for any and all costs, liabilities and obligations incurred by Agent pursuant
to this Section, in accordance with the provisions of Section 11.6.

          11.15 Additional Tit}_yd Agents. Except :for rights and powers, if any, expressly reserved
under this Agreement to any bookrunner, arranger or to any titled agent nan1ed on the cover
page of this Agreement, other than Agent (collectively, the "Additional Titled Agents"), and
except for obligations, liabilities, duties and responsibilities, if any, expressly assumed under this
Agreement by any Additional Titled Agent, no Additional Titled Agent, in such capacity, has any
rights, powers, liabilities, duties or responsibilities hereunder or under any of the other Loan
Documents. Without limiting the foregoing, no Additional Titled Agent shall have nor be
deemed to have a fiduciary relationship with any Lender. At any time that any Lender serving as
an Additional Titled Agent shall have transfeITed to any other Person (other than any Affiliates)
all of its interests in the Loan, such Lender shall be deemed to have concurrently resigned as such
Additional Titled Agent.
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          11.16 Amendments and     Waiver~.

                (a)    No provision of this Agreement or any other Loan Document may be
amended, waived or otherwise modified unless such amendment, waiver or other modification is
in writing and is signed or otherwise approved by Borrowers, the Required Lenders and any other
Lender to the extent required under Section l l. l 6(b).

              (b)     In addition to the required signatures under Section l 1.16(a), no provision
of this Agreement or any other Loan Document may be amended, waived or otherwise modified
unless such amendment, waiver or other modification is in writing and is signed or otherwise
approved by the following Persons:

                      (i)     if any amendment, waiver or other modification would increase a
Lender's funding obligations in respect of any Loan, by such Lender; and/or

                       (ii)    if the rights or duties of Agent are affected thereby, by Agent;

provided, however, that, in each of (i) and (ii) above, no such amendment, waiver or other
modification shall, unless signed by all the Lenders directly affected thereby, (i) reduce the
principal ot: rate of interest on or any fees with respect to any Loan or forgive any principal,
interest (other than default interest) or fees (other than late charges) with respect to any Loan;
(ii) postpone the date fixed for, or waive, any payment (other than any mandatory prepayment
under this Agreement) of principal of any Loan, or of interest on any Loan (other than default
 interest) or any fees provided for hereunder (other than late charges) or for any termination of any
commitment; (iii) change the definition of the tem1 Required Lenders or the percentage of
Lenders which shall be required for Lenders to take any action hereunder; (iv) release all or
substantially all of the Collateral, authorize any Borrower to sell or otherwise dispose of all or
substantially all of the Collateral or release any Guarantor of all or any portion of the Obligations
or its Guarantee obligations with respect thereto, except, in each case with respect to this
clause (iv), as otherwise may be provided in this Agreement or the other Loan Documents
(including in connection with any disposition permitted hereunder); (v) a111end, waive or
otherwise modify this or the definitions of the terms used in this Section insofar as the definitions
affect the substance of this Section; or (vi) consent to the assignment, delegation or other transfor
by any Loan Party of any of its rights and obligations under any Loan Document or release any
Borrower of its payment obligations under any Loan Document, except, in each case with respect
to this clause (vi), pursuant to a merger or consolidation permitted pursuant to this Agreement. It
is hereby understood and agreed that all Lenders shall be deemed directly affected by an
amendment, waiver or other modification of the type described in the preceding clauses (iii), (iv),
(v) and (vi) of the preceding sentence.

               (c)    Notwithstanding anything to the contrary set fo1ih herein, Borrower hereby
acknowledges and agrees that Agent shall not be permitted to consent to any of the following
actions without Agent's receipt of unanimous consent from all Lenders:

                       (i)     increase the principal amount of the Loan;

                       (ii)   reduce the principal amount of the Loan through a forgiveness of
debt;
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                         (iii)   change the definition of Effective LIBOR Rate which would
reduce such rate;

                     (iv)   modify any redemption or prepayment provisions; except that
Agent may increase the premium therefor;

                       (v)    change any dt1e dates for interest or principal, including without
limitation, the Maturity Date, or grant any waiver or consent, or enter into any forbearance or
other agreement, or take any action or omission, as would have the same effoct;

                      (vi)   insert in this Agreement or other Loan Document additional events
of default or amend or modify the definition of Default or Event of Default;

                      (vii) eliminate from this Agreement or other Loan Document any Events
of Default; provided, however, that such shall not otherwise restrict Agent's authority to waive
any such Event of Default;

                        (viii)   modify any subordination provision with respect to a subordinated
lender;

                        (ix)     make any material modifications to any intercreditor agreements
related to the Loan;

                        (x)      increase any obligation of a Borrower in any material respect;

                      (xi)   approve changes to any Lease which would result in a reduction of
rent below ninety-five percent (95%) of its current level, except in connection with Agent's
exercise of remedies in connection with a workout or after the occurrence and continuance of a
Default or Event of Default.

                        (xii)    grant additional material rights to a subordinated lender;

                        (xiii)   release any Guarantor as a guarantor of the Loan; and

                        (xiv)    release material Collateral.

          11. i 7 Assignments and Participations.



                      (i)    Any Lender may at any time assign to one or more Eligible
Assignees all or any portion of such Lender's Loan together with all related obligations of such
Lender hereunder. Except as Agent may otherwise agree, the amount of any such assignment
(determined as of the date of the applicable Assignment Agreement or, if a "Trade Date" is
specified in such Assignment Agreement, as of such Trade Date) shall be in a minimum
aggregate amount equal to $1, 000, 000 or, if less, the assignor's entire interests in the outstanding
Loan; provided, however, that, in connection with simultaneous assignments to two or more
related Approved Funds, such Approved Funds shall be treated as one assignee for purposes of

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determining compliance with the minimum assignment size referred to above. Borrowers and
Agent shall be entitled to continue to deal solely and directly ·with such Lender in connection
with the interests so assigned to an Eligible Assignee until Agent shall have received and
accepted an effective Assignment Agreement executed, delivered and fully completed by the
applicable parties thereto and a processing fee of $3,500 to be paid by the assigning Lender;
provided, however, that only one processing fee shall be payable in connection with simµltaneous
assignments to two or more related Approved Funds. Notwithstanding the foregoing, or anything
to the contrary herein, the assignment by any Lender of its Pro Rata Share of the Loan to any
Affiliate (or by AP MA Funding LLC of its Pro Rata Share of the Loan to any Affiliate or to any
Afiiliate of Alliance Partners LLC) shall be without charge of a registration or processing fee and
shall require prior notice to Agent and completion of an Assignment Agreement but not Agent's
consent; provided, however, that the assigning Lender shall pay all costs and fees incurred by
Agent in connection with the review and approval of the Assignment Agreement.

                       (ii)   From and after the date on which the conditions described above
have been met, (A) such Eligible Assignee shall be deemed automatically to have become a party
hereto and, to the extent of the interests assigned to such Eligible Assignee pursuant to such
Assignment Agreement, shall have the rights and obligations of a Lender hereunder, and (B) the
assigning Lender, to the extent that rights and obligations hereunder have been assigned by it
pursuant to such Assignment Agreement, shall be released from its rights and obligations
hereunder (other than those that survive termination pursuant to Section _J. Upon the request of
the Eligible Assignee (and, as applicable, the assigning Lender) pursuant to an effective
Assignment Agreement, each Borrower shall execute and deliver to Agent for delivery to the
Eligible Assignee (and, as applicable, the assigning Lender) Notes in the aggregate principal
amount of the Eligible Assignee's Loan (and, as applicable, Notes in the principal amount of that
portion of the principal amount of the Loan retained by the assigning Lender). Upon receipt by
the assigning Lender of such Note, the assigning Lender shall return to Borrower any prior Note
held by it.

                        (iii)       Agent, acting solely for this purpose as an agent of Borrower, shall
maintain at its offices located in Baltimore, Maryland a copy of each Assignment Agreement
delivered to it and a regist1.-"l' for the recordation of the names and addresses of each Lender, and
the commitments of, and principal amount of the Loan owing to, such Lender pursuant to the
terms hereof. The entries in such register shall be conclusive absent manifest error, and
Borrower, Agent and Lenders may treat each Person whose name is recorded therein pursuant to
the terms hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding
notice to the contrary. Such register shall be available for inspection by Borrower and any
Lender, at any reasonable time upon rea~onable prior notice to Agent.

                       (iv)   Notwithstanding the foregoing provisions of this Section or any
other provision of this Agreement, any Lender may at any time pledge or assign a security
interest in all or any portion of its rights under this Agreement to secure obligations of such
Lender, including any pledge or assignment to secure obligations to a Federal Reserve Bank;
provided, however, that no such pledge or assignment shall release such Lender from any of its
obligations hereunder or substitute any such pledgee or assignee for such Lender as a party
hereto.

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                        (v)    Notwithstanding the foregoing provisions of this Section or any
other provision of this Agreement, Agent has the right, but not the obligation, to effectuate
assignments of Loan via an electronic settfoment system acceptable to Agent as designated in
writing from time to time to the Lenders by Agent (the "Settlement Service"). At any time when
the Agent elects, in its sole discretion, to implement such Settlement Service, each such
assignment shall l?e effected by the assigning Lender and proposed assignee pursuant to the
procedures then in effect under the Settlement Service, which procedures shall be consistent with
the other provisions of this Section. Each assigning Lender and proposed Eligible Assignee shall
comply with the requirements of the Settlement Service in connection with effecting any
assignment of Loan pursuant to the Settlement Service. If so elected by each of Agent and the
Borrowers, Agent's and the Borrowers' approval of such Eligible Assignee shall be deemed to
have been automatically granted with°' respect to any transfer effected through the Settlement
Service. Assignments and assumptions of the Loan shall be effected by the provisions otherwise
set forth herein until Agent notifies Lenders of the Settlement Service as set forth herein.

                (b)     R~nlacement .. of Lenders.    Within thirty (30) days after: (i) receipt by
 Agent of notice and demand from any Lender for payment of additional costs as provided, which
 demand shall not have been revoked, (ii) any Borrower is required to pay any additional amount
to any Lender or any Governmental Authority for the account of any Lender, (iii) any Lender is a
 Defaulted Lender, and the circumstances causing such status shall not have been cured or
 waived; or (iv) any failure by any Lender to consent to a requested amendment, waiver or
 modification to any Loan Document in which Required Lenders have already consented to such
amendment, waiver or· modification but the consent of each Lender, or each Lender affected
 thereby, is required with respect thereto (each relevant Lender iri the foregoing clauses (i)
through (iv) being an "Affected Lender") each of Borrower and Agent may, at its option, notify
such Affected Lender and, in the case of Bonowers' election, the Agent, of such Person's
intention to obtain, at Bon·owers' expense, a replacement Lender ("Replacement Lender") for
such Lender, which Replacement Lender shall be an Eligible Assignee and, in the event the
Replacement Lender is to replace an Affected Lender described in the preceding clause (iv), such
Replacement Lender consents to the requested amendment, waiver or modification making the
replaced Lender an Affected Lender. In the event Borrowers or Agent, as applicable, obtains a
Replacement Lender within ninety (90) days following notice of its intention to do so, the
Affected Lender shall sell, at par, and assign all of its Loan and funding commitments hereunder
tc) such Replacement Lender in accordance with the procedures set forth in Section l l .17(a);
provided, however, that (i) Borrowers shall have reimbursed such Lender for its increased costs
and additional payments for which it is entitled to reimbursement under this Agreement through
the date of such sale and assignment, and (ii) Borrowers shall pay to Agent the $3,500 processing
foe in respect of such assignment. In the event that a replaced Lender does not execute an
Assignment Agreement pursuant to Section 1l .17(a) within five (5) Business Days after receipt
by such replaced Lender of notice of replacement pursuant to this Section and presentation to
such replaced Lender of an Assignment Agreement evidencing an assignment pursuant to this
Section, such replaced Lender shall be deemed to have consented to the terms of such
Assignment Agreement, and any such Assignment Agreement executed by Agent, the
Replacement Lender and, to the extent required pursuant to Section l l. l 7(a), Borrowers, shall be
effective for purposes of this Section and Section 1l.l7(a). Upon any such assignment and
payment, such replaced Lender shall no longer constitute a "Lender" for purposes hereof, other

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 than with respect to such rights and obligations that s'urvive termination as set fo1th herein.

              (c)    Loan Party Assignment.§. No Loan Party may assign, delegate or
otherwise transfer any of its rights or other obligations hereunder or under any other Loan
Document without the prior written consent of Agent and each Lender.

         11.18 Right to Purchase and Buy-Out Upon Refinancing. If Lenders fail to unanimously
agree on any action set forth in Section 11.16(c), Agent and the consenting Lenders or their
Affiliates ("Consenting Lenders") shall have the option to purchase the entire Loan from the non-
consenting Lenders ("Non-Consenting Lenders") by sending a notice to Agent and the Non-
Consenting Lenders indicating the Consenting Lenders' intention to purchase 1
                                                                                    from the Non-
Consenting Lenders all of their respective interests in the Loan at par (excluding the Exit Fee or
any other fees due solely to Agent or its Affiliates) (a "Consenting Lender Purchase Notice"),
which Consenting Lender Purchase Notice shall be irrevocable. The Non-Consenting Lenders
shall have a period often (10) days: (a) to accept the purchase set forth in the Consenting Lender
Purchase Notice (with the failure to respond within the foregoing ten (10) day period being
deemed to constitute an acceptance), or (b) to notify Agent of the intention of one or more of the
Non-Consenting Lenders to purchase the from the Consenting Lenders all of their respective
interests in the Loan at par (excluding the Exit Fee or any other fees due solely to Agent or its
Af1iliates) (a "Non-Consenting Lender Purchase Notice"). lf one or more of the Non-Consenting
Lenders are parties to such notice, then the purchase shall be on a pro rata basis unless otherwise
agreed to by the Non-Consenting Lenders.

        Closing on the sale of a Lender's interest in the Loan to any other Lender under this
Section will be held at purchasing Lender's principal office (or the majority in interest if multiple
lenders) or at the office of its attorney and will take place on a mutually agreeable date within 20
Business Days from the date of receipt by the selling Lender of the applicable purchase notice
(the "Deadlock/Discretionary Purchase Date"). All closing costs, including transfor, stamp, and
recording taxes imposed on the transfer, will be paid equally by all parties; further, each party
shall pay its own legal fees and costs. The selling Lender(s) shall deliver all applicable Loan
Documents in its/their possession to purchasing Lender(s) and shall execute such documents as
are necessary to vest full title to the interest of selling Lender'(s) interest in the Loan to the
purchasing Lender(s). If Agent's interest is being purchased, then Agent shall take all actions
reasonably requested by the majority Lender and which comply with the te1ms of the Loan
Agreement to cause such majority Lender to be appointed as the successor agent under the Loan
Agreement as of the closing date. Each of the Lenders will be entitled to enforce its rights under
this Section 11.18 by specific performance.

        Anything herein to the contrary notwithstanding, if Agent's interest in the Loan is
purchased in connection with the foregoing process, the then purchasing Lender(s) shall have the
right to replace Agent. In such case, any foes due and payable to the predecessor Agent for any
month, or portion thereof, that have not yet been collected shall paid to predecessor Agent by the
successor Agent promptly after collection, including reimbursement of out of pocket third party
expenses advanced by the predecessor Agent for the benefit of Lenders in the ordinary course and
not yet reimbursed to processor agent. In addition, if the HUD Contract is still in effect, CF's
replacement as Agent shall not impact its ability to receive the HUD Fees as set forth in the HUD
Contract.
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        11.19 Lender's Rights to Offset, Set-Off. Notwithstanding anything to the contrary
contained in Section 11.5, each Lender hereby acknowledges that the exercise by any Lender of
offset, set-off: banker's lien or similar rights against any deposit or other indebtedness of
Borrowers whether or not located in any state with cettain laws restricting lenders from pursuing
multiple collection methods could result under such laws in significant impairment of the ability
of all Lenders to recover further amounts in respect of the Loan. THEREFORE, EACH LENDER
AGREES THAT NO LI<~NDER SHALL EXERCISE ANY SUCH RIGHT OF SET-OFF,
BANKER'S LU:N, OR OTHERWISE, AGAINST ANY ASSETS OF ANY BORROWER
(INCLUDING ALL GENERAL OR SPECIAL, TIME OR DEMAND, PROVISIONAL OR
OTHER DEPOSITS AND OTHER l~DEBTl:DNESS OWING BY SUCH LENDER TO OR FOR
THE CREDIT OR THE ACCOUNT OF ANY BORROWER) WITHOUT THE . PRIOR
WRITTEN CONSENT O:F AGENT AND THE REQUIRED LENDERS.

      11.20 Definitions.         As used in this Article, the following terms have the following
meanings:

           "Additional Titled Agents" has the meaning set forth in Section 11.15.

          "Affected Lender" has the meaning set forth in Section 11.17(c).

         ''Approved J:i'und" means any (a) investment company, fund, trust, securitization vehicle
or conduit that is (or will be) engaged in making, purchasing, holding or otherwise investing in
commercial loans and similar extensions of credit in the Ordinary Course of Business or (b) any
Person (other than a natural person) which temporarily warehouses loans for any Lender or any
entity described in the preceding clause (a) and that, with respect to each of the preceding
clauses (a) and (b), is administered or managed by (i) a Lender, (ii) an Affiliate of a Lender, or
(iii) a Person (other than a natural person) or an Affiliate of a Person (other than a natural person)
that administers or manages a Lender.

       "Assignment Agreement" means an assignment agreement in fo1111 and substance
acceptable to Agent.

       "Defaulted I.ender" means, so long as such failure shall remain in existence and
tmcured, any Lender which shall have failed to make any Loan or other credit accommodation,
disbursement, settlement or reimbursement required pursuant to the terms of any Loan
Document.

       "Eligible Assignee" means (a) a Lender, (b) an Affiliate of a Lender, (c) an Approved
Fund, and (d) any other Person (other than a natural person) approved by Agent; provided,
however, that notwithstanding the foregoing, '~Eligible Assignee" shall not include any Borrower
or any of a Borrower's Affiliates.                                                             ·

          "Replacement Lender" has the meaning set forth in Section 11.17(c).

          "Settlement Service" has the meaning set forth in Section l l. l 7(a)(v).




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                   SIGNATURES AND ACKNOWLEDGEMENTS ON
                             FOLLOWING PAGES




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         IN WITNESS WHEREOF, ihe Borrower• .i\gcnt and Lenders have caused this
Agn:emr:nt to be properly executed, by their respective duly authorized rcprcsenhtliYe:s, ai; of the
date first above vvrilten.

                                                      .BORROWE.R:

                                                      22 MAPLE STREET, fJ.C, u Deluwa:re limited
                                                      liability company


                                                      B:r:
                                                      Nwne: .A.Y.~-·-'-'z_i_s_h_____..~---
                                                      Tith.i: _!1anager

                                                      25 ORIOL DRIVE. LLC, a Ddmv£m; lirnited
                                                      liability company


                                                     By:.                    ~
                                                      Name:~~-~ .':.~~.Sffi Lipschutz
                                                                                              ..

                                                      Title: ....M.Q.nager   --·- . ... ·--·-·-·---

                                                      59 COOLlllGE ROAD~ I.LC, u Dclawal'e
                                                      limited H~bility company


                                                      lly:                             ~-··. ··-·-·
                                                    · Name: Avi               ' Lipschutz
                                                     Title: Manag~~ ........ ·---··----


                                                     20 KJKMONTII ROAD. LlC, a Delaware
                                                     limited HabHity company




                                  SigmtlUJ~   Page to Loan Agreement
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                                        ACKNOWU.tDGMENTS
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                                            Quallfled In Rockland County
                                          My Commission Expires May 22, 2014



STATE OF
COUNTY OF .
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J'\otary Public



STATE OF MARYLAND                )
COUNTY Of                        ) ss

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Notary Public


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                        SIGNATURE PAGE TO LOAN AGREEMENT


                                                  AGENT:

                                                  CAPITAL FUNDING, LLC, a Maryland
                                                  limited liability company


                                                  By:
                                                  Name:
                                                  Title:




STATEOFM~fAND                 )
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behalf of which the individual(s) acted executed the instrument.
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                        SIGNATURE PAGE TO LOAN AGREEMENT


                                                 LENDER:

                                                 CAPITAL FUNDING, LLC, a Maryland
                                                 limited liability company


                                                 By:
                                                 Name:.
                                                 Title:




STATEOFMA YLAND )
COUNTY OF      'If ) ss

        On ~ /                ) 014 1befo e me the undersigned notary public in and for said
state, personally appeared ~           .                          •. personally known to me or
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subscribed to the within instrument and acknowledged to me that he executed the same in his
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behalf ·which the individual(s) a e •executed the instrument.
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                                                         LENDER:

                                                         AP MA FUNDING LLC,
                                                         a Delaware limited liability company




STATE OF ,\.;\.,,
COUNTY OF 0~,.                , ,"·'\::· . ) ss
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for said state 1 personally appeared      .·J:,; \,, (.. t'.t . •      _ . • personally known to me

or proved to me on the basis of satisfactory evidence ~i be the individual(s) whose name(s) is
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Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 92 of 125




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                                                 urNJ>EU.;

                                                 CONGRESSIONAL BANK,
                                                 a Maryland chartered bank


                                                 By·I - ·~-----~-¥·--··~--
                                                              e___         . ---
                                                 Name:     Sam Crow
                                                 Title:        Chief Credit Ofiicer




STATE   OF1'JlN40)
COUNTY OF1fCQ~~ ss
        On          )                   _, 2014, before me the undersigned notary public in and
for said state, personally ap •Jared ,_jJ_&tJJ._~J.-··----' personally known to me
or proved to me on the basis of satisfactory evidefl,Ce to be the individual(s) whose namc(s) is
(are) subscribed to the within instrument and acknowledged to me that he executed the same in
his capacity(is), and that by his signature(s) on the instrument the individual(s) or the person
upon behalf of which the individual(s) acted executed the instrument.
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                                            EXHIBIT A

                                     LEGAL DESCRIPTION




The land with the buildings thereon situated in Amesbury, Essex County, Massachusetts,
bounded and described as follows:                   ·

SOUTHWESTERLY by land now or formerly of Cammett 46 l .5 feet;

NORTHWESTERLY by land now or formerly of Cammett heirs, 334.16 feet;

NORTHEASTERLY by land now or formerly of Elkins, of Ellis, or Steere and others on several
              courses, 50 rods;

SOlJTHEASTER.LY by land now or formerly of Davis and by Maple Street measuring
                respectively 161 feet and 40.25 feet;

SOUTHWESTERLY by land now or formerly of Davis, 45 feet;

SOUTHERLY              by land now or formerly of Davis on three courses measuring respectively
                       32.25 feet, 46.33 feet and 32.67 feet; and

SOUTHEASTERLY by land now or fom1erly of Davis, 95.5 feet.

Being all of said measurements, more i.)r Jess.

Being Lots 1, 2, 3 and 4 as shown on Plan of Land in Amesbury, recorded with The Essex South
District Registry of Deeds in Plan Book 6, Plan 4.

Also the land in said Amesbury. being a triangular piece, situated on the northeasterly side of
Maple Street, bounded and described as follows:

Beginning at a point on said Maple Street at land formerly of Comley; thence running

SOUTHEASTERLY by said Maple Street, 80 feet to a bound at land of Davis; thence running

NORTHERLY              by said land of Davis to a bound at land formerly of Comley; thence
                       running

SOUTHWESTERLY by land formerly of Comley, 20 feet to Maple Street and the point of
              beginning.
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                         Exhibit A:.2 - Autumn P.werty Legal Descri12tion

Two parcels of hmd with the buildings thereon, located on Oriol Drive in Worcester, Worcester
County, Massachusetts, bounded and described as follows:

(Unregistered) Parcel 1: Beginning at a point in the easterly line of Oriol Drive as shown on a
plan hereinafter referred to, said point being S. 33° 00' 00" E., 375 feet, more or less, from the
southerly line of Lincoln Street; thence

N. 57° 00' 00'' E.      by other land of Louis F. Oriol and Daisy M. Oriol, 202.41 feet to a point;
thence

N. 21° 31' 55" W.       by land now or formerly of said Oriol, 20.41 feet to a point; thence

N. 79° 56' 10" E.       by land now or formerly of June L. White, 304.06 feet to a point; thence

S. 10° 03' 50" E.       by land now or formerly of said Oriol, 276.67 feet to a point; thence

s. 57° 00' 00" w.       by land now or formerly of said Oriol, 222.80 feet to a point; thence

N. 41° 24' 40" W.       by the northeasterly side of Parcel 2 as hereinafter described, 352.61 foet
to a point; Thence

S. 53° 24' 00" W.       by the northwesterly side of Parcol 2 as hereinafter described, 104.50 foet
                        to the easterly side of said Oriol Drive; thence

N. 33° 00' 00 11 W.     by the easterly side of said Oriol Drive, 11.04 foet to the point of
beginning.

Containing 102, 151 square feet of land, more or less.

(Registered) Parcel 2: Beginning at a point in the easterly line of Oriol Drive as shown on a
plan hereinafter referred to, said point being S. 33° 00' 00". E., 386.04 foet, more or less, from the
southerly line of Lincoln Street; thence

N. 53° 24' 00" E.      by Parcel 1 as hereinabove described, 104.5 foet to a point; thence

S. 41° 24' 40" E.      by Parcel I as hereinabove described, 352.61 feet to a point; thence

s. 57° 00' 00" w.      by land now or formerly of said Oriol, 35.84 feet to a point; thence

S. 8° 47' 44" W.       by land now or formerly of said Oriol, 85 feet to a point; thence

By a curve to the right, the radius of which is 190 feet by land now or formerly of said Oriol and
by the easterly side of said proposed street, 159. 85 feet to a point; thence
     Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 96 of 125




N. 33° 00' 00" W.     by the easterly side of said Oriol Drive, 263. 96 feet to the point of
beginning.

Containing 40,080 square feet of land, more or less.

Being Lot 33 on Plan 15937lJ filed with the Land Court on Certificate No. 7220.

Parcel l and Parcel 2 combined contain 3.45 acres of land as such are shown on a Plan of Land
entitled "Liberty Bell Heights" owned by Louis F. Oriol and Daisy M. Oriol, prepared by
Robinson & Fox, Inc .., dated August, 1967, recorded with said Deeds, Plan Book 317, Plan 69.

Being the same premises conveyed to J. Dennis Morgan, Trustee of Autumn Realty Trust by
Deed dated December 24, 2002 and recorded with the Worcester District Registry of Deeds in
Book 28614, Page 79 and registered as Document No. 79354 on Certificate No. 14834.
     Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 97 of 125




The land with the buildings thereon situated in Watertown, Middlesex County,
Massachusetts, being lots marked 11 A" and "B" on a "Plan of Land in Watertown, MA. 11
Made by William T. Pierce, Engineer, dated April 23, 1889, duly recorded with the
Middlesex South District Deeds in Book of Plans 61, as Plan 49, said Jots "A" and "B"
being together bounded and described as follows:

Beginning at a stone bound as shown on said Plan, twenty (20) feet southerly from a
point in the centre line of Coolidge Hill Road, said point being about six hundred thirty
eight and 50/100 feet (638.50) distant from the easterly line of Arlington Street; thence
running

SOUTHEASTERLY along said Coolidge Hill Road, one hundred and ninety seven and
37/100 (197 .37) feet to another stone bound shown on said Plan; thence turning and
running;

SOUTHWESTERLY one hundred and eighty (180) feet to another stone bound as
shown on said Plan; thence turning and running;

NORTHWESTERLY bounded southerly by land now or formerly of Martha J. Coolidge,
one hundred eighty two and 14/100 (182.14) feet to another stone bound in easterly line of
a proposed street, as shown on said Plan; thence turning and running

NORTHEASTERLY along said proposed street, two hundred thirty and 77/100 (230.77)
feet to the point of beginning.

Containing 41, 112 square feet of land more or less. Be any or all of said measurements
and contents, more or less, or however otherwise said premise may be bounded, measured
or described.
    Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 98 of 125



              Exhibit A-4 • Waban H~alth Center Property Legal Desqj1lli.9.1!

A certain parcel of land situated on Kinmonth Road in Newton, Middlesex
County, Massachusetts shown on a plan entitled "Plan of Land at West
Corner of Beacon Street, Windsor Road & Kinmonth Road, Waban - Mass.
"dated June 29, 1959, by Wm. E. Leonard - C.E., recorded with Middlesex
South District Registry of Deeds, Book 9433, Page 472, bounded and
described as follows:

NORTHEASTERLY                 by Kinmonth Road as shown on said plan by
                              two lines measirring one hundred forty-three and
                              821100 (143.82) feet and eighteen and 15/100
                              ( 18.15) foet, respectively;

SOUTHEASTERLY                 by Lot A- I as shown on said plan two hundred
                              thirty-two and 42/100 (232.42) feet;

SOU'fH\VESTERLY               by land now or formerly of Metropolitan Transit
                              Authority as shown on said plan sixty-nine and
                              41100 ( 69 .04) feet;

WESTERLY                      by land now or formerly of Brae Burn County
                              Club as shown on said plan two hundred thirty-
                              two and 77I100 (23 2. 77) feet.

Being that po1tion of Lot A as shown on the aforesaid plan located,
northwesterly, of a dashed line constituting the northwesterly boundary of the
area designated "Area A-1" on said plan.

Together with the right to use Kinmonth Road for all purposes for which
streets and ways are commonly used in the City of Newton, in common with
others.      ·
       Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 99 of 125




                                                 EXHIBITB

                                    COMPLIANCE CERTUlCATE

          Re:    Loan Agreement dated L_. . . . . --1' 2014 (together with amendments, if any,
                 the "L&an Agreement") by and among ___................- . . -.. . . . .____............._ _ , as
                 Borrower, Capital Funding, LLC, as Agent and Capital Lending and Mortgage
                 Group, LLC, as Lender (capitalized terms used but not defined herein have the
                 meaning ascribed to them in the Loan Agreement)

                The undersigned officer of the above named Borrower does hereby certify that for
the financial period ending    l'-..·--··-·--------..-·-·:
1.        No Default or Event of Default has occurred or exists except[[___. ___.

2.      The Debt Service Coverage for the Borrower for the preceding (L__month(s) (or such
lesser period as shown have elapsed following the closing of the Loan) through the end of such
period was:

                 Required:
                 Actual:

                 The manner of calculation is attached.

3.        The EDITDAR for the Facility for the [month] [annual] period is:

                 Required:        $_,_,_____ _
                 Actual:          $. . _ _

         The manner of Calculation is attached

4.       All representations and warranties contained in the Loan Agreement and other Loan
Documents arc true and correct in all material respects as though given on t11e date hereof: except
l--··--·-----·-·----.. . . .-J.
5.       All information provided herein is true and correct.

6.    Capitalized terms not defined herein shall have the meanings given to such terms in the
Loan Agreement.

                 Dated

                                                   B·
                                                    y. ---·----------- ---·--··---····--
                                                   Name:

                                                   Title:----------------



16815951v.8
        Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 100 of 125




                                                                  EXHIBITC

                                                       LOAN COMMITMENT

                                                                                                               .......;?P:-'.'~:i}1)j1Ji~~'F'·----::;c.
                                                                                                               ·· :·;{§om~tt~!~nt •
                                 Lender                                                                               · ~~rc~~~~ge
                                                          .
     1---------~~- .__....._~----.;..+------"---~----'~---·~-·
      __9apital Fu~q~_~gL.!:'.J;:_g___ . . _........ -.. . . --·~                                $6,856,627                  18.6%
      _i:ongressional Bank                      _____ ................ _.__ .........._, __,____.14_,000?000                 10.9o/~___. __
       1'fVB Bank, Inc.           --·--·----·----- . --------------..-~_4,oog_~900___                               __       10.9%
      --~):. . M~}_::~~ing_!~LC       ____.. _____...____ ...............J~~?..QQQ!.QQQ.....___ ·---- 59.7%
      _IQI~~--·-·-···.. --·----·---···----·--------·-----                 $3?,8~?_,_62L ........... _---·--·--·-·--- 100%_ _ _,




1681595 lv.8
       Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 101 of 125




                                   EXHIBIT D

                              II ntcntionally Deleted I




l681595lv.8
       Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 102 of 125




                                   EXHIBITE

                  POST CLOSING REPAIRS AND REPLACEMENTS

 See attached.




1681595 Iv. 8
     Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 103 of 125




Amesbury Village



Total Repair Cost
Total Critical Repair Costs:                                         $18,630.00
Total Non-Critical Repair Costs:                                     $65,530.00

Total Critical and Non ..Critical Repair Costs:                      $84,160.00

(Note: All repair costs include applicable Sta~e and local taxes. Davis Bacon
wage rates are not appliable.)
                                            Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 104 of 125




Critical Repairs
                                                      Property Name: Amesbury ViUage                                                                     Number of Beds:                  102
                                                            Location: Amesbury, Massachusetts                                                           Number Buildings:                      1
                                                 Date of Site Visit: '2/6/2033                                                                        Reset\le Term (YtSJrs:               15 years
                                              EMG Project Number: 103813.14R·OO<l..041                                                                 Building Age/fe'/IX>:               39 years


                                 Component or System                     Type
                                                                                                                                                                                                   Crltlal ~rs Total
                                                                                                                                                       Quantity             Unit   lJnltCcst
                                                                                                                                                                                                          $
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ti. E _ Common area       µlast~ wan, acoustical   ceiling tiles and
                                                                                                                                                                                         $0.00                   $0
      ""' ass<xiated fini:she<




Ir G1 .Alxess1b.lity Parldng                                                                                                                                       3         EA        SZ00.00                 $600



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                                                                        Specific            ~Ml•!stiis.,,,d>NAriac~~. ~Jt~d~~~~d                                   ~         EA        SlSC.00                 $450
                                                                                                                                                                        I
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    If. titl Accesslbility-A==ible Rou<e                                Spedfk                                                                                    l4         lf        $150.00                $3,600
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I

                                                                                                                                                                             LS        $500.00



    II G. l Ai:cessibility R<!sident Room                                                                                                                         llC        EA         $50.00                ss.soo
                                                                                                                                                                  Z$,        EA        :$250.00               57,000
                                                                        General                                                                                                          $35.00                 $980




EMG File. 108813.14R-004.041-tables3:.xls                                                                   Critical Repairs                                                                                   2125f.201-4
                                     Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 105 of 125



Non-Critical Repairs
                                   Property Name: Amesbury Village                                                                                               Number of Beds:             102
                                          Location: Amesbury, Massachusetts                                                                                    Number Buildings:                   l
                                 Date of Site Visit: 2/6/2033                                                                                                Reserve Term {Years:              15 years
                            EMG Project Number: 108813.1.4R--004.041                                                                                          Buildirig Age fY ears;           39 years


  Sec                Component or System                                                                                                                                                               Non-Critical
                                                          Type                                         Comments                                               Quantity        Unit     Unit Cost
                                                                                                                                                                                                         Total$

                                                                    The pavement was covered with approximately six inches of snow on the day of
                                                                    the site reconnaissance. There are isolated areas of significant failure occurring
           ASphalt pavement, repair cut & patch, full-
 ll,.C,3                                                 Spedfic    within the top section of the exit drive lane and entrance drive lane, the majoriti             4,000      SF           $250            $10,000
           depth
                                                                    of the northeast parking area and sections of the south side parking area .. The
                                                                    north side parking area had too much snow cover to allow for review.

           Asphalt pavement, mill, stabilize and                    The pavement in the northeast parking area requires full removal, stabilization,
 II. C.3                                                 Specific                                                                                                  13,000      SF            $2.00          $26,000
           overlay with new pavement                                and the remaining failed sections require cut and patch repairs
 11.C.3 Asphalt pavement, seal coat over terrr           Specific   The seal coating is worn and pavement rnarkines are difficult to identif\                      34,000      SF            $0.lS            $5,100
                                                                    There are isolated hairline lineal cracks fonning in the wait. The cracks require



                                                                                                                                                         l
 II.CS Retaining wall, concrete                          Specific   proper repairto prevent further deteriorati<in of the wall and to maintain                                                                  $750
                                                                    lntellfltv                                                                                           so    tF          $15.00

 II. C.S Site stair, concrete                            Specific
                                                                    °"" """'"'"--"'~ '"""" .. - """"'"" ~ """ '~
                                                                    extreme weather conditions. The damaged step requires reconstruction. The
                                                                                                                                                                          1    EA         $250.00               $250
                                                                    associated costs are to be combined with the epncrete retaining wall repair and
                                                                    exit landin" reoalr.
                                                                    At the time of the site reconnaissance, the retraining wall was covered with
                                                                    approximately one foot of snow. There are portions of the wall is out of plumb
 11.C.5 Retaining walls, loose and natural stone         Specific   due to Its condition and overgrowth of vegetation. The retaining wall requires                    180                   $30.00            $5,400
                                                                    removal and reconstruction. The work should be performed by a licensed
                                                                    contractor under the direction of a ProfesSional Engineer

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                                                         Specific
                                                                    side-0f tmi'liVilil~ A'Sllrnp PJl~~oot~wltl>inthe·b$~ .
 11.0.1 Foundation walls, water intrusion                                                                                                                                 2    EA        $1,390.00            $2,780
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                                                                    Withm~~nt:st~~ 1::1s·~.~pum"5lli<
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                                                                         ·.fu~~1~. to~l:lddl!icmai~eaiMg'tl)"'fuUndation Waits

                                                                    The basement domestic hot water room ceiling deck has significant amounts of
  11.D.1 Domestic hot water vault                        Specific   corrosion. Astructural assessment of the area was completed by EMG on                                 1    EA        $9,750.00            $9,750
                                                                    February 13, 2014. Repairs are required to the steel structure and decking




108813..14R-004_041-tables3.xls                                                                 Non-Critical Repairs                                                                                          212512014
                                   Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 106 of 125



Non-Critical Repairs
                                 Property Name: Amesbury Village                                                                                            Number of Beds:                  102
                                          location: Amesbury, Massachusetts                                                                                Number Buildings:                   1
                             Date of Site Visit: 2/6/2013                                                                                               ResetVe Term /Years:                  15 year~
                          EMG Project Number: 108813.14R--004.041                                                                                        Building A.ge /Years:                39 years


                                                                                                                                                                                                    Non-Critical
  Sec              Component or System                Type                                         Comments                                               Quantity       Unit      Unit Cost
                                                                                                                                                                                                      Total$

                                                                 The concrete exit landing steps on the north side of the building have separated
                                                                 from the wall and are allowing for water intrusion into the wall cavity causing
 11. D.5 Exterior concrete stair repair              Specific                                                                                                        1    ts              $500.00           $500
                                                                 interior stairwell wall damage. The staircase requires proper repairs to prevent
                                                                 water Intrusion and further interior deterioration and suspect mold growth

                                                                 The butl&ngl5 oot fully t~ifnt l!lllill M'f>A;-13, 1'lie .rolQrfOO!llcWttnio the
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                                                                  dleiriii:;al f;re ~~.er. A: ~cootram.t~thedin\e1i0n ttLan
 II. F.4. NFPA-13 Compfiance                          Specific   engiti~ Prcif~~iarmUM:be,E(;;firedro ana1y~:tllj!~tf~~                                              l    EA         $5,000.00             $5,000
                                                                             .   .                . ·.· .        .   andOOitofilll)"teq~

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                                                                                                                                                    I    Total Non-Critical Repair Cost                   $65,530

                                                                                                                                                    I    Cost per Bed                                        $642




108813.14R-004,041-tables3.xls                                                              Noa-Critical Repairs                                                                                           2125/2014
    Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 107 of 125




Autumn Village


Total Repair Cost
Total Critical Repair Costs:                                    $25,620.00
Total Non-Critical Repair Costs:                                $15,517.00

Total Critical and Non-Critical Repair Costs:                   $41,137.00

(Note: All repair costs include applicable State and local taxes. Davis
Bacon wage rates are not appliable.)
                                  Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 108 of 125




Critical Repairs
                             Property Name:      Autumn Village                                                                                    Number of Beds:                160
                                   Location:     Worcester, Massachusetts                                                                         Number Buildings:
                           Date of Site Visit:   211012014                                                                                     Reserve Term /Years:                15 years
                        EMG Project Number:      108813.14R..001.041                                                                            Building Age Nears:                45 years


Sec   I           Component or System              Type                                      Comments                                             Quantity        Unit   Unit Cost
                                                                                                                                                                                          Critical Repairs
                                                                                                                                                                                              Total$
                                                             The exisling parking accessible parldllg stafis do not have compl"iant striping
11.G.1 Accessibility- Parl<ir.g                    General   or signage. Resbipe and install with compliant signage and add one for 'van'                    2    EA            $200.00                $400
                                                             ao::essibility and post compriant signage indica:ling a 'van' accessible stall
IL G.1 Accessibility- Common Area Restroom         General   Add Compl"iant Signage at Common Area Restroom                                                  2    EA             $50.00                $100
11.G.1 ./\ccesslbility- Common Area Restroom       General   Wrap Sink Drain Pipes at Common Area Restroom                                                   2    EA             $35.00                 $70
11.G.1 Actessibilily - Elevator                    General   Add Compliant.Brail Markings at Elevator                                                        1    EA            $350.00                $350
ll.G.1 Aa::esslbility-Common Area Restroom         General   Widen doors at Common Area Restroom                                                             2    EA        $1.000.00               $2,ooO
       Accessibility- Resident Room Restroom       Genaal    Add Compliant Grab Bars on 2 sides at Resident Rooms                                            70   EA         $250.00               $17,500
       Aa;essibili!Y- Resident Room Restroom       General   Wrap Sink Drain Pipes.at Resident Rooms                                                         70   EA           $35.00               $2,450
11.G.1 Accessibiity- Resident Room                 General   Add Lever ac!iDn hardware at Resident Rooms                                                     55   EA           $50.00               $2,750


                                                                                                                                                  Total Critical Repairs Cost                      $25,620

                                                                                                                                                 Cost per Bed                                          $160




EMG File; 108813.14R-001,041TABLES3.xls                                                 Critical Repairs                                                                                          212512014
                                Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 109 of 125




Non-Critical Repairs
                             Property Name:                  Autumn Village                                                                                Number of Beds:             160
                                    Location:                Worcester, Massachusetts                                                                    Number Buildings:               1
                            Date of Site Visit               2f10/2014                                                                                 Reserve Term !Years:             15 years
                         EMG Project Number:                 108813.14R..001.041                                                                        Building Age fYears:            45 years

                                                                                                                                                                                                Non-Critical
 Sec               Component or System                         Type                                       Comments                                         Quantity       Unit   Unit Cost
                                                                                                                                                                                                  Total$
                                                                          There is an isolated area of signilicant failure occurring aloil;J the norlhem
                                                                          portion of the parking lot near the generator and transformer area. According
                                                                          to the POC, stoon water ponds In !he area ot a stoon water drain and the
 n. C.3   As;>halt pavement, repair cut & patch, fulklepth     General
                                                                          pavement surrounding the area has deteriorated and partially sunk. The
                                                                                                                                                                      1   LS       $10,000.00         $10,000
                                                                          pavement requires full removal, stabitizali<ln and inspedion of the drain area
                                                                          by a qualified contractor under the supervision of a Professional Engineer
                                                                          lsol~ areas of map cracks and alligator cracks occur throughout the
 11.C.3 Asphalt pavement, seal coat over teirn                 General    pavement parking staW areas and the seal coating is worn and pavement                  36,780   SF            $0.15          $5.517
                                                                          merkinns are rilffind\ to idenlifll
                                                                          Moisture damaged was observe<! in the Maintenance room, loWest level.
                                                                          The soun:e of the moisture was reportedly a bathroom on the 1loor above.
11.G.15 MoldlMoisture                                          Specific                                                                                               1   LS            $0.00              $0
                                                                          The plumbing was repaired. The affected area is ~pproximately 10 square
                                                                          f=t Th<> N>ilinn .,,,,,., ·~- 1n;,., --•--• ~e """""' ~,.;.,;,
                                                                                                                                           ..

                                                                                                                                                           Total Non-Critical Repair Cost             $15.517
                                                                                                                                                           Cost per Bed                                    $97




108813.14R-001.041TABLES3.xls                                                                     Hon-Critical Repairs                                                                                2/2512014
    Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 110 of 125




Emerson Village



Total Repair Cost
Total Critical Repair Costs:                                         $28,990.00
Total Non-Critical Repair Costs:                                     $21,560.00

Total Critical and Non-Critical Repair Costs:                        $50,550.00

(Note: All repair costs include applicable State and local taxes. Davis Bacon
wage rates are not appliable.)
                                     Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 111 of 125




Critical Repairs
                                      Property Name: Emerson Village                                                                                        Number of Beds:                   158
                                               location: Watertown, Massachusetts                                                                          Number Buildings:                    1
                                     Date of Site Visit: 2/7/2014                                                                                       Reserve Term /Years:                   15 years
                                EMG Project Number:     108813.14R~.041                                                                                  Building Age /Years:                  47 years


                                                                                                                                                                                                     Critical Repairs
    Sec                 Component or System                  Type                                        Comments                                        Quantity        Unit          Unit Cost
                                                                                                                                                                                                          Total$

                                                                        The pavement along Coolidge Hill Road was covered with approximately
                                                                        six inches of snow on the day of the site reconnaissance. There are
!
11.c.3 Concrete sectional replacement                       General     isolated cracked concrete pavers at the two driveway entrances. The cas
                                                                        concrete requires sectional replacement to maintain integrity and to
                                                                                                                                                                  175     SF                $6.00              $1,050

                                                                        eliminate tripping hazards

                                                                        Thetwoqi:!~iflg.pari:ll)g~le ~g$f<Sdo mx ha"'8 ~t
                                                                        ~ngtif ~Ell; Theru~ ~WJoCftiie thfi!e r-e~i:Elimll1atthi?
    11.G.1 Accessibility Parking                             Specific   bul!i:!lnj, ~rf;:ie&t1dit!iltalfwlll! ~i<i!ll;~GE!tnetv.m ~                                 3     EA              $200.00                  $600
                                                                        ~g$1ls.e1i9 \'Jdd .~tot''~ a~lllrif<!nd:PQ$it~CP<np!iant
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    11.G.1 Accessibility - Accessible Route                  Specific     ~lile~lftrotii.d:i~~ ~ll!V'S<ikiii;;iid lnher~ ltiml                                      2      EA             $150.00                  $300
                                                                        1 ·~~~- _,_ _ ""torratthetiaseoftllel'Wf<Wet·


                                                                        There is no common area restroom adjacent to the administrative office
                                                                        which is accessible. Ir.stall signage indicating accessible restroom is
    11.G.l Accessibility Common Area Restroom                Specific   located within the ground floor dining room. The men and.women dining                        2     EA            $1,170.00             $2,340
                                                                        room restrooms require installation of compliant grab bars, accessories
                                                                        and pipe wrap at the wall hung sing to achieve full compliance
                                                                          Lever <1ction hardware is n<;Jt provided at all accessible locations of the
    lf.G.1 Accessillmty - Resident Rooms                     General                                                                                              152      EA               $50.00             $7,600
                                                                          resident rooms.
                                                                          Provide proper mounted horizontal grab bars on two sides.at the residen
    11. G.l Accessibility - Resident Rooms                   General                                                                                                60     EA             $250.00             $15,000
                                                                        .:rooms;
                                                                         Wrap drain pipes below lavatory with insulation; protectagainst contact
    ll. G.l   Accessibility - Resident Rooms                 General                                                                                                60     EA               $35.00             $2,100
                                                                          with hot. sharp or abraSive surfaces at ttie resident rooms.


                                                                                                                                                         Total Critical Repairs Cost

                                                                                                                                                         Costperf!ed




EMG File; 108813.14R-003..041-tables3.xls                                                       Critical Repairs                                                                                              212512014
                                      Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 112 of 125




   Non-Critical Repairs
                                                    Property Name: Emerson Village                                                                           Number of Beds:                  158
                                                          Location: Watertown, Massachusetts                                                                Number Buildings:                   1
                                                 Oate of Site VISlt: 2f1/2014                                                                             ResetVe Term /Years:                 15 years
                                              EMG Pr(!jett Number. 108813.14R-003.041                                                                      Building ~i'<~fS:                   47 ye3rs


                                                                                                                                                                                                      Non.critical
                              C.Ompanent or System                     Type                                   C..mmenls                                    Quantity       Unit       Unit Cost
                                                                                                                                                                                                        Total$
                                                                                      µawm~-~wJlit~ifei'rSllf,~oi-W~l'.be<ia'i"oftheW
                                                                                     . .... ,  .   . ~-s:of~~e~Willlll'!~
   f4 C,3 Asphalt pavement. repair rut &. patch, full-depth           General           ·· • •:andi/<il!i111a1.a..e,-u1dil~&dr'iyeJ;miL.~"""""-<ir-Mi4>          4,000      SF               $2.50         $10.000
                                                                                        ti1~mi•>r,ni¢!C;~'ili~IM~.~¥0t1"1'1l.~~ Thi!
                                                                                        ~... ~ori.!t~~11>-!ma1n.~i.i~..<actr<oridt;M<l\

   II. C3 Asphalt pavement, seal coat Ollt!r term                     General                                                                                   20,000      SF               $0.15           $3,000




    ii. C.S   Fenre replacement, metal chain link                     General                                                                                                                                $1,560


                                                                                                                                                                    130     lF              $12,00


    U. C.S Retaining walls, unit masonry f concrete                                                                                                                 100     SF              $1So00           $1,soo!




  111. F.4.   NFPA-13                                                 General                                                                                         1     EA         $5,000.00             $5,000




  I
   U. G.15 Mold/Mofstore                                              Specific                                                                                              IS              Ssoo.oo              $500




                                                                                                                                                           Total Non-Critical Repair COSt




108813..14R-003;041-tables3.>:ls                                                                  Non-Cntical Repairs                                                                                            2125/2014
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Waban Health and Rehabilitation Center



Total Repair Cost
Total Critical Repair Costs:                                          $9,900.00
Total Non~Critical Repair Costs:                                     $32,700.00

Total Critical and Non-Critical Repair Costs:                        $42,600.00

(Note: All repair costs include applicable State and local taxes. Davis Bacon
wage rates are not appliable.)
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Critical Repairs
                                                  Property Name: Waban Health and Rehabilitation Center                                                           Number of Beds:                 88
                                                        l..ocatlon! Newton, Massachusetts                                                                       Number Buildings:                  1
                                            Date of Site Visit: 2/6/2014                                                                                      Reserve Tenn /'{e~rs:               15 years
                                         EMG Project Number: 108813.14R-ool.041                                                                               Building A8<! /'{ears:              52 ye;;;rs



                                                                               I                                                                                                                        Critical Repairs



                                                                                                                              . ·--·-
 Sec                       Component or &jstem                       Type                                       Comments                                       Quantity        Unit        UoitCost
                                                                                                                                                                                                            Total$
       1
ltE.6.,                                                             Specific   ~~--~-~-·
                                                                                ring routine replacement. Please refer to Section 15
                                                                                emental Comments Recommendations for additional
                                                                                                            &
                                                                                                                                                                          20   Sf               $OJJO                  $0
          Common area ceilings, acoustical tile
                                                                                     existing parking acces5ible parking stall does not have compliant
                                                                                striping or sign age. .There is only one of two required stalls 3t the
IJ,G.1 Ao:essihillty Parking                                        Specific    building. Restripe the el<fSrlng parking stall for 'van' accessl!lillty and                2   EA             $200.00               $400
                                                                                post compliant signage indlcaling a 'van' accessible stall. Install a
                                                                                second standard accessible parking stall adjacent to the 'van'
                                                                                       .., ..
                                                                                The stairwell landings are open at the basement level which is an
!\IH Accessibility - Accessible Route                               Specific    accessible ?;~to the exteri'.'.:,.~'.'.;" and pimk patio. Install cane                     1    EA            $150.00               $150


                                                                                 There Is no common area restroom adjacent to the administrative
.ILG.1 Accesslb<1lty Common Area Restr00m                           Specific    office which is access\ble. lnstall signage Indicating accessible restro«1                 3    EA             $50.00               $150
                                                                                is located within the physical therapy crffice
                                                                                Lever action hardware is not provided at all accessible locations of the
lLG.l Accessibility • Resident Rooms                                General                                                                                               70    EA             $50.00             $3,500
                                                                                ~              s.
                                                                                                                                  on two sides at the
~-~
                                                                                     de proper mounted horirontal grab bars
                                                                    General                                                                                                                                       $5,000
                                                                                                                                                                                ~
                                                                                                                                                                          20                  $250.00
                                                                                resident moms.
                                                                                Wrap drain pipes below lavatory with insulation; protect against
                        Resident Rooms                              General                                                                                               20    EA             $35.00               $700
                                                                                contact with hot, sharp or abrasive surfaces at the resident rooms.


                                                                                                                                                              Total Critkal Repairs Cost
                                                                                                                                                              Cost per Bed




EMG File: 108813.14R-002.041Tables3JC1s                                                                 Critical Repairs                                                                                                    212612014
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Non-Critical Repairs
                                Property Name: Waban Health and Rehabilitation Center                                                     Number of Seds:                 88
                                      location: Newton, Massachusetts                                                                   Number Buildings:                  1
                            Date of Site Visit: 2/6/2014                                                                              Reserve Term /Years:                15 years
                         EMG Project Number: 108813.14R-(JQ2.041                                                                       Building Age /Years:               52 yi:ars

                                                                                                                                                                                Non-Critical
  Sec             Component or System              Type                                   Comments                                     Quantity        Unit      Unit Cost
                                                                                                                                                                                  Total$

                                                             The pavement was covered with approximately six inches of snow on
                                                             the day of the site reconnaissance. There are significant areas of
                                                             failure and deterioration, which indude sink holes, alligator cracking
         Asphalt pavement, removal, stabilize,
 ILC.3                                            Specific   and localized depressions. In addition, the pavement settling has              13,000      SF              $2.00         $26,000
         grade and overlay
                                                             caused ponding conditions in the west side entrance drive. The
                                                             pavement requires full removal, stabilization, and contouring to allow
                                                             for proper site drainage to the local catch basins

                                                             There are isolated areas of cracked parging and damaged stone
                                                             occurring at the front nofth building entrance landing. In addition,
 ILC.S Retaining walls, unit masonry I concrete   Specific                                                                                      400     SF              $8.00          $3,200
                                                             there are areas of the loose stone retaining wa II requiring minor
                                                             repairs and the CMU retaining wall has several lineal c;racks

                                                             The building is not fully compliant with NFPA-13. The e.levator room
                                                             within the basement does not have sprinkler coverage inside.
                                                             Currently there is only a chemical fire extinguisher. A licensed
                                                             contractor under the direction of an engineering professional must bE
 IL F.4. Fire suppression system                  General                                                                                         1     lS         $3,500.00           $3,500
                                                             retained to analyze the existing condition, provide recommendations
                                                             and estimate the scope and cost of any required repairs. A budgetar;
                                                             cost to extend the sprinkler lines into the elevator room and provide
                                                             a certificate of compliance for the completed work


                                                                                                                                       Total Non-Critical Repair Cost                 $32,700

                                                                                                                                       Cost per Bed                                      $372




108813.14R-002.041Tabtes3.xls                                                     Non-Critical Repairs                                                                                2/2612014
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                                              EXHIBIT F

                                  PERMITTE}) ENCUMBRANCES

Ames burr. Property Exce_ptio.!1§.

      1. Real estate taxes and municipal charges which constitute liens but which are not yet due
         and payable. NOTE: Taxes are paid through March 31, 2014.

     2. Easement to Amesbury Electric Light Company dated December 7, 1950 and recorded
        with said Deeds in Book 3800, Page 254.

     3. Rights of Ethel C. Davis, her heirs and assigns, to pass and repass with vehicles and/or
        others over a certain triangular parcel of real estate to and from Maple Street to remaining
        land of Davis as reserved in a deed from Ethel C. Davis to Winthrop M. Conley dated
        December 6, 1950, recorded with said Deeds in Book 3791, Page 281.




      i.   Real estate taxes and municipal charges which constitute liens but which are not yet due
           and payable. NOTE: Taxes are paid through_ (to be completed upon receipt of a
           current MLC).

     2. Su~ject to the rights recited in Deed dated November 2, 1953 and recorded in Book 3546,
        Page 60.

     3. Easement for water, sanitary and surface sewer as described in deed to City of Worcester
        dated May 10, 1968 and recorded in Book 4853, Page 343.

     4. Sewer Easement as shown on Plan Book 332, Page 12.

     5. Restrictions in Quitclaim Deed from Salisbury Nursing and Rehabilitation Center, Inc. to
        J. Dennis Morgan, Trustee of the Autumn Realty Trust dated December 24, 2002 and
        recorded in Book 28614, Page 79 and filed as Document No. 79354.

     6. The following matters shown on ALTA/ACSM Land Title Survey "25 Oriol Drive, City
        of Worcester, County of Worcester, Commonwealth of Massachusetts, dated _____··-··------'
        2014, J>roject No. 30474:

               a) 19.7' Encroachment of Wood Fence onto Northerly adjoiners property, as shown
                  on Survey.




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          .1. Real estate taxes and municipal charges which constitute liens but which are not yet due
              and payable. NOTE: Taxes are paid through March 31, 2014.

           2. The following matters shown on a survey entitled ALTA/ACSM Land Title Survey "59
              Coolidge Hill Road, City of Watertown, County of Middlesex, State of Massachusetts'',
              dated                mm·-' 2014, Project No. 30284, as shown on Survey.

                    a) Concrete and fence extended beyond the property line by a maximum distance of
                       20 feet
                    b) Air conditioning unit and concrete pad extend beyond the property line by a
                       maximum distance of 6.5 feet
                    c) Retaining wall extends beyond the property line by a maximum distance of 14.2
                       feet
                    d) Fenc.e extends beyond the property line by a maximum distance of 14 feet
                    e) Asphalt pavement extends beyond the property line by a maximum distance of 7.5
                       feet
                    f) Guardrail extends beyond the property line by a maximum distance of7.9 feet


     Waban_Health Center Property Exceptions



          1. Real estate taxes and municipal charges which constitute liens but which are not yet due
             and payable. NOTE: Taxes are paid through ___ (to be completed upon receipt of
             current MLC)

          2. The following matters shown on a survey entitled ALTA/ACSM Land Title Survey "20
             Kinmonth Road, City of Newton, County of Middlesex, State of Massachusetts", dated
             -·---.. .-----·-' 2014, Project No. 30285, as shown on Survey.

                    a) Fence, guardrail and asphalt pavement extended beyond property 47.6 feet (per
                       survey)
                    b) Concrete extends beyond the property line 33. 7 feet (per survey)
                    c) Stone wall extends beyond the property 29.8 feet (per survey)
                    d) Frame shed extends beyond the property 23.1 feet (per survey)
                    e) Wood fence extends beyond the property by 7 feet (per survey)

\·




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                                                              EXHIBITG

                                                    PAYMENT RESERVES

·---·-·---···-··-···--   ·-·-·-----....---
    RE Taxes                Property           Realty and                  Cash                 HlJD Financing                     HUD Fee
    (Monthly               Insurance           Equipment                 Collateral              Cost Reserve                      Resel've
     Deposit)              (Monthly             (Monthly                  Reserve
                            Deposit              Deposit)

                                        -+-----·····-·,.·-·-· ·-· ·······-···-·------···-···   -·--·-----+--- - - -
$27,958.96               $3,442.50         $300/bed/year             $786,275.00               $946, 128.00             $113,535.00

---·-··---·--·......__    ____         ---'----······--·-··---······· --···············--·-·---~---·      __     _..   _________...............................-




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                                   Ji~XHlBIT   H

                                   EXIT FEE

 $771,200




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                                                                                 .EXHIBIT I

                                                          POST·CLOSING OBLIGATIONS

                  Descl'iption of Item                                                                                              Timing     (#     days-
                                                                                                                                    following Closing or as
    -------· . --·-·-··+-----·----------···----·. ---···-----..·-------··-.. -------+-o_th__erwise indicated)                                                          __
I       1.        Deliver a copy of the approved Medicare and                                                                              90 days
                  Medicaid Agreements evidencing participation in the
                  Medicare .and Medicaid programs by each Operator.
    ---~··-·-   r------·-------·-------····-·---...                                         -···-·----·-..- - - - --.. . .---··-··                               ----
        2.        Deliver a copy of each final approved Facility License.                                                                  90 days
'""--··---!-·-·-..- - - · - · - - -..··---"-·-----·--·--------+-·-----------!
        3.                            Guarantors deliver signed personal detailed financial                                           10 days
. . . . . . . . ___ -~!~...!~.!!1~.r.!!~ ii:t the f ~!m previously r~uested ---··---·-- _____. . ._. _ _. . . . . . .___...............-
                  4.                  Borrowers shall file a financing statement reflecting                                           l 0 days
                                      the Operators' security interest grant to Borrower
                                      under the Lease, and Borrower shall assign such
                                      financino         statement to Aoent as Collateral.
... ...,._..,...,..._....---···-···· - · - - -.. -----~-..----·········----....-.Q-·~··-···········---------------~- - - - - - - - · · - · · - · - - - - - - - - ·
                 5.                   Borrowers shall deliver fully executed Deposit                                                  l 0 days
                                      Account Control Agreements in favor of Agent with
_______ . E..~spec!._!9 e~~?....Pepost!_Accou:!_~:___........_____                                                                                            ...........
                 6.                   Deliver a signed pledge agreement from Synergy                                                  10 days                               j
                                      Health Centers, LLC on Agent's form pledge for each
-----·¥- .,., ,,.,_,._,               Borrower
                                         ___ , . __.__,____., ,. , . .___ , .,.,.,_, , __, , , ,_., _,____., ,. .    ______                A _ _ ., _ _ _ _ _ _   --   --
                                                                                        -
                                                                                            -
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                                                                                                                            -
                                                                                                                                ~
    1681595lv.8
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                                 SCHEDULE 3.21

                   ORGANIZATIONAL CHARTS OF BORROWER




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          Pre-Transfer MA Facilities Real


                Larry                                              Zisha                 8 Individuals*,
                Lipschutz            Dov Newmark                   Lipschutz             with 2.5% each               MA Center, LLC



                                   24%                                     26%                                              4.99%




                                                  Synergy Health Centers, LLC




                                                                                       25 Oriol Drive,
                                                                                            LLC


  Waban, MA                                Amesbury, MA                              Worcester, MA                            Watertown, MA

*Zigmond Brach, Jeremiah Brach, Abigail Weiss, Pearl Friedman, Rachel Wiesner (holds an extra .01%), Joel Brach, Abraham Brach, Jennie Brach
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                        MA Facilities Operations




Dov Newmark   Zisha Lipschutz     Dov Newmark   Zisha Lipschutz   Dov Newmark    Zisha Lipschutz   Dov Newmark   Zisha Lipschutz



  5~\                                           50% /                            5~    I                         5~   I
         Center, LLC                                                     Center, LLC


     Waban, MA                       Amesbury, MA                     Worcester, MA                    Watertown, MA
                       Case 1:18-cv-00215-CCB Document 34-3 Filed 11/16/18 Page 124 of 125



        Post-Transfer MA Facilities Real


                Larry                                               Zisha                8 Individuals*,
                Lipschutz            Dov Newmark                    Lipschutz            with 2.5% each               MA Center, LLC



                                   24%                                     26%                                              4.99%




                                                  Synergy Health Centers, LLC




     20 Kinmonth                                                                       25 Oriol Drive,
       Road,LLC                                                                               LLC


  Waban, MA                                Amesbury, MA                              Worcester, MA                            Watertown, MA

*Zigmond Brach, Jeremiah Brach, Abigail Weiss, Pearl Friedman, Rachel Wiesner (holds an extra .01%), Joel Brach, Abraham Brach, Jennie Brach
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                       MA Facilities Operations

                Larry                                               Zisha                8 Individuals*,
                Lipschutz            Dov Newmark                    Lipschutz                                         MA Center, LLC
                                                                                         with 2.5% each


                                  24%                                      26%                                              4.99%




                                                  Synergy Health Centers, LLC




  Waban, MA                                Amesbury, MA                              Worcester, MA                            Watertown, MA

*Zigmond Brach, Jeremiah Brach, Abigail Weiss, Pearl Friedman, Rachel Wiesner (holds an extra .01%), Joel Brach, Abraham Brach, Jennie Brach
